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                          EXHIBIT 10
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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF ALABAMA




 ANGELA CARTER, individually and on behalf   Civil Action No.: 16-cv-508-CG-B
 of all others similarly situated,

          Plaintiff,

 v.

 L’OREAL USA, INC., and SOFT SHEEN-
 CARSON, LLC,

          Defendants.


                  EXPERT REPORT OF DR. JONATHAN D. HIBBARD
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    Background and My Qualifications

    1.        I have been retained in this matter by attorneys representing L’Oréal USA, Inc. and

    Softsheen-Carson, LLC. This report provides the results of a survey I conducted measuring

    respondent experiences and beliefs about no-lye hair relaxers. Given the ongoing discovery in

    this matter, I respectfully reserve the right to supplement this expert report.

    2.        I am a marketing professor at the Boston University Questrom School of Business. I

    have 25 years of experience and expertise as a marketing academic, marketing practitioner,

    survey design expert, and educator. I have extensive experience researching, teaching, and

    consulting in marketing strategy, marketing channels, branding, consumer behavior and survey

    design.

    3.        I earned a PhD in marketing and an MBA from Northwestern University’s Kellogg

    School and a Bachelor of Science from Boston University. My research, teaching, and

    consulting focuses on marketing strategy, survey design, the design and management of

    marketing channels, branding, and consumer behavior. My research has appeared in peer

    reviewed journals such as the Journal of Marketing Research, Journal of Interactive Marketing,

    Psychology & Marketing, Business Strategy Review, Marketing Education Review, and other

    outlets. I have authored a number of teaching cases and have presented this research at national

    and international forums. I have served as a reviewer for a number of marketing journals and on

    the Editorial Review Board of the Journal of Business to Business Marketing.

    4.        My research has won acclaim from the Marketing Science Institute, the Institute for the

    Study of Business Markets, and the American Marketing Association. I have co-authored (with

    Philip Kotler, one of the most well-known and recognized marketing scholars in the world) an

    extensive series on the state of marketing for Encyclopaedia Britannica.

    5.        At Boston University, I have taught a number of marketing courses on consumer

    behavior, business-to-business marketing, marketing strategy, and marketing management, at

    both the MBA and undergraduate levels. I also teach in the School’s executive programs.




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    6.     My experience includes work in the computer industry as a sales representative for NCR

    Corporation, in marketing and public relations, and as a researcher and case writer at the Harvard

    Business School.

    7.     I have performed research, taught in management development programs and consulted

    to organizations on marketing and branding strategy in Europe, Asia, Africa, and South and

    North America.

    8.     A copy of my curriculum vitae, including a list of publications I have authored and a list

    of all other cases in which I have testified as an expert during the previous four years, is attached

    as Exhibit 1.



    Materials Reviewed and Compensation

    9.     In writing this expert report and conducting my survey, I have reviewed the following

    materials:

                 i.   Second Amended Class Action Complaint for Equitable Relief and Damages, dated

                      January 9, 2017.

             ii.      Plaintiff Ella Valerie’s Answers to Interrogatories, Responses to Requests for

                      Production, and Responses to Requests for Admissions.

            iii.      Plaintiff Angela Carter's Answers to Interrogatories, Responses to Requests for

                      Production, and Responses to Requests for Admissions.

    10.    I’m being compensated by Defendant’s counsel at a rate of $600 per hour. My normal

    rate for deposition and trial testimony is $5,500 for a full or partial day. My compensation is not

    dependent on the outcome of this matter.



    Summary of the Survey

    11.    I conducted a survey to measure consumers’ beliefs about no-lye hair relaxers among

    respondents who closely represent the applicable consumer class.
    12.    My survey interviewed consumers who purchase no-lye hair relaxers, and measured their

    beliefs about no-lye hair relaxers.

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    13.     My survey qualified respondents, among other criteria, as African American women, at

    least 18 years old, who had purchased hair relaxers in the past five years. Respondents were also

    qualified as purchasing no-lye hair relaxers, which is the product category relevant to this matter.

    14.     Questions in the main part of the survey asked respondents how many times they have

    purchased a no-lye hair relaxer kit (Question 1) and how often they typically purchase no-lye

    hair relaxer kits (Question 2).

    15.     Question 3 asked respondents whether certain statements do or do not describe their

    beliefs about no-lye hair relaxers. Among other statements, the question asked respondents

    whether or not they believe that no-lye hair relaxers use strong chemicals to straighten hair, may

    cause hair to fall out, may irritate the scalp, and may damage hair or skin.

    16.     Question 3 also included two control statements.1 This was done so that the survey

    measures provided by this question could later be adjusted for extraneous factors, such as

    acquiescence bias.2 Controls are used to address the possible tendency of respondents to answer

    “yes” to fixed-response questions.3 This is sometimes called “acquiescence” or “yea-saying.” It

    is not a universal phenomenon. The amount of acquiescence can vary greatly depending on

    contextual variables such as question phrasing and respondent characteristics.4 These control

    statements asked respondents whether or not they believe that no-lye hair relaxers come with

    silver earrings, and should be applied only while driving.




    1
     Diamond, Shari Seidman. “Reference Guide on Survey Research.” Reference Manual on Scientific
    Evidence, 3rd ed., National Academy Press, 2011, p. 401.
    2
     Acquiescence bias is the possible tendency of survey respondents to agree with survey questions
    presented in certain formats, such as “yes” and “no” response options.
    3
     Fixed-response questions are those that respondents answer by selecting from a list of possible responses.
    By contrast, respondents answer open-ended questions by providing a response in their own words.
    4
     For example, see Hans Baumgartner and Jan-Benedict E.M. Steenkamp (2001) “Response Styles in
    Marketing Research: A Cross-National Investigation,” Journal of Marketing Research, May 2001, Vol. 38
    No. 2, pp. 143-156.

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    17.     Question 4 asked respondents to identify whether or not they have ever experienced

    certain outcomes as a result of using a no-lye hair relaxer. These outcomes included scalp

    burning, hair breakage, and hair loss. Question 4 also included a control question, which asked

    respondents whether they had ever experienced Darcy disease5 as a result of using a no-lye hair

    relaxer.

    18.     Question 5 asked respondents to identify whether or not they use certain items on or in

    their hair at least once every three months. Among other items, the items included hair coloring

    or hair dye, hair bleach or lightener, hair highlights, hair braids or extensions, hair dryer, hot

    comb, flat iron, and curling iron.

    19.     My survey included a number of quality control criteria, including control questions. In

    total, my survey interviewed 379 Black or African American adult women, all of whom

    indicated, among other qualification criteria, that they had purchased a no-lye hair relaxer kit in

    the past five years.

    20.     Based on the data from my survey, I conclude the following:

                i.   Respondents have purchased no-lye hair relaxer kits multiple times over a long

                     period of time. A majority of respondents (70.7%) indicated they have purchased a

                     no-lye hair relaxer kit more than 10 times. In addition, 55.9% of respondents

                     indicated that they typically purchase no-lye hair relaxer kits at least once every

                     two to three months. These results indicate that consumers who have purchased

                     no-lye hair relaxer kits are typically experienced with no-lye hair relaxers.

               ii.   Respondents understand that no-lye hair relaxers can involve certain risks. Before

                     adjusting for the control, 83.1% of respondents indicated that they believe no-lye

                     hair relaxers may irritate the scalp, while 80.2% indicated that they believe no-lye

                     hair relaxers may damage hair or skin, 72.3% indicated that they believe no-lye

                     hair relaxers use strong chemicals to straighten hair, and 66.2% indicated that they


    5
     It is my belief that Darcy disease is not a real disease. Therefore, any respondent who indicated they
    experienced Darcy disease as a result of using a no-lye hair relaxer would be indicating they had a non-
    existent disease.

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                    believe no-lye hair relaxers may cause hair to fall out. After adjusting for the

                    control statements, the net measures were 80.4%, 77.5%, 69.6%, and 63.5%,

                    respectively.6

             iii.   Respondents understand that hair relaxers involve certain safety procedures.

                    Before adjusting for the control, 96.6% of respondents indicated that they believe

                    no-lye hair relaxers should be applied to hair while wearing gloves, while 94.7%

                    indicated that they believe no-lye hair relaxers come in a package that has safety

                    warnings, 88.1% indicated that they believe no-lye hair relaxers should be put on

                    after applying scalp protector, and 86.8% indicated that they believe no-lye hair

                    relaxers should be applied to hair after conducting a strand test. After adjusting for

                    the control statements, the net measures were 93.9%, 92.0%, 85.4%, and 84.1%,

                    respectively.

             iv.    Respondents have experienced negative outcomes as a result of using no-lye hair

                    relaxers. My survey also asked respondents to indicate whether or not they had

                    ever experienced certain outcomes as a result of using a no-lye hair relaxer. Of all

                    respondents, 77.6% indicated they had experienced scalp burning, 53.8% indicated

                    they had experienced hair breakage, and 32.4% indicated they had experienced hair

                    loss as a result of using a no-lye hair relaxer. Additionally, 0.3% indicated they

                    had experienced Darcy disease as a result of using a no-lye hair relaxer. After

                    accounting for the control, the net measures were 77.3%, 53.5%, and 32.1%,

                    respectively.




    6
      The average response to the control questions was 2.7%. The net measures are calculated as the gross
    measures minus the 2.7% average of the control measures. For example, the net measure for “may irritate
    the scalp” is calculated as 83.1% minus 2.7%, which equals 80.4%.

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              v.    Respondents use other potentially-damaging products in or on their hair.

                    Respondents were also asked to indicate whether or not they use certain items on or

                    in their hair at least once every three months. Of all respondents, 71.0% indicated

                    they use a hair dryer at least once every three months, compared with 63.1% for

                    flat iron, 46.2% for curling iron, 40.4% for hair coloring or dye, 40.4% for hair

                    braids or extensions, 18.5% for hot comb, 10.8% for hair highlights, and 5.0% for

                    hair bleach or lightener. As I understand it, these items may be damaging to hair

                    when used on a regular basis.



    Survey Methodology

    21.    My survey interviewed respondents who were qualified, among other criteria, as having

    purchased a no-lye hair relaxer in the past five years.

    22.    Prospective respondents were qualified with questions that included the following:

               i.   Geography: Question A asked respondents the state in which they live. The survey

                    database is consistent with the distribution of Black or African-American adult

                    females in the U.S. population,7 across geographic regions used by the Census

                    Bureau,8 including Midwest (18.2% of respondents), Northeast (16.9%), South

                    (54.3%), and West (10.6%).

             ii.    Gender: Question B asked respondents their gender. Respondents qualified if they

                    indicated that they are female.

             iii.   Age: Question C asked respondents their age. The database reflects three age

                    groups, including 18 to 34 years old (35.6% of respondents), 35 to 54 years old

                    (38.0%), and 55 years old or older (26.4%).




    7
      Age and geography characteristics for female African-Americans 18 years old and older were taken from
    the U.S. Census Bureau, available at https://www2.census.gov.
    8
     Regions are defined by the U.S. Census Bureau. A map of regions is available at
    https://www2.census.gov/geo/pdfs/maps-data/maps/reference/us_regdiv.pdf.

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           iv.   Race or Ethnicity: Question D asked respondents their race or ethnicity, and

                 allowed respondents to select all of the races or ethnicities that apply to them.

                 Respondents qualified for the survey if they selected “Black or African-American,”

                 even if they selected other races and/or ethnicities as well.

           v.    Items purchased: Question E asked respondents whether they had purchased, in the

                 past five years, “Nail care products (like hardener and polish),” “Hair care products

                 (like shampoo, hair care kits, and conditioner),” “Foot care products (like creams

                 and orthotics),” “Skin care products (like lotions and cleansers),” “First aid kit,”

                 “Vitamins (like multi-vitamins, Vitamin A, or Vitamin C),” “None of these,”

                 and/or “I don’t know.” Respondents qualified for the survey if they answered that

                 they had purchased “Hair care products (like shampoo, hair care kits, and

                 conditioner).”

           vi.   Hair care products purchased: Question F asked respondents which hair care

                 products they had purchased in the past five years. Responses included, “Hair

                 color kit,” “Hair extensions,” “Hair relaxer kit,” “Shampoo,” “None of these,” and

                 “I don’t know.” Respondents qualified for the survey if they selected “Hair relaxer

                 kit.”

          vii.   Type of hair relaxer kit purchased: Question G asked respondents which type of

                 hair relaxer kit they had purchased in the past five years. Responses included, “No-

                 lye hair relaxer kit (described on the package as ‘no-lye’),” “Conditioning hair

                 relaxer kit (described on the package as ‘conditioning’),” “Children’s hair relaxer

                 kit (described on the package as for children),” “None of these,” and “I don’t

                 know.” Respondents qualified for the survey if they selected “No-lye hair relaxer

                 kit (described on the package as ‘no-lye’).”




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    23.     Other questions qualified respondents as not working for any sensitive types of

    businesses,9 not participating in a survey regarding hair care products within the past 30 days,10

    and wearing eyeglasses or contact lenses if needed.

    24.     The survey was conducted online, with respondents typing their own answers to questions.

    Online panels are used frequently for surveys conducted in both litigation and commercial

    contexts. Respondents were recruited through an online survey panel of consumers provided by

    Survey Sampling International (SSI), a well-respected company that has provided sampling and

    data collection for more than 40 years. SSI offers a broad consumer sample, and partners with

    researchers to conduct more than 32 million surveys each year. SSI currently serves more than

    3,000 customers, including consumer research organizations, universities, and political polling.

    SSI has a number of screening and quality control measures in place to ensure the integrity and

    quality of potential respondents.11 The survey was conducted in a double-blind manner, as neither

    the respondents nor SSI knew the purpose of the survey.

    25.     Exhibit 2 shows the qualifying questions and questionnaire used in the survey.

    26.     After qualification, at the beginning of the survey, respondents were given this instruction:

            “The remaining questions in this survey ask about no-lye hair relaxer kits. Hair
            relaxer kits contain lotions or creams that relax or straighten naturally curly or
            kinky hair. No-lye hair relaxer kits are described on the package as ‘no-lye.’

            As before, please do not guess, and please do not consult any other sources while
            you take this survey. If you do not know the answer to a question or do not have
            an opinion, please indicate that you do not know.”




    9
     Sensitive types of businesses in Question H included marketing research; advertising or public relations;
    manufacturer, distributor, or retailer of hair care products; and hair salon or hair stylist.
    10
      Question I asked, “In the past 30 days, how many surveys have you participated in regarding hair care
    products?” Respondents were permitted to continue the survey if they answered “None.”
    11
      For example, the panel uses double opt-in recruitment (where respondents must opt-in to the panel twice
    upon joining), IP address verification (verifying the unique address of computers associated with specific
    respondents), and straight-line checks (searching for those who selected the same response letter for
    multiple questions).

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    27.    Question 1 asked, “How many times have you ever purchased a no-lye hair relaxer kit? As

    a reminder, a no-lye hair relaxer kit contains lotions or creams that relax or straighten naturally

    curly or kinky hair.” Responses included, “Never,” “1 to 2 times,” “3 to 5 times,” “6 to 10 times,”

    “More than 10 times,” and “I don’t know.” “Never” was included as another quality control

    measure. Respondents who selected “Never” were removed from the survey, because their

    previous response to Question G indicated they had purchase a no-lye hair relaxer kit in the past

    five years.

    28.    Question 2 asked, “How often do you typically purchase no-lye hair relaxer kits?”

    Responses included, “Less often than once per year,” “Once per year,” “2 to 3 times per year,”

    “Once every 2 to 3 months,” “About once per month,” “More often than one per month,” and “I

    don’t know.”

    29.    Question 3 asked respondents whether certain statements did or did not describe their

    beliefs about no-lye hair relaxers. The question asked,

           “Please answer this question thinking about no-lye hair relaxer kits.

           Some, all, or none of the statements below may describe your beliefs about no-lye
           hair relaxers. For each statement, please select one response to indicate whether
           the statement does or does not describe your beliefs about no-lye hair relaxers, or
           you don’t know.”


    30.    Question 3 then showed a series of statements about no-lye hair relaxers. For each
    statement, respondents answered “Yes, this does describe my beliefs about no-lye hair relaxers,”

    “No, this does not describe my beliefs about no-lye hair relaxers,” or “I don’t know.” Question 3

    showed the following statements one at a time and in random order:




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               a.   No-lye hair relaxers use strong chemicals to straighten hair.
               b.   No-lye hair relaxers may cause hair to fall out.
               c.   No-lye hair relaxers may irritate the scalp.
               d.   No-lye hair relaxers may damage hair or skin.
               e.   No-lye hair relaxers come in a package that has safety warnings.
               f.   No-lye hair relaxers should be put on hair after applying scalp protector.
               g.   No-lye hair relaxers should be applied to hair while wearing gloves.
               h.   No-lye hair relaxers should be applied to hair after conducting a strand test.
               i.   No-lye hair relaxers provide results that vary depending on hair type.
               j.   No-lye hair relaxers come with conditioner.
               k.   No-lye hair relaxers come with moisturizer.
               l.   No-lye hair relaxers are recommended by people I trust.
               m.   No-lye hair relaxers come with silver earrings.
               n.   No-lye hair relaxers should be used only while driving.


    31.    In the list shown in Question 3, Statements m and n are control questions, which measure

    the effect of extraneous factors, such as a respondent’s pre-existing impressions, biases,

    inattention to survey questions, or tendency to guess. Respondents who answered affirmatively to

    the control questions have agreed with a statement that consumers should not believe about no-lye

    hair relaxers, and these answers are used during data analysis to adjust the survey measures for the

    effect of extraneous factors.

    32.    Question 4 asked, “Which, if any, of the following have you ever experienced as a result of

    using a no-lye hair relaxer?” Question 4 then showed a series of potential outcomes of using no-
    lye hair relaxers. For each outcome, respondents answered “Yes, I have experienced this as a

    result of using a no-lye hair relaxer,” “No, I have not experienced this as a result of using a no-lye

    hair relaxer,” or “I don’t know.” Question 4 showed the following outcomes one at a time and in

    random order: scalp burning, hair breakage, hair loss, and Darcy disease. Darcy disease was

    included as a control question. Respondents who answered affirmatively to the control question

    have indicated that using a no-lye hair relaxer caused them to contract a fictitious disease, and

    these answers are used during data analysis to adjust the survey measures for the effect of

    extraneous factors.




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    33.     Question 5 asked, “Below is a list of items sometimes used for hair care. Please select the

    items, if any, that you typically use on or in your hair at least once every 3 months.” Responses

    included, “Hair coloring or hair dye,” “Hair bleach or lightener,” “Hair highlights,” “Hair braids or

    extensions,” “Shampoo,” “Conditioner,” “Hair brush or comb,” “Hair dryer,” “Hot comb,” “Flat

    iron,” “Curling iron,” “None of these,” and “I don’t know.”

    34.     Interviews were conducted from October 20, 2017, through October 23, 2017. From the

    original database of 385 completed interviews, 6 respondents (1.6%) were removed during

    validation, leaving 379 respondents in the final database. This is a large database with sufficient

    size to be reliable for analysis.

    35.     The survey included several quality control and validation measures, which are described

    in Exhibit 3.12 Exhibit 4 summarizes the number of respondents terminated at each point in the

    screening and validation processes.



    Findings from the Survey

    36.     Exhibit 5 presents cross-tabulation tables for qualifying questions, as well as questions

    from the main survey. Exhibit 6 shows all responses to all questions from all respondents, and

    includes a data map indicating how variables in the database map to survey responses.

    37.     Table A below shows the results of Question 1, which asked respondents how many times

    they had ever purchased a no-lye hair relaxer kit.




    12
      As described in Exhibit 3, respondents were removed from the database if they did not pass validation
    using pre-existing information from the panel operator regarding respondent gender, age, and geography.

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                             Table A: Summary of Responses to Question 1
                                                                                            All
      Q.1 How many times have you ever purchased a no-lye hair relaxer kit?             Respondents
      Sample size                                                                           379
      More than 10 times                                                                    70.7%
      6 to 10 times                                                                         13.5%
      3 to 5 times                                                                          10.0%
      1 to 2 times                                                                             4.7%
      Never                                                                                    0.0%
      I don’t know                                                                             1.1%



    38.    As shown in Table A, most respondents (70.7%) indicated they have purchased a no-lye

    hair relaxer kit more than 10 times, which was the largest response category provided to

    respondents. Another 13.5% of respondents indicated they have purchased a no-lye hair relaxer

    kit 6 to 10 times, meaning that 84.2% indicated they have purchased a no-lye hair relaxer kit six

    times or more. By contrast, only 4.7% of respondents indicated that they have purchased a no-lye

    hair relaxer 1 to 2 times.




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    39.    Table B below shows the results of Question 2, which asked respondents how often they

    typically purchase no-lye hair relaxer kits.



                              Table B: Summary of Responses to Question 2
                                                                                           All
      Q.2 How often do you typically purchase no-lye hair relaxer kits?                Respondents
      Sample size                                                                          379
      More often than once per month                                                       1.3%
      About once per month                                                                 18.7%
      Once every 2 to 3 months                                                             35.9%
      2 to 3 times per year                                                                26.1%
      Once per year                                                                        8.4%
      Less often than once per year                                                        8.5%
      I don’t know                                                                         1.1%



    40.    As shown in Table B, more than half of respondents (55.9%) indicated that they typically

    purchase no-lye hair relaxer kits once every two to three months, or more often. This includes

    35.9% who indicated they typically purchase no-lye hair relaxer kits once every two to three

    months, 18.7% who indicated they typically purchase no-lye hair relaxer kits about once per

    month, and 1.3% who indicated they typically purchase no-lye hair relaxer kits more often than
    once per month.

    41.    Table C below summarizes the responses from Question 3, which asked respondents

    whether they held certain beliefs about no-lye hair relaxers.




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                             Table C: Summary of Responses to Question 3
                                                                                      Percent of
                                                                                     Respondents
                                                                                  Answering “Does”
      Q.3 For each statement, please select one response to indicate whether the Gross,      Net,
      statement does or does not describe your beliefs about no-lye hair relaxers, Before    After
      or you don’t know.                                                           Controls Controls
      Sample size                                                                   379
      No-lye hair relaxers should be applied to hair while wearing gloves.         96.6%       93.9%
      No-lye hair relaxers come in a package that has safety warnings.             94.7%       92.0%
      No-lye hair relaxers provide results that vary depending on hair type.       93.7%       91.0%
      No-lye hair relaxers come with conditioner.                                  90.7%       88.0%
      No-lye hair relaxers should be put on hair after applying scalp protector.   88.1%       85.4%
      No-lye hair relaxers should be applied to hair after conducting a strand test. 86.8%     84.1%
      No-lye hair relaxers may irritate the scalp.                                 83.1%       80.4%
      No-lye hair relaxers come with moisturizer.                                  81.0%       78.3%
      No-lye hair relaxers may damage hair or skin.                                80.2%       77.5%
      No-lye hair relaxers use strong chemicals to straighten hair.                72.3%       69.6%
      No-lye hair relaxers are recommended by people I trust.                      69.9%       67.2%
      No-lye hair relaxers may cause hair to fall out.                             66.2%       63.5%


      Control Statements
       No-lye hair relaxers come with silver earrings.                              3.2%        NA
       No-lye hair relaxers should be applied only while driving.                   2.1%        NA
            Average of Control Statements                                          2.7%         NA

      NA = Not applicable




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    42.     As shown by Table C, the percentage of respondents who indicated that each statement

    reflects their beliefs about no-lye hair relaxers varied from 66.2% to 96.6%. Of all respondents,

    83.1% indicated that they believe no-lye hair relaxers may irritate the scalp. Additionally, 80.2%

    indicated that they believe no-lye hair relaxers may damage hair or skin, 72.3% indicated that they

    believe no-lye hair relaxers use strong chemicals to straighten hair, and 66.2% indicated that they

    believe no-lye hair relaxers may cause hair to fall out.

    43.     Two of the statements included in Question 3, “No-lye hair relaxers come with silver

    earrings” and “No-lye hair relaxers should be applied only while driving” are control questions.

    Table C shows that an average of 2.7% of respondents indicated that they hold at least one of these

    beliefs about no-lye hair relaxers. Specifically, 3.2% answered affirmatively to, “No-lye hair

    relaxers come with silver earrings,” while 2.1% answered affirmatory to, “No-lye hair relaxers

    should be applied only while driving.”

    44.     Table C also uses the results from the control questions to calculate net measures for each

    statement. As can be seen, the calculations in the table create “net” measures by subtracting the

    2.7% average of the control measures from the survey measures for each statements asked in

    Question 3. As discussed earlier, the net measures remove the effect of extraneous factors, such as

    acquiescence bias.

    45.     After accounting for the control, 80.4% of respondents indicated that they believe no-lye

    hair relaxers may irritate the scalp. Additionally, 77.5% indicated that they believe no-lye hair

    relaxers may damage hair or skin, 69.6% indicated that they believe no-lye hair relaxers use strong

    chemicals to straighten hair, and 63.5% indicated that they believe no-lye hair relaxers may cause

    hair to fall out.

    46.     Table D below summarizes the responses from Question 4, which asked respondents

    whether they have ever experienced certain outcomes as a result of using a no-lye hair relaxer.




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                             Table D: Summary of Responses to Question 4
                                                                                         Percent of
                                                                                       Respondents
                                                                                        Answering
                                                                                          “I have”
                                                                                      Gross,     Net,
      Q.4 Which, if any, of the following have you ever experienced as a result       Before    After
      of using a no-lye hair relaxer?                                                 Control Control
      Sample size                                                                      379
      Scalp burning                                                                   77.6%      77.3%
      Hair breakage                                                                   53.8%      53.5%
      Hair loss                                                                       32.4%      32.1%

      Control Statement
      Darcy disease                                                                    0.3%          NA

      NA = Not applicable



    47.    As shown by Table D, 77.6% of respondents indicated they had experienced scalp burning

    as a result of using a no-lye hair relaxer. Furthermore, 53.8% of respondents indicated they had

    experienced hair breakage, and 32.4% indicated they had experienced hair loss as a result of using

    a no-lye hair relaxer.

    48.    For the control measure, 0.3% of respondents indicated they had experienced Darcy

    disease as a result of using a no-lye hair relaxer. Table D also indicates that, after accounting for
    the control, 77.3% of respondents indicated they had experienced scalp burning as a result of using

    a no-lye hair relaxer, 53.5% of respondents indicated they had experienced hair breakage, and

    32.1% indicated they had experienced hair loss as a result of using a no-lye hair relaxer.

    49.    Table E below summarizes the responses from Question 5, which asked respondents

    whether they typically use certain items on or in their hair at least once every three months.




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                              Table E: Summary of Responses to Question 5
      Q.5 Below is a list of items sometimes used for hair care. Please select the
      items, if any, that you typically use on or in your hair at least once every 3
      months.
                                                                                               All
      Percentage of respondents selecting item                                             Respondents
      Sample size                                                                              379
      Shampoo                                                                                  94.2%
      Conditioner                                                                              92.9%
      Hair brush or comb                                                                       86.3%
      Hair dryer                                                                               71.0%
      Flat iron                                                                                63.1%
      Curling iron                                                                             46.2%
      Hair coloring or hair dye                                                                40.4%
      Hair braids or extensions                                                                40.4%
      Hot comb                                                                                 18.5%
      Hair highlights                                                                          10.8%
      Hair bleach or lightener                                                                 5.0%
      None of these                                                                            0.5%
      I don’t know                                                                             0.0%



    50.     Table E shows that 71.0% of respondents indicated that at least once every three months,
    they typically use a hair dryer, 63.1% typically use a flat iron, 46.2% typically use a curling iron,

    40.4% typically use hair coloring or hair dye, 40.4% typically use hair braids or extensions, 18.5%

    typically use a hot comb, 10.8% typically use hair highlights, and 5.0% typically use hair bleach

    or lightener.




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    Conclusions from the Survey
    51.        Based on the data from my survey, the majority of respondents (70.7%) indicated they

    have purchased a no-lye hair relaxer kit more than 10 times. In addition, 55.9% of respondents

    indicated that they typically purchase no-lye hair relaxer kits at least once every two to three

    months. These results indicate that consumers who purchase no-lye hair relaxer kits are typically

    experienced with no-lye hair relaxers.

    52.        My survey also asked respondents whether certain statements reflect their beliefs about

    no-lye hair relaxers. Four of these beliefs represent the potential risks alleged in the complaint,

    including “No-lye hair relaxers may irritate the scalp,” “No-lye hair relaxers may damage hair or

    skin,” “No-lye hair relaxers use strong chemicals to straighten hair,” and “No-lye hair relaxers

    may cause hair to fall out.” Of all respondents, 83.1% believe no-lye hair relaxers may irritate

    the scalp, and 80.2% believe no-lye hair relaxers may damage hair or skin, 72.3% indicated that

    they believe no-lye hair relaxers use strong chemicals to straighten hair, and 66.2% believe no-

    lye hair relaxers may cause hair to fall out.

    53.        My survey included control questions, which asked respondents whether they believe

    “No-lye hair relaxers come with silver earrings” and “No-lye hair relaxers should be applied only

    while driving.” An average of 2.7% of respondents indicated they believed at least one of these

    control statements, indicating the level of “noise” associated with the measurement of these

    beliefs.

    54.        After accounting for the control “noise,” a net of 80.4% believe no-lye hair relaxers may

    irritate the scalp, and 77.5% believe no-lye hair relaxers may damage hair or skin, 69.6%

    indicated that they believe no-lye hair relaxers use strong chemicals to straighten hair, and 63.5%

    believe no-lye hair relaxers may cause hair to fall out.




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    55.    Survey respondents were asked whether they have ever experienced certain outcomes as

    a result of using a no-lye hair relaxer. These outcomes included scalp burning, hair breakage and

    hair loss. The question also asked if respondents had ever experienced Darcy disease, as a

    control question. Of all respondents, 77.6% indicated they had experienced scalp burning as a

    result of using a no-lye hair relaxer. Additionally, 53.8% indicated they had experienced hair

    breakage as a result of using a no-lye hair relaxer, and 32.4% indicated they had experienced hair

    loss as a result of using a no-lye hair relaxer. For the control, 0.3% indicated they had

    experienced Darcy disease as a result of using a no-lye hair relaxer. After accounting for the

    control, a net of 77.3% indicated they had experienced scalp burning, 53.5% indicated they had

    experienced hair breakage, and 32.1% indicated they had experienced hair loss as a result of

    using a no-lye hair relaxer.

    56.    The survey also asked respondents to indicate other potentially damaging items they

    typically use on or in their hair at least once every three months. Of all respondents, 71.0%

    indicated that at least once every three months, they typically use a hair dryer, 63.1% typically

    use a flat iron, 46.2% typically use a curling iron, 40.4% typically use hair coloring or hair dye,

    40.4% typically use hair braids or extensions, 18.5% typically use a hot comb, 10.8% typically

    use hair highlights, and 5.0% typically use hair bleach or lightener.




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    I declare under penalty of perjury under the laws of the United States that the foregoing is true

    and correct to the best of my belief and that this report is executed on this 28th day of June,

    2018.




                                                  ______________________________
                                                  Dr. Jonathan D. Hibbard




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                                  Exhibit 1:
         Professor Jonathan D. Hibbard CV and Testimony Experience
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                                 Professor Jonathan D. Hibbard
                                 Assistant Professor of Marketing
                                      Marketing Department
                                  Questrom School of Business
                          595 Commonwealth Avenue Boston, MA 02215
                                (617) 353-4411 jhibbard@bu.edu

EDUCATION
     Northwestern University
      Evanston, IL
         J.L. Kellogg Graduate School of Management
         Ph.D. in Marketing, 1995

     Northwestern University
      Evanston, IL
         J.L. Kellogg Graduate School of Management
         Masters of Business Administration (with distinction), 1988

     Boston University Questrom School of Business
      Boston, MA
         Bachelor of Science in Business Administration (summa cum laude), 1982


PUBLICATIONS
     Hibbard, Jonathan, Manish Kacker and Farhad Sadeh (2018), “Performance Impact of
      Distribution Expansion: A Review and Research Agenda,” in R. Dant, J. R. Brown and C.
      A. Ingene (Eds.), Handbook of Research on Distribution Channels, Edward Elgar, 1-31.
      Forthcoming.

     Isaacson, Bruce, Jonathan D. Hibbard, and Scott D. Swain (2012), “Three Critical
      Questions for Evaluating Intellectual Property Surveys,” Intellectual Property Today,
      September 12, 1-5.

     Kim, Stephen, Jonathan D. Hibbard, and Scott Swain, (2011) “Commitment in Marketing
      Channels: Mitigator or Aggravator of the Effects of Destructive Acts?” Journal of
      Retailing. 87 (December), 521-539.

     Joglekar, Nitin and Jonathan D. Hibbard. (2010). Clean Technology: On Top Down and
      Bottom Up Assessment of Business Plans. SiliconIndia, 12 (3).

     Isaacson, Bruce, Jonathan D. Hibbard, and Scott D. Swain (2008), “Why Online Consumer
      Surveys Can Be a Smart Choice in Intellectual Property Cases,” American Bar Association,
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     Brunel, Frédéric F. and Jonathan D. Hibbard (2006),” Using Innovations in Student
      Teaming to Leverage Cross-Functional and Marketing Learning: Evidence from a Fully
      Integrated Undergraduate Core,” Marketing Education Review, (Winter) 16, 15-23.

     Brunel, Frédéric F. and Jonathan D. Hibbard (2006), “Teams That Work. The Science
      Behind the Art of Cross-Functional Team Learning,” Builders and Leaders, (Spring), 20-
      23.

     Hibbard, Jonathan D., John E. Hogan, and Gerald Smith (2003), “Assessing the Strategic
      Value of a Business Relationship: The Role of Uncertainty and Flexibility,” Journal of
      Business & Industrial Marketing, 18 (4/5), 376-387.

     Brunel, Frédéric F. and Jonathan D. Hibbard (2002),”CRM and the Test of Time,” Builders
      & Leaders, Boston University School of Management (Fall), 25-27.

     Gregan-Paxton, Jennifer, Jonathan D. Hibbard, Frédéric F. Brunel, and Pablo Azar (2002),
      “'So That's What It Is': Examining the Impact of Analogy on Consumers' Knowledge
      Development for Really New Products,” Psychology & Marketing, 19 (June), 533-550.

     Hibbard, Jonathan D., Frédéric F. Brunel, Rajiv P. Dant, and Dawn Iacobucci (2001),
      “Does Relationship Marketing Age Well?” Business Strategy Review, Winter, Volume 12
      (4), 29-35.

     Hibbard, Jonathan D., Nirmalya Kumar, and Louis W. Stern (2001), “Examining the Impact
      of Destructive Acts in Marketing Channel Relationships,” Journal of Marketing Research,
      (38 February), 45-61.

     Hibbard, Jonathan D., Nirmalya Kumar, and Louis W. Stern (2001), “Examining the Impact
      of Destructive Acts in Marketing Channel Relationships,” Marketing Science Institute
      Working Paper Series, #01-102, Cambridge MA.

     Weinberg, Bruce D. and Jonathan D. Hibbard (2000), “The Emergence of the Internet
      Consumer-Entrepreneur,” The Manager, Boston University School of Management,
      (Spring), 23-24.

     Weinberg, Bruce D. and Jonathan Hibbard (2000), “The New Internet Consumer,” MBA
      Bulletpoint, April, 11-24.

     Iacobucci, Dawn and Jonathan D. Hibbard (1999), “Toward an Encompassing Theory of
      Business Marketing Relationships and Interpersonal Commercial Relationships: An Empirical
      Generalization,” Journal of Interactive Marketing, Summer, 13-33.

     Hibbard, Jonathan D. and Dawn Iacobucci (1999),”Business Marketing Relationships: An
      Empirical Generalization with Implications for Future Research,” (refereed abstract)
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      Marketing for the 21st Century, June, Malta.




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      Facilitate a Consumer’s Understanding and Evaluation of Really New Products,” Society of
      Consumer Psychology Winter Conference Proceedings (refereed), Austin, Texas.

     Hibbard, Jonathan D. (1996), “Supply Chain Management: Broadening the Research
      Perspective,” Manufacturing Roundtable Research Report Series, Report #451, Boston
      University School of Management.

     Hibbard, Jonathan D., Nirmalya Kumar, and Louis W. Stern (1996), “Examining Conflict
      Responses in Interorganizational Settings,” Proceedings of the International Conference on
      Advances in Management, Boston, MA.

     Kumar, Nirmalya Jonathan D. Hibbard, and Louis W. Stern (1994), “The Nature and
      Consequences of Marketing Channel Commitment,” Marketing Science Institute Working
      Paper Series, #94-115, Cambridge, MA.

     Hibbard, Jonathan D., Kent Grayson, and Philip Kotler (1995), “Marketing and
      Merchandising,” Encyclopedia Britannica.

     Hibbard, Jonathan D., Nirmalya Kumar, and Louis W. Stern (1995), “Accommodation
      Processes In Marketing Channel Relationships: Examining the Impact of Destructive Acts,”
      Proceedings of the International Association for Research in Economic Psychology
      (refereed), Summer Conference, Bergen, Norway.

     Buskirk, Bruce and Jonathan D. Hibbard (1987), “Setting the Direct Marketing Research
      Agenda for Academia,” Journal of Direct Marketing, 1 (Autumn), 5-11.

      Cases Authored/Supervised *
         Boston University: Daewoo Motor Corp: U.S. Entry, Intel Corporation: The Pentium
          Processor Problem, Cadbury Schweppes: The Acquisition of Dr. Pepper, Airport Travel
          Journal

         Northwestern University's Kellogg School: The West Bend Company, Lands' End Direct
          Merchants

         Harvard Business School: Anheuser-Busch, British Airways/United Airlines, Vestron,
          Cigna Worldwide
      * Several cases reprinted in teaching case compilation books.


 PUBLISHED WORKING PAPERS
  2005 “Using Innovations in Student Teaming to Leverage Cross-Functional and Marketing
       Learning: Evidence from a Fully Integrated Undergraduate Core” Boston University
       School of Management Working Paper #2005-50, October 2005 (with Frederic Brunel)




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  2002 “A Real Option-based Framework for Valuing Business Relationships as Strategic
       Assets,” Boston University School of Management Working Paper Series, #2002-10, with
       John E. Hogan.

  2001 “Diminishing Returns in Relationship Marketing,” Boston University School of
       Management Working Paper Series, #2001-14, with Frederic F. Brunel, Rajiv P. Dant,
       and Dawn Iacobucci.

  2001 “So That's What It is: Examining the Impact of Analogy on Consumers' Knowledge
       Development for Really New Products,” Boston University School of Management
       Working Paper Series, #2001-05, with Jennifer Gregan-Paxton, Frederic Brunel,
       and Pablo Azar.


PRESENTATIONS/CONFERENCES/PROCEEDINGS
     “Design for Measuring and Managing User Engagement: Evidence from Wearable
      Technologies,” with Fu-ren Lin, Nila Armelia Windasari, and Nitin Joglekar (2016),
      Cornell Symposium on Hospitality and Health Design (October).

     “Impact of Mixed Retail Experiences on Consumer Impressions of Salespersons,” with
      Scott D. Swain, and B. Andrew Cudmore (2016), 22nd International Conference on
      Industry, Engineering, and Management Systems, Cocoa Beach, FL: Association.

     “Attributions of Causality for Destructive Acts in Distribution Channels,”
      Interorganizational SIG Special Session on “Design and Management of Buyer-Seller
      Relationships and Distribution Channels, AMA Summer Marketing Educators’ Conference,
      August 2014, San Francisco (with Hadi Eslaminosratabadi and Manish Kacker).

     “Attributions of Causality for Destructive Acts in Distribution Channels,” Institute for the
      Study of Business Markets (ISBM) Academic Conference, July 2014, San Francisco (with
      Hadi Eslaminosratabadi and Manish Kacker).

     “Consumer Responses to Promotional Games in Social Media,” Academy of Marketing
      Science World Marketing Congress, (with Richard C. Hanna and Scott D. Swain) Reims,
      France, July 2011, eds. Barry J. Babin and Adilson Borges. p.814.

     “A Study of the Dual Effects of Dealer Commitment Under Relational Distress,” Academy
      of World Business Marketing and Management Development Conference (with Stephen K.
      Kim, Scott D. Swain), Oulu, Finland (July 2010).

     “Trademark Infringement: When is Similarity Confusing to Consumers?” Academy of
      Marketing Science World Marketing Congress (with Scott D. Swain and Richard C. Hanna)
      July 2009. Oslo, Norway. eds. Victoria L. Crittenden, Linda Ferrell, and Göran Svensson:
      333.




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     “Order Effects in Retail Service Encounters,” 15th International Conference on Industry,
      Engineering, and Management Systems, March 2009. Cocoa Beach, FL: California State
      University Press, Stanislaus (with Scott D. Swain and Andrew Cudmore).

     “Integrating Research Techniques for Deeper Customer Insights: Blurring Boundaries
      Between Research Methods,” American Marketing Association Marketing Research
      Conference, September 2008, Boston, MA (with Scott D. Swain and Bruce Isaccson).

     “A Signal Detection Approach for Assessing Response Biases in Consumer Confusion,”
      14th International Conference on Industry, Engineering, and Management Systems, Cocoa
      Beach, FL, March 2008 (with Scott D. Swain, Richard C. Hanna, and B. Andrew
      Cudmore).

     “SM323 - The Cross-Functional Core,” Decision Sciences Institute National Meeting,
      Phoenix, Arizona, November 2007 (with Peter Arnold and Frédéric Brunel).

     “Managing Cross-Functional, Multi-Section Required Courses,” 17th Annual Production
      and Operations Management Society Conference, Boston, MA, April 2006 (with Peter
      Arnold, Frédéric Brunel, J. Robb Dixon, Nitin Joglekar and Paul Morrison).

     “Entrepreneurial Ventures as the Cross-Functional Integration Mechanism in a Core
      Curriculum,” Changing the Entrepreneurial Landscape, Joint Conference of the United
      State Association for Small Business and Entrepreneurship and The Small Business
      Institute, Tucson AZ, January 2006 (with Nitin Joglekar and Frédéric Brunel).

     “Lessons and Best Practices in Cross-Functional Management Education,” Management
      Education Alliance Conference, held at Bentley College, Waltham, MA, November 2005
      (with Nitin Joglekar and Frederic Brunel).

     “Integrated Curriculum: Lessons from 12 years of Cross-Functional Learning,” Mid-
      Atlantic Association of Colleges of Business Administration Annual Conference,
      Baltimore, MD, October 2005 (with Nitin Joglekar and Frederic Brunel).

     “Cross Functional Integration in a Core Curriculum: Lessons, Best Practices and Evidence
      of Team-Learning,” The International College teaching Methods and Styles Conference,
      Reno, NV, September 2005 (with Frederic Brunel and Nitin, Joglekar).

     “Team Learning in a Cross-Functional NPD Course,” Decision Sciences Institute, Boston,
      MA, (with Peter Arnold, Frédéric Brunel, and Nitin Joglekar), November 2004.

     “The SMG Undergraduate Cross Functional Core Course” Curricular Innovations in
      Management Education Conference, Boston, MA (with Frédéric Brunel and Nitin
      Joglekar), October 2004.

     “Product Development as the Integrative Theme in Business Core Classes,” AACSB
      International Conference, Montreal, Canada (with Frederic Brunel and Nitin Joglekar),
      April 2004.




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     “Building Exit Barriers as a Proactive Strategy for the Management of Conflict,” 7th
      International Research Conference on Relationship Marketing and Customer Relationship
      Management, Berlin, Germany (with Karen Koza and Rajiv Dant), June 2003.

     “Exploring Why Relationship Marketing May Not Age Well,” Babson College Research
      Forum, Wellesley MA (with Frederic Brunel), November 2002.

     “Does Relationship Marketing Age Well?,” Society for Consumer Psychology, Austin, TX
      (with Frederic Brunel, Rajiv Dant and Dawn Iacobucci), February 2002.

     “Valuing Buyer-Seller Relationships as Strategic Firm Assets,” presented at the annual
      Marketing Science Conference (with John E. Hogan), Wiesbaden, Germany, July 2001.

     “A Framework for Valuing Buyer-Seller Relationships as Strategic Firm Assets,” invited
      presentation at London Business School, April 2001, London, England (with John E.
      Hogan).

     “A Framework for Valuing Buyer-Seller Relationships as Strategic Firm Assets,” invited
      presentation at INSEAD Business School, April 2001, Fontainebleau, France (with John E.
      Hogan).

     “A Real-Options Based Framework for Valuing Buyer-Seller Relationships as Strategic
      Firm Assets,” presented at The Seventh Joint Conference of the Institute for the Study of
      Business Markets and The Center for Business and Industrial Marketing, February 2001
      (with John E. Hogan), Atlanta, GA.

     “Exploring Diminishing Returns in Long-term Marketing Relationships,” AMA Summer
      Marketing Educators’ Conference, Chicago, IL, August 2000 (with Rajiv Dant and Frederic
      F. Brunel).

     “The Conflict-Performance Assumption in Channels of Distribution,” AMA Summer
      Educators’ Conference, San Francisco, CA, August 1999 (with Rajiv Dant).

     “Business Marketing Relationships: An Empirical Generalization with Implications for Future
      Research,” 9th World Marketing Congress: Global Perspectives, B-to-B and Relationship
      Marketing Track, Malta, June 1999 (with Dawn Iacobucci).

     “Toward an Encompassing Theory of Relationships in Business and Consumer Marketing: An
      Empirical Generalization with Implications for Future Research,” Marketing Science Institute
      Conference in conjunction with Journal of Marketing, Cambridge, MA June 1998 (with Dawn
      Iacobucci).




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TEACHING EXPERIENCE
  Boston University School of Management, Boston, MA                          1994-present
  Assistant Professor of Marketing
         Marketing Management – Undergraduate; Advanced Marketing Strategy
         Faculty Lead - The Cross Functional Undergraduate Core
         Have taught: Marketing Management (MBA) in China - International MBA
         Asia Pacific Executive MBA (Japan); Korean Executive MBA (Korea)
         Taught Business Marketing (MBA & undergraduate)

  Northwestern University, Evanston, IL                                             1991-1993
  Teaching Assistant, Kellogg Graduate School of Management


WORK EXPERIENCE
  Harvard Business School, Boston, MA                                               1988-1989
  Associate in Research
         Using survey data, researched impact of European Community's Common
         Market in 1992 on European and U.S. firms. Authored teaching cases in
         marketing dealing with entertainment, insurance, airline, and brewing
         industries.

  Boston University, Boston, MA                                                       1983-1987
  Assistant Alumni Director
         Coordinated alumni events in 21 metropolitan areas, servicing 25,000 alumni.
         Traveled to promote University's image, supporting development & recruitment.
         Received two prestigious national awards for creativity in alumni programming.

  NCR Corporation, New Haven, CT                                                    1982-1983
  Sales Representative
         Successfully sold mini-computers to manufacturing and wholesaling firms.
         Developed strong industrial marketing and sales skills.


SELECTED HONORS, AWARDS
  2013 Broderick Award for Outstanding Contribution to the Undergraduate Program

  2009 Nominated as a candidate for 2010 Boston University’s Metcalf Award, the university’s
       highest teaching honor

  2009 Nominated for Marketing Management Association’s 2010 Hormel Meritorious Teaching
       Award

  2007 SM323 Core - Excellence in Entrepreneurship Teaching and Pedagogical Innovation
       from National Consortium of Entrepreneurship Centers

  2004 General Electric Team Learning Award


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EXPERT TESTIMONY (LAST FOUR YEARS)
  2016 Pinkette Clothing, Inc., Plaintiff, vs. Cosmetic Warriors Limited, et al., Defendants, US
       District Court Central District of CA. Submitted an Expert Rebuttal report on Behalf of
       Plaintiff and Deposed.

  2017 S.C. Johnson & Son, Inc., Plaintiff, v. Minigrip, LLC, Defendant. US District Court for
       the District of Wisconsin. Submitted an Expert Rebuttal report on Behalf of Defendant
       and Deposed.

  2017 Gallagher, Farar, Lopez, Cordaro, and Cosgrove, Plaintiffs, v. Bayer AG, Bayer
       Corporation and Bayer Healthcare LLC, Defendants. United States District Court
       Northern District of California. Submitted an Expert Rebuttal report on Behalf of
       Plaintiffs and Deposed.

  2017 Riles, Jacobs, Raines, Turnipseed, Oravillo, Taylor, Finch, Coleman, and Sanon,
       Plaintiffs, v. L’Oréal USA, Inc. and Softsheen-Carson, LLC, Defendants. United States
       District Court Southern District of New York. Submitted an Expert Rebuttal report on
       Behalf of Defendants and Deposed.

  2018 eMove, Inc. and UHaul International, Inc., Plaintiffs, v. Hire A Helper LLC and Michael
       Glanz, Defendants. United States District Court Southern District Of California.
       Submitted two Expert Rebuttal reports on Behalf of Plaintiffs and Deposed.




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                                  Exhibit 2:
                    Survey Screener and Main Questionnaire
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  Jonathan Hibbard
  October 2017

                                               At Home Survey

                                                   Screener

  [DO NOT ALLOW RESPONDENTS TO GO BACK TO ANY PREVIOUS QUESTION.]

  Thank you for participating in this survey. If you need glasses or contact lenses to see the screen clearly,
  please put them on now. Please answer every question honestly and to the best of your ability. There are
  no right or wrong answers; we are only interested in your opinions.

  On any question, if you don’t know how to answer or you are not sure, simply indicate that you don’t
  know. Please do not guess and please do not consult any other person or source, such as the Internet,
  while you complete this survey.

  Your individual responses are confidential and will not be shared with anyone.

  Also, please do not use your browser's “Back” button to try to return to a prior question or your survey
  will be terminated.


  A.      In what state do you live? (SELECT ONE RESPONSE FROM DROP-DOWN LIST)

  [PROVIDE DROP-DOWN LIST OF STATES, PLUS “Washington, D.C.” AND “Other or I don’t
  know”.]

  [ASSIGN TO REGION.
  [IF REGIONAL QUOTA FILLED OR “OTHER OR I DON’T KNOW”, TERMINATE AND
  SKIP TO Q.100. OTHERWISE, CONTINUE.]


  B.      What is your gender? (SELECT ONE RESPONSE)

          [ROTATE ORDER OF RESPONSES. ANCHOR “PREFER NOT TO ANSWER” LAST.]
          Male
          Female
          Prefer not to answer

  [IF “MALE” OR “PREFER NOT TO ANSWER”, TERMINATE AND SKIP TO Q.100.
  OTHERWISE, CONTINUE.]




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  C.     What is your age? (SELECT ONE RESPONSE)

         17 years old or younger
         18 to 34 years old
         35 to 54 years old
         55 years old or older
         Prefer not to answer

  [IF “17 YEARS OLD OR YOUNGER”, “PREFER NOT TO ANSWER”, OR QUOTA FILLED,
  TERMINATE AND SKIP TO Q.100.]


  D.     Please specify your race or ethnicity. (SELECT ALL THAT APPLY)

         [RANDOMIZE ORDER OF RESPONSES. ANCHOR “OTHER”, “I DON’T KNOW”,
         AND “PREFER NOT TO ANSWER” LAST.]
         White or Caucasian
         Hispanic or Latino
         Black or African American
         Native American or American Indian
         Asian or Pacific Islander
         Other
         I don’t know [EXCLUSIVE]
         Prefer not to answer [EXCLUSIVE]

  [IF “BLACK OR AFRICAN AMERICAN”, CONTINUE. OTHERWISE, TERMINATE AND
  SKIP TO Q.100.]


  E.     Which, if any, of the following items have you purchased in the past 5 years? (SELECT ALL
         THAT APPLY)

         [RANDOMIZE ORDER OF RESPONSES. ANCHOR “NONE OF THESE” AND “I
         DON’T KNOW” LAST.]
         Nail care products (like hardener and polish)
         Hair care products (like shampoo, hair care kits, and conditioner)
         Foot care products (like creams and orthotics)
         Skin care products (like lotions and cleansers)
         First aid kit
         Vitamins (like multi-vitamins, Vitamin A, or Vitamin C)
         None of these [EXCLUSIVE]
         I don’t know [EXCLUSIVE]

  [IF “HAIR CARE PRODUCTS” SELECTED, CONTINUE. OTHERWISE, TERMINATE AND
  SKIP TO Q.100.]




  Exhibit 2 – Hibbard Expert Report                                                           Page 2
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  F.     Which, if any, of the following hair care products have you purchased in the past 5 years?
         (SELECT ALL THAT APPLY)

         [RANDOMIZE ORDER OF RESPONSES. ANCHOR “NONE OF THESE” AND “I
         DON’T KNOW” LAST.]
         Hair color kit
         Hair extensions
         Hair relaxer kit
         Shampoo
         None of these [EXCLUSIVE]
         I don’t know [EXCLUSIVE]

  [IF “HAIR RELAXER KIT” SELECTED, CONTINUE. OTHERWISE, TERMINATE AND SKIP
  TO Q.100.]


  G.     A hair relaxer kit contains lotions or creams that relax or straighten naturally curly or kinky hair.
         Which, if any, of the following types of hair relaxer kits have you purchased in the past 5 years?
         (SELECT ALL THAT APPLY)

         [RANDOMIZE ORDER OF RESPONSES. ANCHOR “NONE OF THESE” AND “I
         DON’T KNOW” LAST.]
         No-lye hair relaxer kit (described on the package as “no-lye”)
         Conditioning hair relaxer kit (described on the package as “conditioning”)
         Children’s hair relaxer kit (described on the package as for children)
         None of these [EXCLUSIVE]
         I don’t know [EXCLUSIVE]

  [IF “NO-LYE HAIR RELAXER KIT (DESCRIBED ON THE PACKAGE AS ‘NO-LYE’)” IS
  SELECTED, CONTINUE. OTHERWISE, TERMINATE AND SKIP TO Q.100.]


  H.     Do you, or does anyone in your household, work in any of the following types of businesses?
         (SELECT ONE RESPONSE FOR EACH TYPE OF BUSINESS)

         RESPONSES
         [RANDOMIZE. ANCHOR “I DON’T KNOW” LAST.]
         Yes
         No
         I don’t know

         TYPE OF BUSINESS
         [RANDOMIZE ORDER OF TYPES BUSINESSES.]
         Marketing research
         Advertising or public relations
         Manufacturer, distributor, or retailer of hair care products
         Hair salon or hair stylist

  [IF “NO” TO ALL, CONTINUE. OTHERWISE, TERMINATE AND SKIP TO Q.100.]




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  I.     In the past 30 days, how many surveys have you participated in regarding hair care products?
         (SELECT ONE RESPONSE)

         [REVERSE ORDER OF RESPONSES. ANCHOR “I DON’T KNOW” LAST.]
         None
         1 or 2
         3 or more
         I don’t know

  [IF “NONE”, CONTINUE. OTHERWISE, TERMINATE AND SKIP TO Q.100.]


  J.     Do you usually wear eyeglasses or contact lenses when you use an electronic device like the one
         you are using now? (SELECT ONE RESPONSE)

         [MATCH ORDER OF RESPONSES TO Q.H.]
         Yes, I do usually wear eyeglasses or contact lenses when I use this type of device
         No, I do not usually wear eyeglasses or contact lenses when I use this type of device.

  [IF “YES”, CONTINUE. OTHERWISE, SKIP TO MAIN QUESTIONNAIRE.]


  K.     Are you wearing your eyeglasses or contact lenses right now? (SELECT ONE RESPONSE)

         [MATCH ORDER OF RESPONSES TO Q.H.]
         Yes, I am wearing my eyeglasses or contact lenses right now
         No, I am not wearing my eyeglasses or contact lenses right now

  [IF “NO”, CONTINUE. OTHERWISE, SKIP TO MAIN QUESTIONNAIRE.]


  L.     Please put on your eyeglasses or contact lenses to complete the remainder of the survey. After
         you have put on your eyeglasses or contact lenses, please select the appropriate option below.
         (SELECT ONE RESPONSE)

         [MATCH ORDER OF RESPONSES TO Q.H.]
         Yes, I am wearing my eyeglasses or contact lenses
         No, I am not wearing my eyeglasses or contact lenses

  [IF “I AM”, CONTINUE. OTHERWISE, TERMINATE AND SKIP TO Q.100.]




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                                             Main Questionnaire

  The remaining questions in this survey ask about no-lye hair relaxer kits. Hair relaxer kits contain lotions
  or creams that relax or straighten naturally curly or kinky hair. No-lye hair relaxer kits are described on
  the package as “no-lye.”

  As before, please do not guess, and please do not consult any other sources while you take this survey. If
  you do not know the answer to a question or do not have an opinion, please indicate that you do not
  know.


  1.      How many times have you ever purchased a no-lye hair relaxer kit? As a reminder, a no-lye hair
          relaxer kit contains lotions or creams that relax or straighten naturally curly or kinky hair.
          (SELECT ONE RESPONSE)

          [REVERSE ORDER OF RESPONSES. ANCHOR “I DON’T KNOW” LAST.]
          Never
          1 to 2 times
          3 to 5 times
          6 to 10 times
          More than 10 times
          I don’t know

  [IF “NEVER”, TERMINATE AND SKIP TO Q.100. OTHERWISE, CONTINUE.]


  2.      How often do you typically purchase no-lye hair relaxer kits? (SELECT ONE RESPONSE)

          [REVERSE ORDER OF RESPONSES TO MATCH Q1. ANCHOR “I DON’T KNOW”
          LAST.]
          Less often than once per year
          Once per year
          2 to 3 times per year
          Once every 2 to 3 months
          About once per month
          More often than once per month
          I don’t know




  Exhibit 2 – Hibbard Expert Report                                                                    Page 5
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  3.     Please answer this question thinking about no-lye hair relaxer kits.

         Some, all, or none of the statements below may describe your beliefs about no-lye hair relaxers.
         For each statement, please select one response to indicate whether the statement [ROTATE TO
         MATCH Q.H: does or does not] describe your beliefs about no-lye hair relaxers, or you don’t
         know. (SELECT ONE RESPONSE FOR EACH STATEMENT)

         RESPONSES
         [MATCH ORDER OF RESPONSES TO Q.H. ANCHOR “I DON’T KNOW” LAST.]
         Yes, this does describe my beliefs about no-lye hair relaxers
         No, this does not describe my beliefs about no-lye hair relaxers
         I don’t know

         STATEMENTS
         [RANDOMIZE ORDER OF STATEMENTS.]
         No-lye hair relaxers use strong chemicals to straighten hair.
         No-lye hair relaxers may cause hair to fall out.
         No-lye hair relaxers may irritate the scalp.
         No-lye hair relaxers may damage hair or skin.
         No-lye hair relaxers come in a package that has safety warnings.
         No-lye hair relaxers should be put on hair after applying scalp protector.
         No-lye hair relaxers should be applied to hair while wearing gloves.
         No-lye hair relaxers should be applied to hair after conducting a strand test.
         No-lye hair relaxers provide results that vary depending on hair type.
         No-lye hair relaxers come with conditioner.
         No-lye hair relaxers come with moisturizer.
         No-lye hair relaxers are recommended by people I trust.
         No-lye hair relaxers come with silver earrings.
         No-lye hair relaxers should be applied only while driving.




  Exhibit 2 – Hibbard Expert Report                                                                 Page 6
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  4.     Which, if any, of the following have you ever experienced as a result of using a no-lye hair
         relaxer? For each, please select one response to indicate [ROTATE TO MATCH Q.H: yes, you
         have experienced this; no, you have not experienced this;] or you don’t know. (SELECT ONE
         RESPONSE FOR EACH)

         RESPONSES
         [RANDOMIZE ORDER OF RESPONSES. ANCHOR “I DON’T KNOW” LAST.]
         Yes, I have experienced this as a result of using a no-lye hair relaxer
         No, I have not experienced this as a result of using a no-lye hair relaxer
         I don’t know

         ITEMS
         [RANDOMIZE ORDER OF ITEMS.]
         Scalp burning
         Hair breakage
         Hair loss
         Darcy disease


  5.     Below is a list of items sometimes used for hair care. Please select the items, if any, that you
         typically use on or in your hair at least once every 3 months. (SELECT ALL THAT APPLY)

         [RANDOMIZE ORDER OF ITEMS. ANCHOR “NONE OF THESE” AND “I DON’T
         KNOW” LAST.]
         Hair coloring or hair dye
         Hair bleach or lightener
         Hair highlights
         Hair braids or extensions
         Shampoo
         Conditioner
         Hair brush or comb
         Hair dryer
         Hot comb
         Flat iron
         Curling iron
         None of these [EXCLUSIVE]
         I don’t know [EXCLUSIVE]




  Exhibit 2 – Hibbard Expert Report                                                                 Page 7
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  6.     Please read the statement that follows and click either “I agree” or “I disagree.” If any portion of
         the statement is not true, please click “I disagree.”

         STATEMENT
         I am the person who was invited to participate in this survey. I completed this survey myself,
         without assistance or advice from any other person or source, and in accordance with the
         instructions provided in the survey. The answers I have given are truthful expressions of my
         situation and opinions.

                                   I agree                              I disagree

         Your response to the above statement will not affect your rewards for completing the survey.

  [IF “I DISAGREE” IS SELECTED, COUNT RESPONDENT AS TERMINATED. DO NOT
  COUNT AS A COMPLETED INTERVIEW AND DO NOT COUNT TOWARD QUOTAS.
  REGARDLESS OF ANSWER, CONTINUE TO NEXT SCREEN AND REWARD RESPONDENT
  FOR COMPLETION. DO NOT SHOW Q.100.]


  7.     Thank you for completing our survey.


  [SHOW Q.100 ONLY IF TERMINATED.]
  Q.100 Thank you for your interest in this survey. However, we are looking for individuals with specific
        qualifications.




  Exhibit 2 – Hibbard Expert Report                                                                    Page 8
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                                   Exhibit 3:
                    Quality Control and Validation Measures
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                               Quality Control and Validation Measures



             Survey administration included a number of quality control and validation measures,

  which are described below.

        i.      The survey was pre-tested. Before starting the full survey, a small number of surveys

                was conducted online and the data were examined to ensure that the data were being

                recorded and coded properly, that the survey skip patterns were being followed

                accurately, and that responses demonstrated an understanding of the questions.

       ii.      The research was conducted in a double-blind manner, in which neither respondents

                nor the interviewing service were aware of key aspects of the survey, such as the

                survey’s purpose or sponsor. Email invitations did not provide any information

                indicating the purpose or sponsor of the survey.

      iii.      Certain questions and responses were rotated to reduce the possibility of order bias,

                which may occur if respondents are more likely to select a response in a particular

                position, such as first or last listed response. For example, the order of responses in

                questions B, D, E, F, G, H, I, J, K, L, 1, 2, 3, 4, and 5 was rotated or randomized.

                Each respondent saw responses to those questions in essentially random order, with “I

                don’t know” presented last.

       iv.      During qualification, qualifying responses were hidden among other, non-qualifying

                responses. This disguised the true purpose of the survey and which questions qualify

                respondents for the survey.

       v.       Respondents were instructed not to guess, and survey questions included “I don’t

                know” options to discourage respondents from selecting other responses that may not

                accurately represent their opinions.




  Exhibit 3 – Hibbard Expert Report                                                                Page 1
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          In surveys that involve live (in-person) interviewers, it is common procedure to validate a

  percentage of the interviews, confirming key elements such as whether the interviews actually

  took place and whether the respondent qualified.1 Validation may help to notify interviewers

  that their work is being checked and to verify the honesty and accuracy of the interviewers, such

  as identifying interviewers who may have fabricated the answers instead of following

  instructions.2 In other words, the validation checks the interviewer, as opposed to checking the

  interview.

          My survey did not use live interviewers, so the need for validation is greatly diminished.

  However, I validated the interviews by matching respondents’ survey answers to the

  respondents’ information on file with the sample provider for age, gender, and state. By

  comparing these sets of data, I was able to confirm that respondents were qualified. All

  respondents in the final database were validated in this manner.3




  1
    J. Thomas McCarthy, McCarthy on Trademarks and Unfair Competition, Fourth Edition, Updated
  March, 2009, 32:170.
  2
    U.S. District Court, S.D. New York. Paco Sport, Ltd., v. Paco Rabanne Parfums. No. 96 Civ.
  1408(JES). Feb. 17, 2000.
  3
    Respondents were dropped from the final database if their survey responses did not match the pre-
  existing information on file for at least two of three demographic questions: state (Question A), gender
  (Question B), and age (Question C).


  Exhibit 3 – Hibbard Expert Report                                                                   Page 2
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                                  Exhibit 4:
                      Termination and Removal Summary
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                                Termination and Removal Summary


   Reason for Termination or Removal                                                 Counts
   Q.A        State                                                                       1

   Q.B        Gender                                                                     84

   Q.C        Age                                                                        30

   Q.D        Race or ethnicity                                                          77

   Q.E        Items purchased in past 5 years                                           163

   Q.F        Hair care products purchased in past 5 years                              859

   Q.G        Type of hair relaxer kit purchased in past 5 years                         89

   Q.H        Type of business work in                                                   77

   Q.I        Participation in survey regarding hair care products in past 30 days       54

   Q.L        Not wearing glasses or contact lenses if needed                             1

   Q.1        Number of times ever purchased no-lye hair relaxer kit                      0

   Respondents removed for validation                                                     6

   Total number of respondents terminated or removed                                  1,441




  Exhibit 4 – Hibbard Expert Report                                                    Page 1
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                                   Exhibit 5:
                            Cross Tabulation Tables
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                                  Cross Tabulation Tables

Q.A In what state do you live?
Region

Base: All Respondents




                                                                       All Respondents
                                                                Counts           Percentages
Sample size                                                      379               100.0%


South                                                            206                54.3%
Midwest                                                           69                18.2%
Northeast                                                         64                16.9%
West                                                              40                10.6%




Exhibit 5 - Hibbard Expert Report                                                           Page 1
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                                  Cross Tabulation Tables

Q.B What is your gender?

Base: All Respondents




                                                                      All Respondents
                                                                Counts          Percentages
Sample size                                                      379              100.0%


Female                                                           379              100.0%
Male                                                              0                0.0%
Prefer not to answer                                              0                0.0%




Exhibit 5 - Hibbard Expert Report                                                          Page 2
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Q.C What is your age?

Base: All Respondents




                                                                      All Respondents
                                                                Counts          Percentages
Sample size                                                      379              100.0%


17 years old or younger                                           0                0.0%
18 to 34 years old                                               135               35.6%
35 to 54 years old                                               144               38.0%
55 years old or older                                            100               26.4%
Prefer not to answer                                              0                0.0%




Exhibit 5 - Hibbard Expert Report                                                          Page 3
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                                  Cross Tabulation Tables

Q.D Please specify your race or ethnicity.

Base: All Respondents




                                                                      All Respondents
                                                                Counts          Percentages
Sample size                                                      379              100.0%


Black or African American                                        379              100.0%
White or Caucasian                                                9                2.4%
Hispanic or Latino                                                6                1.6%
Native American or American Indian                                6                1.6%
Asian or Pacific Islander                                         4                1.1%
Other                                                             1                0.3%
I don’t know                                                      0                0.0%
Prefer not to answer                                              0                0.0%




Exhibit 5 - Hibbard Expert Report                                                          Page 4
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Q.E Which, if any, of the following items have you purchased in the past 5 years?

Base: All Respondents




                                                                                          All Respondents
                                                                                    Counts          Percentages
Sample size                                                                          379              100.0%


Hair care products (like shampoo, hair care kits, and conditioner)                   379              100.0%
Skin care products (like lotions and cleansers)                                      361               95.3%
Nail care products (like hardener and polish)                                        303               79.9%
Vitamins (like multi-vitamins, Vitamin A, or Vitamin C)                              289               76.3%
Foot care products (like creams and orthotics)                                       193               50.9%
First aid kit                                                                        156               41.2%
None of these                                                                         0                0.0%
I don’t know                                                                          0                0.0%




Exhibit 5 - Hibbard Expert Report                                                                              Page 5
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                                  Cross Tabulation Tables

Q.F Which, if any, of the following hair care products have you purchased in the past 5 years?

Base: All Respondents




                                                                                         All Respondents
                                                                                  Counts           Percentages
Sample size                                                                         379              100.0%


Hair relaxer kit                                                                    379              100.0%
Shampoo                                                                             364               96.0%
Hair color kit                                                                      224               59.1%
Hair extensions                                                                     205               54.1%
None of these                                                                        0                0.0%
I don’t know                                                                         0                0.0%




Exhibit 5 - Hibbard Expert Report                                                                             Page 6
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                                  Cross Tabulation Tables

Q.G A hair relaxer kit contains lotions or creams that relax or straighten naturally curly or kinky hair. Which, if
any, of the following types of hair relaxer kits have you purchased in the past 5 years?

Base: All Respondents




                                                                                           All Respondents
                                                                                   Counts            Percentages
Sample size                                                                          379               100.0%


No-lye hair relaxer kit (described on the package as “no-lye”)                       379               100.0%
Conditioning hair relaxer kit (described on the package as “conditioning”)           169                44.6%
Children’s hair relaxer kit (described on the package as for children)                71                18.7%
None of these                                                                         0                 0.0%
I don’t know                                                                          0                 0.0%




Exhibit 5 - Hibbard Expert Report                                                                               Page 7
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Q.H Do you, or does anyone in your household, work in any of the following types of businesses?
Summary of "No" responses

Base: All Respondents




                                                                                     All Respondents
                                                                                 Counts           Percentages
Sample size                                                                        379              100.0%


Marketing research                                                                 379              100.0%
Advertising or public relations                                                    379              100.0%
Manufacturer, distributor, or retailer of hair care products                       379              100.0%
Hair salon or hair stylist                                                         379              100.0%




Exhibit 5 - Hibbard Expert Report                                                                            Page 8
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                                  Cross Tabulation Tables

Q.I In the past 30 days, how many surveys have you participated in regarding hair care products?

Base: All Respondents




                                                                                       All Respondents
                                                                                Counts             Percentages
Sample size                                                                       379                100.0%


None                                                                              379                100.0%
1 or 2                                                                             0                  0.0%
3 or more                                                                          0                  0.0%
I don’t know                                                                       0                  0.0%




Exhibit 5 - Hibbard Expert Report                                                                             Page 9
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Q.J Do you usually wear eyeglasses or contact lenses when you use an electronic device like the one you are using
now?

Base: All Respondents




                                                                                       All Respondents
                                                                                  Counts          Percentages
Sample size                                                                         379              100.0%

Yes, I do usually wear eyeglasses or contact lenses when I use this type of
                                                                                    217               57.3%
device
No, I do not usually wear eyeglasses or contact lenses when I use this type of
                                                                                    162               42.7%
device




Exhibit 5 - Hibbard Expert Report                                                                             Page 10
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Q.K Are you wearing your eyeglasses or contact lenses right now?

Base: All Respondents




                                                                          All Respondents
                                                                   Counts           Percentages
Sample size                                                         379               100.0%


Yes, I am wearing my eyeglasses or contact lenses right now         195                51.5%
No, I am not wearing my eyeglasses or contact lenses right now       22                5.8%
Not asked                                                           162                42.7%




Exhibit 5 - Hibbard Expert Report                                                              Page 11
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Q.L Please put on your eyeglasses or contact lenses to complete the remainder of the survey. After you have put
on your eyeglasses or contact lenses, please select the appropriate option below.

Base: All Respondents




                                                                                         All Respondents
                                                                                 Counts            Percentages
Sample size                                                                        379               100.0%


Yes, I am wearing my eyeglasses or contact lenses                                   22                5.8%
No, I am not wearing my eyeglasses or contact lenses                                0                 0.0%
Not asked                                                                          357                94.2%




Exhibit 5 - Hibbard Expert Report                                                                             Page 12
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Q.1 How many times have you ever purchased a no-lye hair relaxer kit? As a reminder, a no-lye hair relaxer kit
contains lotions or creams that relax or straighten naturally curly or kinky hair.

Base: All Respondents




                                                                                        All Respondents
                                                                                Counts            Percentages
Sample size                                                                       379               100.0%


More than 10 times                                                                268                70.7%
6 to 10 times                                                                      51                13.5%
3 to 5 times                                                                       38                10.0%
1 to 2 times                                                                       18                4.7%
Never                                                                              0                 0.0%
I don’t know                                                                       4                 1.1%




Exhibit 5 - Hibbard Expert Report                                                                            Page 13
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                                  Cross Tabulation Tables

Q.2 How often do you typically purchase no-lye hair relaxer kits?

Base: All Respondents




                                                                           All Respondents
                                                                    Counts           Percentages
Sample size                                                          379               100.0%


More often than once per month                                        5                 1.3%
About once per month                                                  71                18.7%
Once every 2 to 3 months                                             136                35.9%
2 to 3 times per year                                                 99                26.1%
Once per year                                                         32                8.4%
Less often than once per year                                         32                8.5%
I don’t know                                                          4                 1.1%




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Q.3 Please answer this question thinking about no-lye hair relaxer kits.

Some, all, or none of the statements below may describe your beliefs about no-lye hair relaxers. For each
statement, please select one response to indicate whether the statement does or does not describe your beliefs
about no-lye hair relaxers, or you don’t know.

Base: All Respondents
                                                                                           All Respondents
                                                                                   Counts            Percentages
Sample size                                                                          379               100.0%


No-lye hair relaxers use strong chemicals to straighten hair.
 Yes, this does describe my beliefs about no-lye hair relaxers                       274                72.3%
 No, this does not describe my beliefs about no-lye hair relaxers                     88                23.2%
 I don’t know                                                                         17                4.5%

No-lye hair relaxers may cause hair to fall out.
 Yes, this does describe my beliefs about no-lye hair relaxers                       251                66.2%
 No, this does not describe my beliefs about no-lye hair relaxers                     96                25.3%
 I don’t know                                                                         32                8.5%

No-lye hair relaxers may irritate the scalp.
 Yes, this does describe my beliefs about no-lye hair relaxers                       315                83.1%
 No, this does not describe my beliefs about no-lye hair relaxers                     53                14.0%
 I don’t know                                                                         11                2.9%

No-lye hair relaxers may damage hair or skin.
 Yes, this does describe my beliefs about no-lye hair relaxers                       304                80.2%
 No, this does not describe my beliefs about no-lye hair relaxers                     64                16.9%
 I don’t know                                                                         11                2.9%

No-lye hair relaxers come in a package that has safety warnings.
 Yes, this does describe my beliefs about no-lye hair relaxers                       359                94.7%
 No, this does not describe my beliefs about no-lye hair relaxers                     10                2.7%
 I don’t know                                                                         10                2.6%




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Q.3 Please answer this question thinking about no-lye hair relaxer kits.

Some, all, or none of the statements below may describe your beliefs about no-lye hair relaxers. For each
statement, please select one response to indicate whether the statement does or does not describe your beliefs
about no-lye hair relaxers, or you don’t know.

Base: All Respondents
                                                                                           All Respondents
                                                                                   Counts            Percentages
Sample size                                                                          379               100.0%


No-lye hair relaxers should be put on hair after applying scalp protector.
 Yes, this does describe my beliefs about no-lye hair relaxers                       334                88.1%
 No, this does not describe my beliefs about no-lye hair relaxers                     33                8.7%
 I don’t know                                                                         12                3.2%

No-lye hair relaxers should be applied to hair while wearing gloves.
 Yes, this does describe my beliefs about no-lye hair relaxers                       366                96.6%
 No, this does not describe my beliefs about no-lye hair relaxers                     12                3.2%
 I don’t know                                                                         1                 0.2%

No-lye hair relaxers should be applied to hair after conducting a strand test.
 Yes, this does describe my beliefs about no-lye hair relaxers                       329                86.8%
 No, this does not describe my beliefs about no-lye hair relaxers                     36                9.5%
 I don’t know                                                                         14                3.7%

No-lye hair relaxers provide results that vary depending on hair type.
 Yes, this does describe my beliefs about no-lye hair relaxers                       355                93.7%
 No, this does not describe my beliefs about no-lye hair relaxers                     18                4.7%
 I don’t know                                                                         6                 1.6%

No-lye hair relaxers come with conditioner.
 Yes, this does describe my beliefs about no-lye hair relaxers                       344                90.7%
 No, this does not describe my beliefs about no-lye hair relaxers                     23                6.1%
 I don’t know                                                                         12                3.2%




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Q.3 Please answer this question thinking about no-lye hair relaxer kits.

Some, all, or none of the statements below may describe your beliefs about no-lye hair relaxers. For each
statement, please select one response to indicate whether the statement does or does not describe your beliefs
about no-lye hair relaxers, or you don’t know.

Base: All Respondents
                                                                                           All Respondents
                                                                                   Counts            Percentages
Sample size                                                                          379               100.0%


No-lye hair relaxers come with moisturizer.
 Yes, this does describe my beliefs about no-lye hair relaxers                       307                81.0%
 No, this does not describe my beliefs about no-lye hair relaxers                     53                14.0%
 I don’t know                                                                         19                5.0%

No-lye hair relaxers are recommended by people I trust.
 Yes, this does describe my beliefs about no-lye hair relaxers                       265                69.9%
 No, this does not describe my beliefs about no-lye hair relaxers                     68                18.0%
 I don’t know                                                                         46                12.1%

No-lye hair relaxers come with silver earrings.
 Yes, this does describe my beliefs about no-lye hair relaxers                        12                3.2%
 No, this does not describe my beliefs about no-lye hair relaxers                    358                94.4%
 I don’t know                                                                         9                 2.4%

No-lye hair relaxers should be applied only while driving.
 Yes, this does describe my beliefs about no-lye hair relaxers                        8                 2.1%
 No, this does not describe my beliefs about no-lye hair relaxers                    370                97.6%
 I don’t know                                                                         1                 0.3%




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Q.4 Which, if any, of the following have you ever experienced as a result of using a no-lye hair relaxer? For each,
please select one response to indicate yes, you have experienced this; no, you have not experienced this; or you
don’t know.

Base: All Respondents


                                                                                           All Respondents
                                                                                   Counts            Percentages
Sample size                                                                          379               100.0%


Scalp burning
 Yes, I have experienced this as a result of using a no-lye hair relaxer             294                77.6%
 No, I have not experienced this as a result of using a no-lye hair relaxer           83                21.9%
 I don’t know                                                                         2                 0.5%

Hair breakage
 Yes, I have experienced this as a result of using a no-lye hair relaxer             204                53.8%
 No, I have not experienced this as a result of using a no-lye hair relaxer          167                44.1%
 I don’t know                                                                         8                 2.1%

Hair loss
 Yes, I have experienced this as a result of using a no-lye hair relaxer             123                32.4%
 No, I have not experienced this as a result of using a no-lye hair relaxer          247                65.2%
 I don’t know                                                                         9                 2.4%

Darcy disease
 Yes, I have experienced this as a result of using a no-lye hair relaxer              1                 0.3%
 No, I have not experienced this as a result of using a no-lye hair relaxer          329                86.8%
 I don’t know                                                                         49                12.9%




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Q.5 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on
or in your hair at least once every 3 months.

Base: All Respondents




                                                                                             All Respondents
                                                                                      Counts           Percentages
Sample size                                                                            379               100.0%


Shampoo                                                                                357                94.2%
Conditioner                                                                            352                92.9%
Hair brush or comb                                                                     327                86.3%
Hair dryer                                                                             269                71.0%
Flat iron                                                                              239                63.1%
Curling iron                                                                           175                46.2%
Hair coloring or hair dye                                                              153                40.4%
Hair braids or extensions                                                              153                40.4%
Hot comb                                                                                70                18.5%
Hair highlights                                                                         41                10.8%
Hair bleach or lightener                                                                19                5.0%
None of these                                                                            2                0.5%
I don’t know                                                                             0                0.0%




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                                   Exhibit 6:
                      All Responses From All Respondents
                             Survey Data File
                             Survey Data Map
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                                                                  Data File

 responseid     interview_end       qa   hidqregion   qb   qc    qd_1    qd_2    qd_3    qd_4       qd_5    qd_6   qd_7
     10        10/20/2017 3:52      MS       3         2   2      0       0       1       0          0       0      0
     11        10/20/2017 3:56      GA       3         2   4      0       0       1       0          0       0      0
     15        10/20/2017 4:08      GA       3         2   2      0       0       1       0          0       0      0
     23        10/20/2017 4:19      VA       3         2   2      0       0       1       0          0       0      0
     27        10/20/2017 4:24      NY       1         2   2      0       0       1       0          0       0      0
     28        10/20/2017 4:26      NY       1         2   3      0       0       1       0          0       0      0
     30        10/20/2017 4:33      CA       4         2   3      0       0       1       0          0       0      0
     32        10/20/2017 4:36      CT       1         2   2      1       0       1       0          0       0      0
     33        10/20/2017 4:43      GA       3         2   4      0       0       1       0          0       0      0
     38        10/20/2017 5:21      MS       3         2   2      0       0       1       0          0       0      0
     42        10/20/2017 5:34      AL       3         2   2      0       0       1       0          0       0      0
     43        10/20/2017 5:34      GA       3         2   2      0       0       1       0          0       0      0
     46        10/20/2017 5:54      CA       4         2   3      0       0       1       0          0       0      0
     47        10/20/2017 5:44      NC       3         2   2      0       0       1       0          0       0      0
     50        10/20/2017 5:47      MI       2         2   3      0       0       1       0          0       0      0
     56        10/20/2017 6:15      NJ       1         2   2      0       0       1       0          0       0      0
     75        10/20/2017 6:34      GA       3         2   2      0       0       1       0          0       0      0
     76        10/20/2017 6:34      KY       3         2   2      0       0       1       0          0       0      0
     80        10/20/2017 6:42      MI       2         2   2      0       0       1       0          0       0      0
     86        10/20/2017 7:06      IL       2         2   2      0       0       1       0          0       0      0
     90        10/20/2017 7:13      VA       3         2   2      0       0       1       0          0       0      0
     91        10/20/2017 7:16      FL       3         2   2      0       0       1       0          0       0      0
     93        10/20/2017 7:20      PA       1         2   2      0       0       1       0          0       0      0
    100        10/20/2017 7:47      AL       3         2   3      0       0       1       0          0       0      0
    103        10/20/2017 7:47      NY       1         2   3      0       0       1       0          0       0      0
    104        10/20/2017 7:49      GA       3         2   3      0       0       1       0          0       0      0
    105        10/20/2017 7:50      NC       3         2   3      0       0       1       0          0       0      0
    108        10/20/2017 7:51      NY       1         2   3      0       0       1       0          0       0      0
    111        10/20/2017 8:13      NJ       1         2   4      0       0       1       0          0       0      0
    117        10/20/2017 8:53      LA       3         2   2      0       0       1       0          0       0      0
    118        10/20/2017 9:01      FL       3         2   4      0       0       1       0          0       0      0
    120        10/20/2017 8:53      TX       3         2   3      0       0       1       0          0       0      0
    122        10/20/2017 8:55      OH       2         2   4      0       0       1       0          0       0      0
    123        10/20/2017 8:56      PA       1         2   2      0       0       1       0          0       0      0
    130        10/20/2017 9:58      MO       2         2   2      0       0       1       0          0       0      0
    131        10/20/2017 9:58      FL       3         2   2      0       0       1       0          0       1      0
    139       10/20/2017 10:20      FL       3         2   3      0       0       1       0          0       0      0
    162       10/20/2017 10:50      CA       4         2   2      1       0       1       0          1       0      0
    168       10/20/2017 11:02      NC       3         2   2      0       0       1       0          0       0      0
    174       10/20/2017 11:07      PA       1         2   3      0       0       1       0          1       0      0


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                                                                  Data File

 responseid     qd_8        qe_1    qe_2   qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1     qf_2    qf_3   qf_4
     10          0           1       1      0       1       1       0       0       0       1        1       1      1
     11          0           1       1      1       1       1       1       0       0       1        0       1      1
     15          0           1       1      1       1       1       1       0       0       1        1       1      1
     23          0           1       1      1       1       1       1       0       0       0        1       1      1
     27          0           0       1      0       0       0       1       0       0       1        1       1      1
     28          0           1       1      0       1       0       1       0       0       0        0       1      1
     30          0           1       1      1       1       1       1       0       0       1        1       1      1
     32          0           0       1      1       1       1       1       0       0       0        0       1      1
     33          0           1       1      1       1       1       1       0       0       1        1       1      1
     38          0           1       1      0       1       1       0       0       0       1        1       1      1
     42          0           1       1      1       1       1       1       0       0       1        1       1      1
     43          0           1       1      0       0       1       1       0       0       1        0       1      1
     46          0           1       1      0       1       0       1       0       0       1        0       1      1
     47          0           1       1      0       1       1       1       0       0       1        0       1      1
     50          0           1       1      1       1       1       1       0       0       1        1       1      1
     56          0           1       1      1       1       1       1       0       0       0        1       1      1
     75          0           0       1      0       1       0       0       0       0       1        0       1      0
     76          0           1       1      0       1       0       1       0       0       1        1       1      1
     80          0           0       1      0       1       0       1       0       0       0        0       1      1
     86          0           1       1      0       1       1       1       0       0       1        0       1      1
     90          0           1       1      1       1       0       0       0       0       1        1       1      1
     91          0           1       1      0       1       1       0       0       0       1        0       1      1
     93          0           1       1      0       1       1       1       0       0       1        1       1      1
    100          0           1       1      1       1       1       1       0       0       1        0       1      1
    103          0           1       1      1       1       1       1       0       0       1        1       1      1
    104          0           1       1      1       1       0       1       0       0       1        0       1      1
    105          0           1       1      0       1       0       1       0       0       1        1       1      1
    108          0           0       1      0       1       0       1       0       0       0        1       1      1
    111          0           0       1      1       1       0       1       0       0       0        0       1      1
    117          0           1       1      1       1       0       1       0       0       1        0       1      1
    118          0           1       1      1       1       0       1       0       0       1        0       1      1
    120          0           1       1      0       1       1       1       0       0       0        1       1      1
    122          0           1       1      1       1       1       1       0       0       1        0       1      1
    123          0           1       1      1       1       0       0       0       0       0        0       1      1
    130          0           1       1      0       1       0       1       0       0       1        1       1      1
    131          0           1       1      0       1       1       1       0       0       1        1       1      1
    139          0           1       1      1       1       1       1       0       0       1        1       1      1
    162          0           1       1      1       1       1       1       0       0       0        1       1      1
    168          0           1       1      0       1       0       0       0       0       1        1       1      1
    174          0           0       1      0       1       0       0       0       0       0        0       1      1


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                                                          Survey4250
                                                                  Data File

 responseid     qf_5        qf_6    qg_1   qg_2    qg_3    qg_4    qg_5    qh_1    qh_2    qh_3     qh_4        qi   qj
     10          0           0       1      0       1       0       0       2       2       2        2          1    2
     11          0           0       1      1       0       0       0       2       2       2        2          1    1
     15          0           0       1      1       0       0       0       2       2       2        2          1    2
     23          0           0       1      1       1       0       0       2       2       2        2          1    2
     27          0           0       1      0       1       0       0       2       2       2        2          1    2
     28          0           0       1      0       0       0       0       2       2       2        2          1    2
     30          0           0       1      0       0       0       0       2       2       2        2          1    2
     32          0           0       1      1       0       0       0       2       2       2        2          1    2
     33          0           0       1      0       0       0       0       2       2       2        2          1    2
     38          0           0       1      1       0       0       0       2       2       2        2          1    1
     42          0           0       1      1       0       0       0       2       2       2        2          1    2
     43          0           0       1      1       1       0       0       2       2       2        2          1    1
     46          0           0       1      1       0       0       0       2       2       2        2          1    2
     47          0           0       1      1       0       0       0       2       2       2        2          1    2
     50          0           0       1      1       0       0       0       2       2       2        2          1    1
     56          0           0       1      1       0       0       0       2       2       2        2          1    1
     75          0           0       1      0       0       0       0       2       2       2        2          1    2
     76          0           0       1      1       0       0       0       2       2       2        2          1    2
     80          0           0       1      0       0       0       0       2       2       2        2          1    1
     86          0           0       1      0       0       0       0       2       2       2        2          1    1
     90          0           0       1      0       1       0       0       2       2       2        2          1    1
     91          0           0       1      1       1       0       0       2       2       2        2          1    2
     93          0           0       1      1       1       0       0       2       2       2        2          1    1
    100          0           0       1      0       0       0       0       2       2       2        2          1    2
    103          0           0       1      0       0       0       0       2       2       2        2          1    1
    104          0           0       1      1       0       0       0       2       2       2        2          1    2
    105          0           0       1      0       0       0       0       2       2       2        2          1    2
    108          0           0       1      1       0       0       0       2       2       2        2          1    2
    111          0           0       1      1       0       0       0       2       2       2        2          1    2
    117          0           0       1      1       0       0       0       2       2       2        2          1    2
    118          0           0       1      1       0       0       0       2       2       2        2          1    1
    120          0           0       1      1       0       0       0       2       2       2        2          1    2
    122          0           0       1      1       1       0       0       2       2       2        2          1    1
    123          0           0       1      1       0       0       0       2       2       2        2          1    2
    130          0           0       1      0       1       0       0       2       2       2        2          1    1
    131          0           0       1      1       0       0       0       2       2       2        2          1    2
    139          0           0       1      0       0       0       0       2       2       2        2          1    1
    162          0           0       1      0       0       0       0       2       2       2        2          1    1
    168          0           0       1      0       0       0       0       2       2       2        2          1    2
    174          0           0       1      1       0       0       0       2       2       2        2          1    1


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                                                          Survey4251
                                                                  Data File

 responseid      qk           ql    q1      q2     q3_1    q3_2    q3_3    q3_4    q3_5    q3_6     q3_7    q3_8   q3_9
     10                              4       4      1       1       1       1       1       2        1       1      1
     11           1                  5       4      2       1       1       1       1       1        1       1      1
     15                              3       4      1       2       1       1       1       1        1       1      1
     23                              5       4      1       1       1       1       1       1        1       1      1
     27                              5       4      1       1       1       1       1       1        1       1      1
     28                              5       3      1       1       1       1       1       1        1       1      1
     30                              5       3      2       1       1       1       1       1        1       1      1
     32                              3       2      1       1       1       1       1       1        1       1      1
     33                              5       4      1       1       1       1       1       1        1       1      1
     38           1                  5       5      1       2       1       1       1       1        1       1      1
     42                              5       5      1       3       1       1       1       1        1       1      1
     43           1                  3       5      1       1       2       2       1       2        2       2      1
     46                              5       2      2       3       1       1       1       1        1       1      1
     47                              5       4      1       2       1       1       1       1        1       1      1
     50           1                  3       3      3       1       1       2       1       2        1       1      1
     56           1                  5       4      1       1       1       1       1       1        1       1      1
     75                              4       4      1       1       3       1       1       1        1       1      1
     76                              5       3      1       1       1       1       1       1        1       1      2
     80           1                  5       3      1       1       1       1       1       1        1       1      1
     86           1                  5       4      1       1       1       1       1       1        1       3      1
     90           1                  4       5      2       3       1       2       1       3        1       3      3
     91                              3       4      1       1       1       1       1       1        1       1      1
     93           1                  4       4      1       1       1       1       1       1        1       1      2
    100                              5       1      2       3       1       1       1       1        1       1      1
    103           1                  5       1      1       1       1       2       1       1        1       1      1
    104                              5       5      2       1       1       1       1       1        1       1      1
    105                              5       4      1       1       1       1       1       1        1       1      1
    108                              5       5      1       1       1       1       1       1        1       1      1
    111                              5       5      1       2       1       2       1       1        1       1      1
    117                              5       5      1       1       1       1       1       2        1       1      1
    118           1                  5       4      2       2       1       1       1       1        1       1      1
    120                              5       5      1       2       1       1       1       1        1       1      1
    122           1                  5       4      2       1       1       1       1       1        1       1      1
    123                              4       5      1       2       2       2       1       1        1       1      1
    130           1                  5       5      1       1       1       1       1       1        1       1      1
    131                              5       1      1       1       1       1       1       1        1       1      1
    139           1                  5       4      1       1       1       1       1       1        1       1      1
    162           1                  4       3      1       1       1       1       1       1        1       2      1
    168                              5       3      1       1       1       1       1       1        1       1      1
    174           1                  5       4      3       3       1       3       1       1        1       1      1


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                           Case 2:16-cv-00508-TFM-B Document 159-10 Filed 12/08/18 Page 72 of 137   PageID #:
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                                                                  Data File

 responseid     q3_10      q3_11    q3_12   q3_13   q3_14   q4_1   q4_2    q4_3    q4_4    q5_1     q5_2    q5_3   q5_4
     10           1          1        1       2       2      1      2       2       2       0        0       0      1
     11           1          1        1       2       2      1      1       2       2       1        0       1      0
     15           1          1        1       2       2      1      2       2       2       1        0       0      1
     23           1          1        2       2       2      1      1       1       2       0        0       0      1
     27           1          1        2       2       2      1      1       1       2       0        0       0      1
     28           1          1        3       2       2      1      2       2       2       0        0       0      0
     30           1          2        1       2       2      1      1       1       2       1        0       0      0
     32           1          1        1       2       2      2      1       1       2       0        0       0      0
     33           1          1        1       2       2      1      1       1       2       1        0       0      1
     38           1          1        1       2       2      2      2       2       2       1        0       0      0
     42           3          1        1       2       2      1      1       2       2       1        0       0      1
     43           2          1        1       1       1      2      1       2       2       1        0       0      1
     46           1          1        1       2       2      1      1       2       2       0        0       0      0
     47           1          1        1       2       2      1      2       2       2       1        0       0      0
     50           1          3        1       2       2      2      1       1       2       1        0       0      0
     56           1          1        1       2       2      1      1       2       2       0        0       0      0
     75           1          1        1       3       2      1      2       2       2       0        0       0      0
     76           1          1        1       2       2      1      1       1       2       1        1       0      1
     80           1          1        1       2       2      1      3       2       2       0        0       0      0
     86           1          1        3       2       2      1      1       1       3       0        0       0      0
     90           1          2        1       1       1      1      1       1       3       1        0       1      1
     91           1          1        2       2       2      1      1       1       2       1        1       0      0
     93           1          1        1       2       2      1      1       1       2       1        0       0      1
    100           1          3        1       2       2      1      2       2       2       0        0       0      0
    103           1          1        1       2       2      1      1       1       2       1        0       1      0
    104           1          1        1       2       2      1      1       1       2       0        0       0      1
    105           1          1        1       2       2      1      1       3       2       1        0       0      1
    108           1          1        1       2       2      1      2       2       2       0        0       0      1
    111           1          1        2       2       2      1      1       1       3       0        0       0      0
    117           1          2        1       2       2      1      1       1       2       1        0       0      0
    118           1          1        3       2       2      1      3       3       2       1        0       0      0
    120           1          1        1       2       2      1      1       2       2       0        0       0      1
    122           1          1        1       3       2      2      2       2       2       1        0       1      0
    123           1          1        1       2       2      2      2       2       2       0        0       0      1
    130           1          2        1       3       2      1      1       2       2       1        0       0      1
    131           1          1        1       2       2      1      1       1       2       1        1       1      1
    139           1          1        1       2       2      1      1       2       2       1        0       0      1
    162           1          3        1       2       2      1      1       2       2       0        0       0      0
    168           1          1        2       2       2      1      2       2       2       0        0       0      1
    174           3          3        1       2       2      1      1       2       2       0        0       0      0


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                                                                  Data File

 responseid     q5_5        q5_6    q5_7   q5_8    q5_9    q5_10   q5_11   q5_12   q5_13    q6
     10          1           1       1      1       0        1       1       0       0       1
     11          1           1       1      1       1        1       1       0       0       1
     15          1           1       1      1       0        1       1       0       0       1
     23          1           1       1      1       1        0       1       0       0       1
     27          1           1       0      0       0        0       0       0       0       1
     28          1           1       1      1       0        0       0       0       0       1
     30          1           1       1      0       0        0       0       0       0       1
     32          1           1       1      0       0        1       0       0       0       1
     33          1           1       1      0       1        0       1       0       0       1
     38          1           1       1      1       1        1       1       0       0       1
     42          1           1       1      1       0        1       1       0       0       1
     43          0           0       0      0       1        0       1       0       0       1
     46          1           1       1      0       0        0       0       0       0       1
     47          1           1       1      1       0        1       1       0       0       1
     50          1           1       1      1       0        1       0       0       0       1
     56          1           1       1      1       0        1       1       0       0       1
     75          0           0       1      1       0        1       0       0       0       1
     76          1           1       1      1       1        1       1       0       0       1
     80          1           0       0      1       1        0       0       0       0       1
     86          0           1       1      0       0        1       0       0       0       1
     90          1           0       0      0       1        0       1       0       0       1
     91          0           1       0      0       0        0       0       0       0       1
     93          1           1       0      1       0        1       1       0       0       1
    100          1           0       1      0       0        0       0       0       0       1
    103          1           1       1      1       1        1       1       0       0       1
    104          1           1       1      1       0        1       1       0       0       1
    105          1           1       1      1       0        1       0       0       0       1
    108          1           1       1      1       0        1       0       0       0       1
    111          1           1       1      1       1        1       1       0       0       1
    117          1           1       0      0       0        0       0       0       0       1
    118          1           1       1      1       0        0       1       0       0       1
    120          1           1       1      1       0        1       0       0       0       1
    122          1           1       1      1       1        1       1       0       0       1
    123          1           1       1      1       0        1       1       0       0       1
    130          1           1       1      1       0        1       0       0       0       1
    131          1           1       1      1       0        1       1       0       0       1
    139          1           1       1      1       0        1       1       0       0       1
    162          1           1       1      1       0        0       0       0       0       1
    168          1           1       1      1       0        1       1       0       0       1
    174          1           1       1      1       0        1       0       0       0       1


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                                                                  Data File

 responseid     interview_end       qa   hidqregion   qb   qc    qd_1    qd_2    qd_3    qd_4       qd_5    qd_6   qd_7
    175       10/20/2017 11:09      NC       3         2   3      0       0       1       0          0       0      0
    183       10/20/2017 11:35      IL       2         2   4      0       0       1       0          0       0      0
    184       10/20/2017 11:25      TN       3         2   3      0       0       1       0          0       0      0
    195       10/20/2017 11:43      KS       2         2   3      0       0       1       0          0       0      0
    201       10/20/2017 11:47      CT       1         2   2      1       0       1       0          0       0      0
    204       10/20/2017 11:49      DE       3         2   3      0       0       1       0          0       0      0
    231       10/20/2017 12:04      TX       3         2   3      0       0       1       0          0       0      0
    233       10/20/2017 12:07      TX       3         2   2      0       0       1       0          0       0      0
    236       10/20/2017 12:05      NY       1         2   2      0       1       1       0          0       0      0
    242       10/20/2017 12:15      IL       2         2   4      0       0       1       0          0       0      0
    249       10/20/2017 12:20      FL       3         2   2      0       0       1       0          0       0      0
    256       10/20/2017 12:31      MD       3         2   3      0       0       1       0          0       0      0
    265       10/20/2017 12:34      PA       1         2   3      0       1       1       0          0       0      0
    274       10/20/2017 13:02      TX       3         2   3      0       0       1       0          0       0      0
    280       10/20/2017 12:56      IN       2         2   2      0       0       1       0          0       0      0
    286       10/20/2017 13:04      MS       3         2   3      0       0       1       0          0       0      0
    289       10/20/2017 13:14      CO       4         2   3      0       0       1       0          0       0      0
    294       10/20/2017 13:22      IN       2         2   4      0       0       1       0          0       0      0
    299       10/20/2017 15:36      NY       1         2   4      0       0       1       0          0       0      0
    306       10/20/2017 13:30      TX       3         2   4      0       0       1       0          0       0      0
    309       10/20/2017 13:30      SC       3         2   4      0       0       1       0          0       0      0
    310       10/20/2017 13:30      NC       3         2   2      0       0       1       0          0       0      0
    311       10/20/2017 13:33      OH       2         2   2      0       0       1       0          0       0      0
    314       10/20/2017 13:35      GA       3         2   3      0       0       1       0          0       0      0
    315       10/20/2017 13:46      NJ       1         2   2      0       0       1       0          0       0      0
    318       10/20/2017 13:44      CA       4         2   4      0       0       1       0          0       0      0
    321       10/20/2017 13:53      MD       3         2   4      0       0       1       0          0       0      0
    323       10/20/2017 13:50      NY       1         2   2      0       1       1       0          0       0      0
    331       10/20/2017 13:51      GA       3         2   3      0       0       1       0          0       0      0
    349       10/20/2017 14:10      NJ       1         2   4      0       0       1       0          0       0      0
    351       10/20/2017 14:14      WI       2         2   2      0       0       1       0          0       0      0
    360        10/23/2017 9:34      PA       1         2   4      0       0       1       0          0       0      0
    369       10/20/2017 14:33      OK       3         2   4      0       0       1       0          0       0      0
    370       10/20/2017 14:32      OH       2         2   3      0       0       1       0          0       0      0
    374       10/20/2017 14:35      OH       2         2   4      0       0       1       0          0       0      0
    389       10/20/2017 15:05      PA       1         2   3      0       0       1       0          0       0      0
    392       10/20/2017 14:51      NJ       1         2   3      0       0       1       0          0       0      0
    395       10/20/2017 14:52      OH       2         2   2      0       0       1       0          0       0      0
    397       10/20/2017 14:57      MI       2         2   4      0       0       1       0          0       0      0
    409       10/20/2017 15:34      AL       3         2   3      0       0       1       0          0       0      0


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                                                                  Data File

 responseid     qd_8        qe_1    qe_2   qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1     qf_2    qf_3   qf_4
    175          0           1       1      1       1       0       1       0       0       0        1       1      1
    183          0           1       1      0       1       0       1       0       0       1        1       1      1
    184          0           0       1      1       1       1       1       0       0       0        1       1      1
    195          0           1       1      1       1       0       0       0       0       1        1       1      1
    201          0           1       1      1       1       1       1       0       0       1        1       1      1
    204          0           1       1      0       1       0       1       0       0       0        1       1      1
    231          0           1       1      1       1       1       1       0       0       0        1       1      1
    233          0           1       1      0       1       0       1       0       0       0        1       1      1
    236          0           1       1      1       1       1       1       0       0       0        1       1      1
    242          0           0       1      1       1       1       1       0       0       1        0       1      1
    249          0           0       1      0       1       0       0       0       0       0        0       1      0
    256          0           1       1      0       1       0       1       0       0       1        1       1      1
    265          0           1       1      1       1       0       1       0       0       0        0       1      1
    274          0           0       1      0       0       0       1       0       0       0        1       1      0
    280          0           1       1      0       1       0       1       0       0       1        1       1      1
    286          0           1       1      1       1       0       0       0       0       0        1       1      1
    289          0           1       1      0       1       1       0       0       0       0        1       1      1
    294          0           0       1      0       1       0       1       0       0       0        0       1      1
    299          0           0       1      0       0       0       0       0       0       1        0       1      0
    306          0           1       1      1       1       0       1       0       0       0        0       1      1
    309          0           0       1      1       1       1       0       0       0       0        1       1      1
    310          0           1       1      1       1       1       1       0       0       1        1       1      1
    311          0           1       1      1       1       1       1       0       0       0        0       1      1
    314          0           0       1      0       1       0       0       0       0       0        0       1      1
    315          0           1       1      0       1       0       0       0       0       1        1       1      1
    318          0           1       1      0       1       0       1       0       0       0        0       1      1
    321          0           1       1      1       1       1       1       0       0       0        1       1      1
    323          0           1       1      0       1       0       1       0       0       0        0       1      1
    331          0           0       1      0       1       0       1       0       0       0        0       1      1
    349          0           1       1      1       1       0       1       0       0       1        0       1      1
    351          0           0       1      0       1       0       0       0       0       1        1       1      1
    360          0           1       1      0       1       1       0       0       0       0        0       1      1
    369          0           1       1      1       1       0       1       0       0       1        1       1      1
    370          0           0       1      0       1       0       1       0       0       1        0       1      1
    374          0           1       1      1       1       1       1       0       0       1        0       1      1
    389          0           1       1      0       1       0       1       0       0       0        1       1      1
    392          0           1       1      1       1       1       1       0       0       0        0       1      1
    395          0           1       1      0       1       0       1       0       0       0        1       1      1
    397          0           1       1      1       1       1       1       0       0       1        1       1      1
    409          0           1       1      1       1       1       1       0       0       0        0       1      1


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                                                                  Data File

 responseid     qf_5        qf_6    qg_1   qg_2    qg_3    qg_4    qg_5    qh_1    qh_2    qh_3     qh_4        qi   qj
    175          0           0       1      0       0       0       0       2       2       2        2          1    1
    183          0           0       1      0       0       0       0       2       2       2        2          1    1
    184          0           0       1      0       0       0       0       2       2       2        2          1    2
    195          0           0       1      0       1       0       0       2       2       2        2          1    1
    201          0           0       1      1       1       0       0       2       2       2        2          1    1
    204          0           0       1      0       1       0       0       2       2       2        2          1    1
    231          0           0       1      0       0       0       0       2       2       2        2          1    2
    233          0           0       1      0       1       0       0       2       2       2        2          1    1
    236          0           0       1      0       0       0       0       2       2       2        2          1    2
    242          0           0       1      1       0       0       0       2       2       2        2          1    1
    249          0           0       1      0       0       0       0       2       2       2        2          1    2
    256          0           0       1      0       0       0       0       2       2       2        2          1    1
    265          0           0       1      1       0       0       0       2       2       2        2          1    2
    274          0           0       1      0       0       0       0       2       2       2        2          1    1
    280          0           0       1      1       1       0       0       2       2       2        2          1    1
    286          0           0       1      0       0       0       0       2       2       2        2          1    2
    289          0           0       1      0       0       0       0       2       2       2        2          1    2
    294          0           0       1      0       0       0       0       2       2       2        2          1    2
    299          0           0       1      1       0       0       0       2       2       2        2          1    1
    306          0           0       1      1       0       0       0       2       2       2        2          1    2
    309          0           0       1      1       0       0       0       2       2       2        2          1    1
    310          0           0       1      0       0       0       0       2       2       2        2          1    2
    311          0           0       1      0       0       0       0       2       2       2        2          1    2
    314          0           0       1      1       0       0       0       2       2       2        2          1    2
    315          0           0       1      0       0       0       0       2       2       2        2          1    1
    318          0           0       1      0       0       0       0       2       2       2        2          1    1
    321          0           0       1      0       0       0       0       2       2       2        2          1    1
    323          0           0       1      0       0       0       0       2       2       2        2          1    2
    331          0           0       1      1       0       0       0       2       2       2        2          1    1
    349          0           0       1      0       1       0       0       2       2       2        2          1    1
    351          0           0       1      1       1       0       0       2       2       2        2          1    2
    360          0           0       1      1       0       0       0       2       2       2        2          1    1
    369          0           0       1      1       1       0       0       2       2       2        2          1    1
    370          0           0       1      0       0       0       0       2       2       2        2          1    1
    374          0           0       1      1       0       0       0       2       2       2        2          1    2
    389          0           0       1      1       0       0       0       2       2       2        2          1    2
    392          0           0       1      0       0       0       0       2       2       2        2          1    2
    395          0           0       1      0       0       0       0       2       2       2        2          1    1
    397          0           0       1      1       0       0       0       2       2       2        2          1    1
    409          0           0       1      0       0       0       0       2       2       2        2          1    1


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                                                                  Data File

 responseid      qk           ql    q1      q2     q3_1    q3_2    q3_3    q3_4    q3_5    q3_6     q3_7    q3_8   q3_9
    175           1                  5       5      1       2       1       2       1       2        1       2      1
    183           1                  5       5      1       1       1       1       1       1        1       1      1
    184                              5       4      1       1       1       1       1       1        1       1      1
    195           1                  5       5      1       1       1       1       1       1        1       1      1
    201           1                  5       4      1       1       1       1       1       1        1       1      1
    204           1                  3       1      1       1       3       1       1       1        1       1      1
    231                              5       5      2       2       2       2       1       1        1       1      1
    233           1                  5       4      1       1       1       1       1       1        1       1      1
    236                              3       3      1       2       2       2       1       1        1       1      1
    242           1                  5       5      1       3       1       1       1       1        1       1      1
    249                              4       4      1       1       1       2       1       1        1       2      1
    256           1                  5       5      1       1       1       1       1       1        1       1      1
    265                              3       3      1       1       1       1       1       1        1       1      1
    274           1                  2       4      1       1       2       1       1       1        1       1      1
    280           1                  5       1      1       1       1       1       1       1        1       1      1
    286                              5       5      1       2       1       2       1       1        1       1      1
    289                              5       4      1       2       1       1       1       1        1       1      1
    294                              2       1      1       2       1       1       1       2        1       1      1
    299           2           1      2       2      3       2       2       1       1       1        1       1      1
    306                              5       5      2       1       1       1       1       1        1       1      1
    309           1                  5       4      2       2       1       2       2       1        2       2      2
    310                              5       4      1       1       1       1       1       1        1       1      1
    311                              5       5      1       1       1       1       1       1        1       1      1
    314                              5       2      1       1       1       1       1       1        1       1      1
    315           1                  5       4      1       1       1       1       1       1        1       1      1
    318           1                  5       3      2       1       2       2       1       1        1       1      2
    321           2           1      5       3      1       1       1       1       1       1        1       1      1
    323                              3       1      1       1       1       1       1       1        1       1      1
    331           1                  5       4      1       1       1       1       1       1        1       1      1
    349           1                  5       1      1       1       1       1       1       1        1       1      1
    351                              4       4      3       1       1       1       1       1        1       1      1
    360           1                  5       3      1       1       1       2       1       1        1       1      1
    369           1                  3       3      2       3       2       2       1       1        1       1      1
    370           1                  5       5      2       1       1       1       3       1        1       1      1
    374                              5       2      2       1       1       1       1       1        1       1      1
    389                              2       2      1       1       1       1       1       1        1       1      1
    392                              4       3      1       1       1       1       1       1        1       2      1
    395           1                  2       2      2       2       1       1       1       1        1       1      1
    397           1                  5       2      1       1       1       1       1       2        1       1      1
    409           1                  5       4      1       1       1       1       1       1        1       1      1


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                                                          Survey4258
                                                                  Data File

 responseid     q3_10      q3_11    q3_12   q3_13   q3_14   q4_1   q4_2    q4_3    q4_4    q5_1     q5_2    q5_3   q5_4
    175           2          1        1       2       1      1      2       2       2       0        0       1      1
    183           1          1        1       2       2      1      1       1       2       1        0       0      1
    184           1          2        1       2       2      1      1       2       2       0        0       0      0
    195           1          1        1       2       2      1      1       1       2       0        0       0      1
    201           1          1        1       2       2      1      1       2       2       1        0       0      1
    204           1          1        2       2       2      2      2       2       2       0        0       1      1
    231           1          1        1       1       2      1      2       2       3       0        0       0      1
    233           1          1        1       2       2      1      1       1       3       0        0       0      1
    236           1          1        1       1       1      2      2       2       2       0        0       0      0
    242           1          1        3       2       2      1      1       2       2       0        0       0      0
    249           1          1        1       2       2      2      1       2       2       0        0       0      0
    256           1          1        1       2       2      1      1       1       2       1        0       0      1
    265           3          1        1       2       2      1      1       1       2       0        0       0      0
    274           1          1        1       2       2      1      1       2       2       0        0       0      1
    280           1          1        2       2       2      1      1       1       2       1        0       0      1
    286           1          1        1       2       2      1      2       2       2       0        0       0      1
    289           1          1        1       2       2      1      2       2       3       0        0       0      0
    294           1          1        1       2       2      1      2       2       3       0        0       0      0
    299           1          1        1       3       2      1      2       2       3       0        0       0      0
    306           1          1        1       2       2      2      2       2       2       0        0       0      0
    309           2          1        2       2       2      1      1       1       1       0        0       0      0
    310           1          1        1       2       2      1      1       1       2       1        1       0      1
    311           1          1        1       2       2      1      2       2       2       0        0       0      1
    314           1          1        1       2       2      1      1       2       2       0        0       0      1
    315           1          1        2       2       2      1      2       2       2       0        0       0      1
    318           1          2        1       2       2      1      2       2       2       0        1       0      0
    321           1          1        2       2       2      1      1       1       2       0        0       0      1
    323           1          1        1       2       2      1      1       1       2       0        0       0      0
    331           1          1        1       2       2      1      1       1       2       0        0       1      0
    349           1          1        3       2       2      1      1       1       3       0        0       0      0
    351           1          1        1       2       2      1      1       1       3       0        0       0      1
    360           1          1        1       2       2      1      1       1       3       0        0       0      0
    369           1          1        1       2       2      2      2       2       2       0        0       0      0
    370           1          2        1       2       2      2      1       2       2       1        0       0      0
    374           1          1        1       2       2      2      2       2       2       1        0       0      0
    389           1          1        1       2       2      1      2       2       2       0        0       0      1
    392           1          1        1       2       2      1      2       2       2       0        0       0      0
    395           1          1        1       2       2      1      1       1       2       0        0       0      1
    397           1          1        1       2       2      2      2       2       2       0        0       0      0
    409           1          3        2       2       2      1      1       1       2       0        0       0      0


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                           Case 2:16-cv-00508-TFM-B Document 159-10 Filed 12/08/18 Page 79 of 137   PageID #:
                                                          Survey4259
                                                                  Data File

 responseid     q5_5        q5_6    q5_7   q5_8    q5_9    q5_10   q5_11   q5_12   q5_13    q6
    175          1           1       1      1       0        1       1       0       0       1
    183          1           1       1      1       0        0       0       0       0       1
    184          1           1       1      1       0        1       1       0       0       1
    195          1           1       0      0       0        1       1       0       0       1
    201          1           1       1      1       0        1       0       0       0       1
    204          1           1       1      1       0        1       0       0       0       1
    231          1           1       1      1       0        0       0       0       0       1
    233          1           1       1      1       0        1       1       0       0       1
    236          1           1       0      0       0        1       1       0       0       1
    242          1           1       1      0       0        0       0       0       0       1
    249          0           0       1      0       0        0       0       0       0       1
    256          1           1       1      1       0        0       1       0       0       1
    265          1           1       1      1       0        1       0       0       0       1
    274          1           1       0      1       0        1       0       0       0       1
    280          1           1       1      0       0        0       0       0       0       1
    286          1           1       1      0       0        1       1       0       0       1
    289          1           1       1      1       1        1       1       0       0       1
    294          1           0       1      0       0        0       0       0       0       1
    299          1           1       0      0       0        0       0       0       0       1
    306          1           1       1      1       0        0       1       0       0       1
    309          0           0       0      0       0        0       0       1       0       1
    310          1           1       1      1       0        1       1       0       0       1
    311          1           1       0      1       0        1       0       0       0       1
    314          1           1       1      1       0        1       0       0       0       1
    315          1           1       1      1       0        1       0       0       0       1
    318          1           1       0      0       0        0       1       0       0       1
    321          1           1       1      1       0        0       0       0       0       1
    323          1           0       0      0       0        1       0       0       0       1
    331          1           1       1      1       0        1       1       0       0       1
    349          1           1       1      1       0        0       1       0       0       1
    351          1           1       1      1       1        1       1       0       0       1
    360          1           1       1      1       1        1       0       0       0       1
    369          1           1       1      1       0        0       1       0       0       1
    370          1           1       1      1       0        1       1       0       0       1
    374          1           1       1      1       1        1       1       0       0       1
    389          1           1       1      1       0        1       0       0       0       1
    392          1           1       1      1       1        1       1       0       0       1
    395          1           1       1      0       0        1       0       0       0       1
    397          1           1       1      1       0        1       1       0       0       1
    409          1           1       1      1       0        0       0       0       0       1


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                           Case 2:16-cv-00508-TFM-B Document 159-10 Filed 12/08/18 Page 80 of 137     PageID #:
                                                          Survey4260
                                                                  Data File

 responseid    interview_end        qa   hidqregion   qb   qc    qd_1    qd_2    qd_3    qd_4       qd_5    qd_6   qd_7
    414       10/20/2017 15:17      IL       2         2   4      0       0       1       0          0       0      0
    418       10/20/2017 15:18      PA       1         2   3      0       0       1       0          0       0      0
    419       10/20/2017 15:15      TX       3         2   4      0       0       1       0          0       0      0
    420       10/20/2017 15:17      NY       1         2   2      0       0       1       0          0       0      0
    421       10/20/2017 15:20      LA       3         2   3      0       0       1       0          0       0      0
    427       10/20/2017 15:32      CA       4         2   4      0       0       1       1          0       0      0
    447       10/20/2017 15:47      FL       3         2   2      0       0       1       0          0       0      0
    456       10/20/2017 16:00      TX       3         2   3      0       0       1       0          0       0      0
    462       10/20/2017 16:03      IN       2         2   3      0       0       1       0          0       0      0
    478       10/20/2017 16:32      MS       3         2   3      0       0       1       0          0       0      0
    482       10/20/2017 16:35      FL       3         2   2      0       0       1       0          0       0      0
    485       10/20/2017 16:43      VA       3         2   3      0       0       1       0          0       0      0
    508       10/20/2017 17:04      SC       3         2   3      0       0       1       0          0       0      0
    514       10/20/2017 17:16      FL       3         2   3      0       0       1       0          0       0      0
    522       10/20/2017 17:20      TX       3         2   3      0       0       1       0          0       0      0
    523       10/20/2017 17:25      MI       2         2   3      0       0       1       0          0       0      0
    524       10/20/2017 17:25      IL       2         2   3      0       0       1       0          0       0      0
    532       10/20/2017 18:52      FL       3         2   2      0       0       1       0          0       0      0
    534       10/20/2017 17:30      GA       3         2   3      0       0       1       0          0       0      0
    546       10/20/2017 17:44      FL       3         2   2      0       0       1       0          0       0      0
    548       10/20/2017 17:47      MD       3         2   3      0       0       1       0          0       0      0
    561       10/20/2017 17:57      NV       4         2   2      0       0       1       0          0       0      0
    562       10/20/2017 17:59      FL       3         2   4      0       0       1       0          0       0      0
    563       10/20/2017 17:57      NJ       1         2   3      0       0       1       0          0       0      0
    567       10/20/2017 18:00      NY       1         2   3      0       0       1       0          0       0      0
    576       10/20/2017 18:16      AR       3         2   3      0       0       1       0          0       0      0
    585       10/20/2017 18:29      FL       3         2   4      0       0       1       0          0       0      0
    602       10/20/2017 18:43      CA       4         2   2      0       0       1       0          0       0      0
    606       10/20/2017 18:49      OH       2         2   4      0       0       1       0          0       0      0
    613       10/20/2017 18:47      TX       3         2   3      0       0       1       0          0       0      0
    622       10/20/2017 18:58      NY       1         2   3      0       0       1       0          0       0      0
    628       10/20/2017 19:01      CA       4         2   2      0       0       1       0          0       0      0
    632       10/20/2017 19:05      IN       2         2   3      0       0       1       0          0       0      0
    644       10/20/2017 19:22      TX       3         2   4      1       0       1       0          1       0      0
    657       10/20/2017 19:33      IL       2         2   2      0       0       1       0          0       0      0
    658       10/20/2017 19:36      TX       3         2   4      0       0       1       0          0       0      0
    659       10/20/2017 19:39      AZ       4         2   4      0       0       1       0          0       0      0
    664       10/20/2017 19:38      NC       3         2   2      0       0       1       0          0       0      0
    665       10/20/2017 19:40      KY       3         2   3      0       0       1       0          0       0      0
    668       10/20/2017 19:39      NY       1         2   3      0       0       1       0          0       0      0


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                           Case 2:16-cv-00508-TFM-B Document 159-10 Filed 12/08/18 Page 81 of 137   PageID #:
                                                          Survey4261
                                                                  Data File

 responseid     qd_8        qe_1    qe_2   qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1     qf_2    qf_3   qf_4
    414          0           1       1      1       1       0       1       0       0       1        0       1      1
    418          0           0       1      0       0       0       0       0       0       1        0       1      0
    419          0           1       1      1       1       1       1       0       0       1        0       1      1
    420          0           0       1      0       1       0       0       0       0       0        0       1      0
    421          0           1       1      1       1       1       1       0       0       1        1       1      1
    427          0           1       1      0       1       0       1       0       0       1        1       1      1
    447          0           1       1      0       1       0       1       0       0       1        1       1      1
    456          0           1       1      0       1       0       0       0       0       0        1       1      1
    462          0           1       1      0       1       1       1       0       0       1        1       1      1
    478          0           1       1      0       1       0       1       0       0       0        1       1      1
    482          0           1       1      0       1       0       1       0       0       0        1       1      1
    485          0           1       1      1       1       1       1       0       0       1        1       1      1
    508          0           1       1      1       1       1       1       0       0       1        1       1      1
    514          0           1       1      1       1       0       1       0       0       0        0       1      1
    522          0           1       1      1       1       1       1       0       0       0        0       1      1
    523          0           1       1      1       1       0       0       0       0       1        0       1      1
    524          0           1       1      1       1       1       1       0       0       0        1       1      1
    532          0           1       1      0       1       1       1       0       0       0        0       1      1
    534          0           1       1      0       0       0       1       0       0       1        0       1      1
    546          0           1       1      1       1       1       1       0       0       1        1       1      1
    548          0           1       1      0       1       0       1       0       0       0        0       1      1
    561          0           0       1      0       1       0       1       0       0       0        0       1      1
    562          0           1       1      1       1       1       1       0       0       1        1       1      1
    563          0           1       1      1       1       0       1       0       0       1        1       1      1
    567          0           1       1      0       1       0       1       0       0       1        1       1      1
    576          0           1       1      0       1       0       1       0       0       0        0       1      1
    585          0           1       1      1       1       0       1       0       0       1        1       1      1
    602          0           1       1      1       1       0       0       0       0       0        0       1      1
    606          0           1       1      1       1       0       1       0       0       1        0       1      1
    613          0           1       1      1       1       0       1       0       0       0        1       1      1
    622          0           1       1      1       1       0       1       0       0       1        1       1      1
    628          0           1       1      0       1       0       0       0       0       1        1       1      1
    632          0           1       1      1       1       0       1       0       0       0        1       1      1
    644          0           1       1      1       1       1       1       0       0       1        1       1      1
    657          0           1       1      1       1       0       1       0       0       1        1       1      1
    658          0           1       1      1       1       0       1       0       0       1        1       1      1
    659          0           1       1      0       1       1       0       0       0       0        0       1      1
    664          0           1       1      0       1       1       1       0       0       1        1       1      1
    665          0           1       1      1       1       0       1       0       0       1        1       1      1
    668          0           1       1      1       1       0       0       0       0       1        0       1      1


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                           Case 2:16-cv-00508-TFM-B Document 159-10 Filed 12/08/18 Page 82 of 137   PageID #:
                                                          Survey4262
                                                                  Data File

 responseid     qf_5        qf_6    qg_1   qg_2    qg_3    qg_4    qg_5    qh_1    qh_2    qh_3     qh_4        qi   qj
    414          0           0       1      0       0       0       0       2       2       2        2          1    1
    418          0           0       1      0       0       0       0       2       2       2        2          1    1
    419          0           0       1      0       0       0       0       2       2       2        2          1    1
    420          0           0       1      0       0       0       0       2       2       2        2          1    1
    421          0           0       1      0       0       0       0       2       2       2        2          1    2
    427          0           0       1      1       0       0       0       2       2       2        2          1    1
    447          0           0       1      0       0       0       0       2       2       2        2          1    2
    456          0           0       1      0       0       0       0       2       2       2        2          1    2
    462          0           0       1      0       1       0       0       2       2       2        2          1    1
    478          0           0       1      0       1       0       0       2       2       2        2          1    2
    482          0           0       1      0       0       0       0       2       2       2        2          1    2
    485          0           0       1      0       0       0       0       2       2       2        2          1    1
    508          0           0       1      1       0       0       0       2       2       2        2          1    1
    514          0           0       1      1       0       0       0       2       2       2        2          1    1
    522          0           0       1      0       0       0       0       2       2       2        2          1    1
    523          0           0       1      0       0       0       0       2       2       2        2          1    2
    524          0           0       1      0       0       0       0       2       2       2        2          1    1
    532          0           0       1      1       0       0       0       2       2       2        2          1    2
    534          0           0       1      0       0       0       0       2       2       2        2          1    1
    546          0           0       1      1       1       0       0       2       2       2        2          1    1
    548          0           0       1      0       0       0       0       2       2       2        2          1    1
    561          0           0       1      0       0       0       0       2       2       2        2          1    1
    562          0           0       1      1       1       0       0       2       2       2        2          1    2
    563          0           0       1      0       1       0       0       2       2       2        2          1    2
    567          0           0       1      1       0       0       0       2       2       2        2          1    1
    576          0           0       1      1       0       0       0       2       2       2        2          1    1
    585          0           0       1      1       0       0       0       2       2       2        2          1    1
    602          0           0       1      0       0       0       0       2       2       2        2          1    1
    606          0           0       1      0       0       0       0       2       2       2        2          1    1
    613          0           0       1      0       1       0       0       2       2       2        2          1    2
    622          0           0       1      0       0       0       0       2       2       2        2          1    2
    628          0           0       1      0       0       0       0       2       2       2        2          1    1
    632          0           0       1      0       0       0       0       2       2       2        2          1    2
    644          0           0       1      1       0       0       0       2       2       2        2          1    1
    657          0           0       1      1       0       0       0       2       2       2        2          1    1
    658          0           0       1      0       0       0       0       2       2       2        2          1    1
    659          0           0       1      0       0       0       0       2       2       2        2          1    2
    664          0           0       1      1       0       0       0       2       2       2        2          1    1
    665          0           0       1      1       0       0       0       2       2       2        2          1    1
    668          0           0       1      1       0       0       0       2       2       2        2          1    1


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                                                          Survey4263
                                                                  Data File

 responseid      qk           ql    q1      q2     q3_1    q3_2    q3_3    q3_4    q3_5    q3_6     q3_7    q3_8   q3_9
    414           1                  5       3      1       1       1       1       1       1        1       1      1
    418           1                  5       4      1       2       1       1       1       1        1       1      1
    419           1                  6       3      1       1       1       1       1       1        1       1      1
    420           1                  5       4      3       3       3       3       2       1        1       1      1
    421                              5       4      1       1       1       1       1       1        1       1      1
    427           1                  5       4      2       2       1       1       1       1        1       1      1
    447                              5       4      1       1       2       2       1       1        1       1      2
    456                              5       3      1       1       1       1       1       1        1       1      1
    462           1                  3       3      3       1       1       1       1       1        1       2      1
    478                              5       7      1       1       1       2       1       1        1       1      1
    482                              5       6      1       2       1       2       1       2        1       1      2
    485           1                  5       1      1       1       1       1       1       1        1       1      1
    508           1                  5       4      1       2       1       2       1       1        1       1      1
    514           2           1      5       3      1       1       1       1       1       1        1       1      1
    522           1                  5       1      1       1       1       1       1       1        1       1      1
    523                              5       5      1       1       1       1       1       1        1       1      1
    524           1                  5       1      1       1       1       1       1       1        1       1      1
    532                              3       4      1       2       2       2       1       1        1       1      1
    534           1                  6       7      2       1       1       1       1       1        1       1      1
    546           1                  5       4      2       2       2       2       2       2        2       2      2
    548           1                  5       4      1       1       1       1       1       1        1       1      1
    561           1                  4       4      1       3       1       1       1       3        1       1      1
    562                              5       4      1       1       2       2       1       1        1       1      1
    563                              5       4      1       3       1       1       1       1        1       1      1
    567           1                  5       4      1       1       1       1       1       1        1       1      1
    576           2           1      2       3      1       1       2       1       1       2        1       1      2
    585           1                  4       4      1       1       1       1       1       1        1       3      1
    602           1                  2       4      1       1       1       1       1       1        1       1      1
    606           1                  5       3      1       1       1       1       1       1        1       1      1
    613                              3       3      2       3       1       3       1       1        1       1      1
    622                              5       5      1       1       1       1       1       1        1       1      1
    628           1                  3       2      1       1       1       2       1       3        1       2      1
    632                              5       2      1       1       1       1       1       1        1       1      1
    644           1                  5       3      1       1       1       1       1       1        1       1      1
    657           1                  5       3      1       1       1       1       1       1        1       1      1
    658           1                  5       4      1       1       1       1       1       1        1       1      1
    659                              5       5      1       1       1       1       1       1        1       1      1
    664           1                  5       2      1       1       1       1       1       1        1       2      1
    665           1                  3       4      2       2       1       1       1       1        1       1      1
    668           1                  3       3      2       2       3       1       1       1        1       1      1


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                           Case 2:16-cv-00508-TFM-B Document 159-10 Filed 12/08/18 Page 84 of 137   PageID #:
                                                          Survey4264
                                                                  Data File

 responseid     q3_10      q3_11    q3_12   q3_13   q3_14   q4_1   q4_2    q4_3    q4_4    q5_1     q5_2    q5_3   q5_4
    414           1          1        1       2       2      1      1       1       2       1        0       0      0
    418           1          1        1       2       2      1      1       2       2       0        0       0      0
    419           1          1        1       2       2      1      1       1       2       1        0       0      0
    420           3          3        2       2       2      2      2       2       2       0        0       0      0
    421           1          1        1       2       2      1      1       2       3       1        0       1      1
    427           1          1        1       3       2      1      1       1       2       0        0       0      1
    447           1          1        2       2       2      1      1       2       2       0        0       0      0
    456           2          2        1       2       2      1      1       1       2       0        0       0      1
    462           1          1        2       2       2      1      1       2       2       1        0       0      1
    478           1          1        1       2       2      1      1       1       2       0        0       0      1
    482           2          1        1       3       2      1      2       2       2       0        0       0      1
    485           1          1        1       2       2      2      1       1       2       1        0       0      0
    508           2          2        1       2       2      1      2       2       2       1        0       0      1
    514           1          1        1       2       2      1      2       2       2       0        0       0      0
    522           1          1        1       2       2      1      1       2       2       0        0       0      0
    523           1          1        3       2       2      1      1       2       2       1        0       0      0
    524           1          3        3       2       2      1      1       1       2       0        0       0      0
    532           1          1        2       2       2      2      2       2       2       0        0       0      0
    534           1          2        2       2       2      2      2       2       2       0        0       0      0
    546           2          2        2       2       2      1      1       2       2       0        0       0      0
    548           1          2        1       2       2      1      2       2       2       0        0       0      0
    561           3          1        2       2       2      2      2       2       2       0        0       0      1
    562           1          2        1       2       2      1      1       1       2       1        0       0      0
    563           1          1        1       2       2      1      2       2       2       1        0       0      0
    567           2          1        1       2       2      1      2       2       2       1        0       0      1
    576           1          1        1       2       2      1      2       2       2       1        0       0      0
    585           1          1        1       2       2      1      1       1       2       1        0       0      1
    602           2          1        1       1       2      1      1       2       2       0        0       0      1
    606           1          1        1       2       2      1      1       2       3       1        0       0      0
    613           1          1        3       2       2      1      1       2       2       0        0       0      1
    622           1          1        2       2       2      1      1       1       2       1        0       0      1
    628           2          2        1       2       2      1      1       1       3       0        0       0      1
    632           2          2        1       2       2      1      2       2       2       0        0       0      0
    644           1          1        1       2       2      1      1       1       2       1        0       0      1
    657           1          1        1       2       2      1      1       1       2       0        0       0      1
    658           1          1        2       2       2      1      1       2       2       0        0       0      1
    659           1          1        3       2       2      1      1       2       2       0        0       0      0
    664           1          1        1       2       2      1      1       2       2       1        0       1      1
    665           1          1        1       2       2      1      1       2       2       1        0       1      0
    668           1          2        1       2       2      1      1       2       2       0        0       0      0


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 responseid     q5_5        q5_6    q5_7   q5_8    q5_9    q5_10   q5_11   q5_12   q5_13    q6
    414          1           1       1      1       0        1       1       0       0       1
    418          0           1       1      0       0        0       0       0       0       1
    419          1           1       1      1       0        0       0       0       0       1
    420          1           1       1      1       0        1       0       0       0       1
    421          0           0       0      0       0        0       0       0       0       1
    427          1           1       0      0       0        0       0       0       0       1
    447          1           1       1      1       0        1       0       0       0       1
    456          1           1       1      1       0        0       0       0       0       1
    462          1           1       1      1       0        1       0       0       0       1
    478          1           1       1      0       0        0       0       0       0       1
    482          1           1       1      1       0        1       0       0       0       1
    485          1           1       1      1       0        1       1       0       0       1
    508          1           1       1      1       0        1       1       0       0       1
    514          1           1       1      0       1        1       0       0       0       1
    522          1           1       0      1       0        0       0       0       0       1
    523          1           1       1      1       0        1       0       0       0       1
    524          1           1       1      0       0        1       0       0       0       1
    532          1           1       1      1       0        1       0       0       0       1
    534          1           1       1      0       0        0       0       0       0       1
    546          0           1       1      0       1        1       0       0       0       1
    548          1           1       1      1       0        0       0       0       0       1
    561          1           1       1      1       0        1       1       0       0       1
    562          1           1       1      1       0        1       0       0       0       1
    563          1           1       1      1       0        1       1       0       0       1
    567          1           1       1      1       0        1       0       0       0       1
    576          1           1       1      1       0        1       0       0       0       1
    585          1           1       1      1       1        1       1       0       0       1
    602          0           0       1      0       1        0       0       0       0       1
    606          1           1       1      1       0        1       1       0       0       1
    613          1           1       1      1       0        1       0       0       0       1
    622          1           1       1      1       0        1       1       0       0       1
    628          1           1       1      0       0        0       0       0       0       1
    632          1           1       1      1       0        1       0       0       0       1
    644          1           1       1      1       1        1       1       0       0       1
    657          1           1       1      0       1        1       1       0       0       1
    658          1           1       1      1       0        1       0       0       0       1
    659          1           1       1      1       0        0       0       0       0       1
    664          1           1       1      1       0        1       1       0       0       1
    665          1           1       1      1       0        1       0       0       0       1
    668          1           1       0      1       0        0       0       0       0       1


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 responseid     interview_end       qa   hidqregion   qb   qc    qd_1    qd_2    qd_3    qd_4       qd_5    qd_6   qd_7
    673        10/21/2017 1:15      GA       3         2   4      0       0       1       0          0       0      0
    677        10/21/2017 1:54      MD       3         2   2      0       1       1       0          0       0      0
    683        10/21/2017 4:02      CA       4         2   2      0       0       1       0          0       0      0
    684        10/21/2017 4:08      LA       3         2   2      0       0       1       0          0       0      0
    686        10/21/2017 4:36      NC       3         2   4      0       0       1       0          0       0      0
    687        10/21/2017 4:29      NY       1         2   3      0       0       1       0          0       0      0
    689        10/21/2017 4:35      IL       2         2   3      0       0       1       0          0       0      0
    691        10/21/2017 4:46      MS       3         2   4      0       0       1       0          0       0      0
    697        10/21/2017 5:25      DE       3         2   3      0       0       1       0          0       0      0
    699        10/21/2017 5:39      NJ       1         2   2      0       0       1       0          0       0      0
    703        10/21/2017 5:57      NC       3         2   4      0       0       1       0          0       0      0
    704        10/21/2017 5:58      TX       3         2   3      0       0       1       0          0       0      0
    708        10/21/2017 6:18      MD       3         2   3      0       0       1       0          0       0      0
    709        10/21/2017 6:18      MI       2         2   3      0       0       1       0          0       0      0
    715        10/21/2017 6:52      WI       2         2   4      0       0       1       0          0       0      0
    721        10/21/2017 7:13      GA       3         2   2      0       0       1       0          0       0      0
    723        10/21/2017 7:09      VA       3         2   3      0       0       1       0          0       0      0
    726        10/21/2017 7:18      AL       3         2   3      0       0       1       0          0       0      0
    733        10/21/2017 7:27      GA       3         2   2      0       0       1       0          0       0      0
    753        10/21/2017 8:09      MI       2         2   2      0       0       1       0          0       0      0
    763        10/21/2017 8:52      TX       3         2   4      0       0       1       0          0       0      0
    768        10/21/2017 8:59      CA       4         2   2      0       0       1       0          0       0      0
    772        10/21/2017 9:18      SC       3         2   3      0       0       1       0          0       0      0
    773        10/21/2017 9:16      PA       1         2   2      0       0       1       0          0       0      0
    779        10/21/2017 9:41      OH       2         2   2      0       0       1       0          0       0      0
    782        10/21/2017 9:55      NY       1         2   2      0       0       1       0          0       0      0
    784        10/21/2017 9:57      OH       2         2   4      0       0       1       0          0       0      0
    792       10/21/2017 10:06      PA       1         2   3      0       0       1       0          0       0      0
    798       10/21/2017 10:08      MO       2         2   3      0       0       1       0          0       0      0
    801       10/21/2017 10:09      CA       4         2   3      1       0       1       0          0       0      0
    803       10/21/2017 10:43      MD       3         2   3      0       0       1       0          0       0      0
    806       10/21/2017 10:16      GA       3         2   4      0       0       1       0          0       0      0
    808       10/21/2017 10:20      FL       3         2   3      0       0       1       0          0       0      0
    810       10/21/2017 10:39      KS       2         2   2      0       0       1       0          0       0      0
    815       10/21/2017 10:26      TX       3         2   4      0       0       1       0          0       0      0
    819       10/21/2017 10:25      TX       3         2   4      0       0       1       0          0       0      0
    821       10/21/2017 10:28      FL       3         2   2      0       0       1       0          0       0      0
    826       10/21/2017 10:35      MD       3         2   3      0       0       1       0          0       0      0
    827       10/21/2017 10:32      TX       3         2   3      0       0       1       0          0       0      0
    834       10/21/2017 10:37      VA       3         2   2      0       0       1       0          0       0      0


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 responseid     qd_8        qe_1    qe_2   qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1     qf_2    qf_3   qf_4
    673          0           0       1      0       1       0       1       0       0       0        1       1      1
    677          0           1       1      0       1       1       1       0       0       0        1       1      1
    683          0           1       1      1       1       1       1       0       0       1        1       1      1
    684          0           0       1      0       1       0       0       0       0       0        1       1      1
    686          0           0       1      1       1       1       0       0       0       0        0       1      1
    687          0           1       1      1       1       1       1       0       0       1        0       1      1
    689          0           1       1      1       1       1       1       0       0       1        1       1      1
    691          0           1       1      1       1       1       0       0       0       1        0       1      1
    697          0           1       1      1       1       1       1       0       0       0        0       1      1
    699          0           1       1      0       1       1       1       0       0       1        1       1      1
    703          0           1       1      0       0       0       1       0       0       0        0       1      1
    704          0           0       1      0       1       0       1       0       0       0        0       1      1
    708          0           0       1      0       1       0       1       0       0       0        1       1      1
    709          0           1       1      1       1       1       0       0       0       0        1       1      1
    715          0           1       1      0       0       0       1       0       0       0        1       1      1
    721          0           1       1      1       1       0       1       0       0       0        1       1      1
    723          0           0       1      0       1       1       1       0       0       0        1       1      1
    726          0           1       1      1       1       1       1       0       0       1        1       1      1
    733          0           1       1      1       1       1       1       0       0       0        1       1      1
    753          0           1       1      1       1       0       1       0       0       1        1       1      1
    763          0           1       1      0       1       1       1       0       0       1        1       1      0
    768          0           1       1      1       1       1       1       0       0       1        1       1      1
    772          0           1       1      0       1       0       1       0       0       0        1       1      1
    773          0           0       1      0       1       0       1       0       0       0        0       1      1
    779          0           1       1      1       1       1       1       0       0       1        1       1      1
    782          0           1       1      1       1       1       1       0       0       1        1       1      1
    784          0           1       1      1       1       0       1       0       0       0        0       1      1
    792          0           1       1      1       1       1       1       0       0       0        0       1      1
    798          0           1       1      1       1       0       1       0       0       1        1       1      1
    801          0           1       1      1       1       0       1       0       0       0        0       1      1
    803          0           1       1      1       1       0       1       0       0       1        0       1      1
    806          0           1       1      0       1       0       1       0       0       1        0       1      1
    808          0           1       1      0       1       0       0       0       0       0        1       1      1
    810          0           1       1      0       1       1       1       0       0       1        1       1      1
    815          0           1       1      1       1       0       1       0       0       1        0       1      1
    819          0           1       1      0       1       0       0       0       0       0        0       1      1
    821          0           1       1      0       1       1       1       0       0       0        0       1      1
    826          0           0       1      0       1       0       1       0       0       1        0       1      1
    827          0           0       1      0       1       0       0       0       0       0        0       1      1
    834          0           1       1      1       1       1       1       0       0       1        1       1      1


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                                                                  Data File

 responseid     qf_5        qf_6    qg_1   qg_2    qg_3    qg_4    qg_5    qh_1    qh_2    qh_3     qh_4        qi   qj
    673          0           0       1      0       0       0       0       2       2       2        2          1    1
    677          0           0       1      1       0       0       0       2       2       2        2          1    2
    683          0           0       1      1       1       0       0       2       2       2        2          1    2
    684          0           0       1      0       0       0       0       2       2       2        2          1    1
    686          0           0       1      1       0       0       0       2       2       2        2          1    1
    687          0           0       1      1       0       0       0       2       2       2        2          1    2
    689          0           0       1      0       0       0       0       2       2       2        2          1    1
    691          0           0       1      0       0       0       0       2       2       2        2          1    2
    697          0           0       1      1       1       0       0       2       2       2        2          1    1
    699          0           0       1      0       0       0       0       2       2       2        2          1    2
    703          0           0       1      0       0       0       0       2       2       2        2          1    1
    704          0           0       1      1       0       0       0       2       2       2        2          1    1
    708          0           0       1      0       0       0       0       2       2       2        2          1    2
    709          0           0       1      0       0       0       0       2       2       2        2          1    2
    715          0           0       1      1       0       0       0       2       2       2        2          1    1
    721          0           0       1      0       0       0       0       2       2       2        2          1    1
    723          0           0       1      1       0       0       0       2       2       2        2          1    1
    726          0           0       1      1       0       0       0       2       2       2        2          1    1
    733          0           0       1      1       0       0       0       2       2       2        2          1    1
    753          0           0       1      0       1       0       0       2       2       2        2          1    2
    763          0           0       1      1       0       0       0       2       2       2        2          1    2
    768          0           0       1      0       0       0       0       2       2       2        2          1    2
    772          0           0       1      0       0       0       0       2       2       2        2          1    2
    773          0           0       1      0       1       0       0       2       2       2        2          1    1
    779          0           0       1      1       0       0       0       2       2       2        2          1    1
    782          0           0       1      1       0       0       0       2       2       2        2          1    2
    784          0           0       1      0       0       0       0       2       2       2        2          1    1
    792          0           0       1      0       0       0       0       2       2       2        2          1    1
    798          0           0       1      1       0       0       0       2       2       2        2          1    1
    801          0           0       1      0       1       0       0       2       2       2        2          1    1
    803          0           0       1      0       0       0       0       2       2       2        2          1    2
    806          0           0       1      1       1       0       0       2       2       2        2          1    1
    808          0           0       1      1       0       0       0       2       2       2        2          1    2
    810          0           0       1      1       0       0       0       2       2       2        2          1    1
    815          0           0       1      0       0       0       0       2       2       2        2          1    1
    819          0           0       1      0       0       0       0       2       2       2        2          1    1
    821          0           0       1      0       0       0       0       2       2       2        2          1    1
    826          0           0       1      1       1       0       0       2       2       2        2          1    2
    827          0           0       1      0       0       0       0       2       2       2        2          1    2
    834          0           0       1      1       0       0       0       2       2       2        2          1    2


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                                                                  Data File

 responseid      qk           ql    q1      q2     q3_1    q3_2    q3_3    q3_4    q3_5    q3_6     q3_7    q3_8   q3_9
    673           1                  3       4      1       1       1       1       1       1        1       1      1
    677                              5       2      1       2       3       1       1       1        1       1      1
    683                              4       5      2       2       1       1       1       1        2       1      2
    684           2           1      3       4      1       1       1       1       1       1        1       1      1
    686           1                  5       3      1       1       3       1       1       1        1       1      1
    687                              5       3      1       1       1       1       1       1        1       1      1
    689           1                  5       5      1       1       1       1       1       1        1       1      1
    691                              5       4      2       1       1       1       1       1        2       1      1
    697           1                  5       1      1       3       3       3       3       1        1       1      1
    699                              4       3      1       3       2       1       1       1        1       1      1
    703           1                  5       3      2       1       1       1       1       1        1       1      2
    704           1                  5       3      3       3       1       1       3       1        1       1      1
    708                              5       2      1       1       1       1       1       1        1       1      1
    709                              5       5      2       2       1       2       1       1        1       1      1
    715           1                  5       4      2       3       2       2       1       1        1       1      1
    721           1                  5       6      2       2       1       2       1       1        1       1      1
    723           1                  5       3      1       1       1       1       1       1        1       1      1
    726           2           1      5       5      1       1       1       1       1       1        1       1      1
    733           1                  5       4      1       1       1       2       1       1        1       3      1
    753                              4       2      2       2       2       2       1       1        1       1      1
    763                              2       3      2       2       2       2       1       2        1       2      1
    768                              5       2      2       2       2       2       2       2        2       1      2
    772                              3       1      1       1       1       1       1       1        1       1      3
    773           1                  5       3      1       3       3       3       1       1        1       3      1
    779           1                  5       5      1       1       1       1       1       1        1       3      1
    782                              5       4      1       2       1       2       1       1        1       2      1
    784           1                  5       4      1       2       1       2       1       1        1       1      1
    792           1                  5       5      1       1       1       1       1       1        1       1      1
    798           1                  5       4      1       1       2       1       1       1        1       1      1
    801           1                  5       3      1       1       1       1       1       1        1       1      1
    803                              5       5      2       1       1       1       1       3        1       1      1
    806           1                  5       3      2       3       1       2       1       1        1       1      1
    808                              5       3      1       1       1       1       1       1        1       1      1
    810           1                  4       4      1       1       1       1       1       1        1       1      1
    815           1                  4       3      1       1       1       1       1       1        1       1      1
    819           1                  5       4      1       1       1       1       1       1        1       1      1
    821           1                  5       4      2       2       3       2       1       1        1       1      1
    826                              5       3      1       2       1       1       1       1        1       1      1
    827                              5       4      1       1       1       1       1       1        1       1      1
    834                              5       4      1       1       2       1       1       1        1       2      1


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                                                                  Data File

 responseid     q3_10      q3_11    q3_12   q3_13   q3_14   q4_1   q4_2    q4_3    q4_4    q5_1     q5_2    q5_3   q5_4
    673           1          2        1       2       2      2      2       2       2       0        0       0      0
    677           1          1        3       2       2      1      1       1       2       0        0       0      0
    683           1          2        2       1       2      1      1       2       2       0        0       1      1
    684           2          2        1       2       2      1      2       2       2       0        0       0      1
    686           1          1        1       2       2      1      2       2       2       0        0       0      0
    687           1          1        3       2       2      1      2       2       2       0        0       0      0
    689           1          1        1       2       2      1      1       1       2       1        0       0      0
    691           1          1        1       2       2      1      1       2       2       1        0       0      0
    697           1          1        2       2       2      1      2       2       2       0        0       0      0
    699           1          1        1       2       2      1      2       2       2       0        0       0      1
    703           1          1        1       2       2      1      1       2       2       0        0       0      0
    704           1          1        2       2       2      2      2       2       2       0        0       0      0
    708           1          2        1       2       2      1      1       2       3       0        0       0      1
    709           1          2        2       2       2      2      2       2       2       0        0       0      1
    715           1          1        1       2       2      2      2       2       2       0        0       0      1
    721           1          3        3       2       2      3      2       2       2       0        0       0      0
    723           1          1        1       2       2      1      1       1       2       1        0       0      1
    726           1          3        1       2       2      1      1       1       3       0        0       0      0
    733           1          1        1       2       2      1      2       2       3       0        0       0      1
    753           1          1        1       2       2      1      1       2       2       1        0       0      0
    763           1          1        1       2       2      2      2       2       2       1        0       0      0
    768           2          2        2       2       2      2      2       2       2       0        0       0      0
    772           1          1        1       2       2      1      2       2       2       0        0       0      0
    773           1          1        3       2       2      1      1       1       2       0        0       0      1
    779           1          1        1       2       2      1      1       1       2       1        0       0      1
    782           1          1        1       2       2      1      2       1       2       1        0       1      1
    784           1          1        1       2       2      1      2       2       2       0        0       0      0
    792           1          1        1       2       2      1      1       1       2       0        0       0      0
    798           1          1        1       2       2      2      2       2       2       0        0       0      1
    801           1          1        1       2       2      1      1       1       2       0        0       0      0
    803           1          1        3       2       2      1      2       2       3       1        0       0      0
    806           1          1        1       2       2      2      2       2       2       0        0       0      0
    808           1          1        2       2       2      2      2       2       2       0        0       0      0
    810           1          1        2       2       2      1      1       2       2       1        0       1      1
    815           1          1        1       2       2      2      2       2       2       1        0       1      0
    819           1          1        1       2       2      1      1       2       2       0        0       0      0
    821           1          1        1       2       2      1      2       2       2       1        0       1      1
    826           1          1        1       2       2      1      2       2       2       1        0       0      0
    827           1          1        2       2       2      1      1       1       2       0        0       0      0
    834           1          1        1       2       2      1      1       1       2       1        0       1      0


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 responseid     q5_5        q5_6    q5_7   q5_8    q5_9    q5_10   q5_11   q5_12   q5_13    q6
    673          1           1       0      0       0        0       0       0       0       1
    677          1           1       1      1       0        0       0       0       0       1
    683          1           0       0      1       1        0       0       0       0       1
    684          1           1       0      0       0        0       0       0       0       1
    686          1           1       1      1       0        1       1       0       0       1
    687          1           1       1      1       1        0       1       0       0       1
    689          1           1       1      1       0        1       1       0       0       1
    691          1           1       1      0       0        0       0       0       0       1
    697          1           1       1      1       0        1       0       0       0       1
    699          1           1       1      1       0        1       0       0       0       1
    703          1           1       1      1       0        1       1       0       0       1
    704          1           1       1      0       0        1       0       0       0       1
    708          1           1       0      1       0        1       0       0       0       1
    709          1           1       1      1       1        1       1       0       0       1
    715          1           1       1      1       0        1       1       0       0       1
    721          0           0       1      1       0        0       0       0       0       1
    723          1           1       0      1       0        1       0       0       0       1
    726          1           1       1      1       0        1       0       0       0       1
    733          1           1       1      1       0        1       1       0       0       1
    753          1           1       1      0       0        0       0       0       0       1
    763          1           1       0      1       0        0       1       0       0       1
    768          0           0       0      1       0        0       0       0       0       1
    772          1           1       1      0       0        0       0       0       0       1
    773          1           1       1      1       0        1       0       0       0       1
    779          1           1       1      1       1        1       1       0       0       1
    782          1           1       1      1       0        1       0       0       0       1
    784          1           1       1      1       0        0       0       0       0       1
    792          1           1       1      1       0        1       1       0       0       1
    798          1           0       0      1       0        1       0       0       0       1
    801          1           1       1      1       0        1       1       0       0       1
    803          1           1       1      0       0        0       0       0       0       1
    806          1           1       1      1       1        1       1       0       0       1
    808          1           1       1      1       0        1       1       0       0       1
    810          1           1       1      1       1        1       0       0       0       1
    815          1           1       1      1       0        1       1       0       0       1
    819          1           1       1      1       0        1       1       0       0       1
    821          1           1       1      0       1        1       1       0       0       1
    826          1           1       1      1       0        1       0       0       0       1
    827          1           1       1      1       0        0       0       0       0       1
    834          1           1       1      1       0        1       0       0       0       1


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 responseid    interview_end        qa   hidqregion   qb   qc    qd_1    qd_2    qd_3    qd_4       qd_5    qd_6   qd_7
    837       10/21/2017 10:42      OH       2         2   3      0       0       1       0          0       0      0
    838       10/21/2017 10:45      FL       3         2   3      0       0       1       0          0       0      0
    840       10/21/2017 11:03      GA       3         2   3      0       0       1       0          0       0      0
    844       10/21/2017 10:50      FL       3         2   4      0       0       1       0          0       0      0
    850       10/21/2017 10:55      CA       4         2   3      1       0       1       1          0       0      0
    853       10/21/2017 10:57      AZ       4         2   2      0       0       1       0          1       0      0
    856       10/21/2017 10:59      FL       3         2   2      0       0       1       0          0       0      0
    859       10/21/2017 11:11      NJ       1         2   2      0       0       1       0          0       0      0
    862       10/21/2017 11:12      PA       1         2   4      0       0       1       0          0       0      0
    879       10/21/2017 11:29      OR       4         2   2      1       0       1       0          0       0      0
    881       10/21/2017 11:30      MS       3         2   3      0       0       1       0          0       0      0
    886       10/21/2017 11:41      MI       2         2   3      0       0       1       0          0       0      0
    888       10/21/2017 11:36      GA       3         2   3      0       0       1       0          0       0      0
    892       10/21/2017 11:40      NY       1         2   2      0       0       1       0          0       0      0
    902       10/21/2017 11:51      FL       3         2   4      0       0       1       0          0       0      0
    913       10/21/2017 11:50      CA       4         2   2      0       0       1       0          0       0      0
    914       10/21/2017 11:54      TX       3         2   3      0       0       1       0          0       0      0
    923       10/21/2017 11:56      CA       4         2   2      0       0       1       0          0       0      0
    925       10/21/2017 12:01      CA       4         2   3      0       0       1       0          0       0      0
    930       10/21/2017 12:12      NY       1         2   2      0       0       1       0          0       0      0
    935       10/21/2017 12:14      NJ       1         2   4      0       0       1       0          0       0      0
    940       10/21/2017 12:15      NY       1         2   4      0       0       1       0          0       0      0
    946       10/21/2017 12:16      IN       2         2   4      0       0       1       0          0       0      0
    947       10/21/2017 12:18      OH       2         2   4      0       0       1       0          0       0      0
    948       10/21/2017 12:18      SC       3         2   2      0       0       1       0          0       0      0
    953       10/21/2017 12:53      GA       3         2   4      0       0       1       0          0       0      0
    954       10/21/2017 12:19      AK       4         2   2      0       0       1       0          0       0      0
    960       10/21/2017 12:28      VA       3         2   4      0       0       1       0          0       0      0
    962       10/21/2017 12:27      GA       3         2   4      0       0       1       0          0       0      0
    966       10/21/2017 12:31      PA       1         2   3      0       0       1       0          0       0      0
    967       10/21/2017 12:33      TN       3         2   3      0       0       1       0          0       0      0
    974       10/21/2017 12:37      CO       4         2   2      0       0       1       0          0       0      0
    977       10/21/2017 12:38      NY       1         2   2      0       0       1       0          0       0      0
    978       10/21/2017 12:41      NY       1         2   3      0       0       1       0          0       0      0
    980       10/21/2017 12:43      FL       3         2   2      0       0       1       0          0       0      0
    983       10/21/2017 12:47      OH       2         2   3      0       0       1       0          0       0      0
    984       10/21/2017 12:45      NC       3         2   3      0       0       1       0          0       0      0
    989       10/21/2017 12:45      CA       4         2   2      0       0       1       0          0       0      0
    991       10/21/2017 12:48      NC       3         2   3      0       0       1       0          0       0      0
    998       10/21/2017 12:55      NY       1         2   3      0       0       1       0          0       0      0


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 responseid     qd_8        qe_1    qe_2   qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1     qf_2    qf_3   qf_4
    837          0           1       1      1       1       1       1       0       0       1        1       1      1
    838          0           0       1      0       1       0       0       0       0       1        1       1      1
    840          0           1       1      0       1       0       1       0       0       1        1       1      1
    844          0           1       1      1       1       0       1       0       0       1        1       1      1
    850          0           1       1      0       1       1       1       0       0       1        1       1      1
    853          0           1       1      0       1       1       1       0       0       0        1       1      1
    856          0           1       1      1       1       0       0       0       0       1        1       1      1
    859          0           1       1      1       1       0       1       0       0       1        0       1      1
    862          0           0       1      1       1       1       1       0       0       0        1       1      1
    879          0           1       1      1       1       1       1       0       0       1        0       1      1
    881          0           0       1      1       1       0       0       0       0       0        0       1      1
    886          0           1       1      1       1       1       1       0       0       1        0       1      1
    888          0           0       1      0       1       0       0       0       0       1        1       1      1
    892          0           1       1      0       1       0       1       0       0       0        0       1      1
    902          0           1       1      1       1       1       1       0       0       1        1       1      1
    913          0           1       1      0       1       0       0       0       0       1        1       1      1
    914          0           0       1      0       1       0       1       0       0       0        1       1      1
    923          0           1       1      1       1       0       0       0       0       0        0       1      0
    925          0           0       1      1       1       1       1       0       0       1        1       1      1
    930          0           0       1      0       1       0       1       0       0       1        1       1      1
    935          0           0       1      0       1       0       1       0       0       1        1       1      1
    940          0           1       1      1       1       0       1       0       0       1        1       1      1
    946          0           0       1      1       1       1       1       0       0       1        0       1      1
    947          0           1       1      1       1       0       1       0       0       1        0       1      1
    948          0           1       1      1       1       1       1       0       0       0        1       1      1
    953          0           1       1      0       1       1       1       0       0       0        0       1      1
    954          0           1       1      1       1       1       1       0       0       0        1       1      1
    960          0           0       1      1       1       0       1       0       0       1        0       1      1
    962          0           1       1      0       1       1       0       0       0       0        0       1      1
    966          0           1       1      0       1       0       1       0       0       1        0       1      1
    967          0           1       1      0       1       0       1       0       0       0        1       1      1
    974          0           0       1      1       1       0       0       0       0       1        0       1      1
    977          0           1       1      1       1       0       1       0       0       1        1       1      1
    978          0           1       1      0       1       0       1       0       0       1        1       1      1
    980          0           1       1      1       1       0       1       0       0       1        1       1      1
    983          0           0       1      0       1       0       1       0       0       0        0       1      1
    984          0           1       1      0       1       0       1       0       0       1        0       1      1
    989          0           1       1      0       1       0       0       0       0       0        1       1      1
    991          0           1       1      1       1       1       1       0       0       1        0       1      1
    998          0           1       1      1       1       1       1       0       0       0        0       1      1


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                                                                  Data File

 responseid     qf_5        qf_6    qg_1   qg_2    qg_3    qg_4    qg_5    qh_1    qh_2    qh_3     qh_4        qi   qj
    837          0           0       1      1       1       0       0       2       2       2        2          1    2
    838          0           0       1      0       0       0       0       2       2       2        2          1    1
    840          0           0       1      0       0       0       0       2       2       2        2          1    2
    844          0           0       1      1       0       0       0       2       2       2        2          1    1
    850          0           0       1      1       1       0       0       2       2       2        2          1    1
    853          0           0       1      1       0       0       0       2       2       2        2          1    1
    856          0           0       1      1       0       0       0       2       2       2        2          1    2
    859          0           0       1      0       0       0       0       2       2       2        2          1    1
    862          0           0       1      0       0       0       0       2       2       2        2          1    1
    879          0           0       1      0       0       0       0       2       2       2        2          1    2
    881          0           0       1      1       1       0       0       2       2       2        2          1    1
    886          0           0       1      0       0       0       0       2       2       2        2          1    1
    888          0           0       1      0       1       0       0       2       2       2        2          1    2
    892          0           0       1      0       0       0       0       2       2       2        2          1    1
    902          0           0       1      0       1       0       0       2       2       2        2          1    1
    913          0           0       1      0       0       0       0       2       2       2        2          1    2
    914          0           0       1      0       0       0       0       2       2       2        2          1    1
    923          0           0       1      0       1       0       0       2       2       2        2          1    1
    925          0           0       1      0       0       0       0       2       2       2        2          1    1
    930          0           0       1      0       0       0       0       2       2       2        2          1    2
    935          0           0       1      1       0       0       0       2       2       2        2          1    1
    940          0           0       1      1       0       0       0       2       2       2        2          1    1
    946          0           0       1      0       0       0       0       2       2       2        2          1    1
    947          0           0       1      0       0       0       0       2       2       2        2          1    1
    948          0           0       1      1       1       0       0       2       2       2        2          1    2
    953          0           0       1      0       0       0       0       2       2       2        2          1    2
    954          0           0       1      1       0       0       0       2       2       2        2          1    1
    960          0           0       1      0       1       0       0       2       2       2        2          1    1
    962          0           0       1      1       1       0       0       2       2       2        2          1    1
    966          0           0       1      0       0       0       0       2       2       2        2          1    1
    967          0           0       1      0       0       0       0       2       2       2        2          1    1
    974          0           0       1      0       0       0       0       2       2       2        2          1    2
    977          0           0       1      0       0       0       0       2       2       2        2          1    1
    978          0           0       1      0       0       0       0       2       2       2        2          1    2
    980          0           0       1      1       1       0       0       2       2       2        2          1    2
    983          0           0       1      1       0       0       0       2       2       2        2          1    2
    984          0           0       1      1       1       0       0       2       2       2        2          1    1
    989          0           0       1      1       0       0       0       2       2       2        2          1    1
    991          0           0       1      0       0       0       0       2       2       2        2          1    1
    998          0           0       1      1       0       0       0       2       2       2        2          1    1


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                                                                  Data File

 responseid      qk           ql    q1      q2     q3_1    q3_2    q3_3    q3_4    q3_5    q3_6     q3_7    q3_8   q3_9
    837                              4       5      1       2       1       1       1       1        1       1      1
    838           1                  5       4      1       2       1       2       1       1        1       1      1
    840                              5       4      2       2       1       1       1       1        1       1      1
    844           1                  5       3      1       1       2       1       1       1        1       1      1
    850           2           1      5       5      1       1       1       1       1       1        1       1      1
    853           1                  2       2      1       1       1       1       1       1        1       1      1
    856                              5       4      1       1       1       1       1       1        1       1      2
    859           1                  3       6      2       1       1       1       3       2        1       1      2
    862           2           1      5       4      2       1       1       1       1       1        1       1      1
    879                              3       2      1       1       1       1       1       1        1       1      1
    881           1                  5       4      1       1       1       1       1       1        1       1      1
    886           1                  5       1      1       1       1       1       1       1        1       1      1
    888                              5       3      3       1       1       1       1       1        1       1      1
    892           1                  5       4      1       1       1       1       1       1        1       2      1
    902           1                  4       3      1       1       1       1       1       3        1       1      1
    913                              4       6      1       1       1       1       1       1        1       1      1
    914           1                  5       4      1       1       1       1       1       1        1       1      1
    923           1                  3       5      2       1       1       1       1       1        1       2      1
    925           1                  4       3      1       1       1       1       1       1        1       1      1
    930                              4       3      2       2       1       1       1       1        1       1      1
    935           1                  5       4      2       2       2       2       2       2        2       2      2
    940           1                  5       3      1       1       1       1       1       1        1       1      1
    946           1                  5       4      2       1       1       1       1       1        1       1      1
    947           1                  4       5      3       3       3       3       1       1        1       1      1
    948                              5       3      1       1       1       2       1       1        1       1      1
    953                              4       3      1       3       1       1       1       3        1       1      1
    954           2           1      5       5      1       1       1       1       1       1        2       2      1
    960           1                  5       3      2       2       2       2       1       1        1       1      1
    962           1                  4       3      2       1       1       1       1       1        1       1      1
    966           1                  5       4      2       1       1       1       1       1        1       1      1
    967           1                  6       3      1       1       1       1       1       1        1       1      1
    974                              5       3      1       1       1       1       1       2        1       1      1
    977           1                  5       1      1       1       1       1       1       1        1       1      1
    978                              5       4      1       1       1       1       1       1        1       1      1
    980                              5       5      2       1       1       1       1       1        1       1      1
    983                              4       4      1       2       1       1       1       1        1       1      1
    984           1                  5       1      1       1       1       1       1       1        1       1      1
    989           1                  2       3      1       1       1       1       1       1        1       1      1
    991           1                  5       4      2       2       2       2       1       2        1       2      1
    998           2           1      5       4      2       2       2       2       1       1        1       3      1


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                                                                  Data File

 responseid     q3_10      q3_11    q3_12   q3_13   q3_14   q4_1   q4_2    q4_3    q4_4    q5_1     q5_2    q5_3   q5_4
    837           1          2        1       2       2      1      2       2       2       1        0       1      1
    838           1          1        1       2       2      1      2       2       2       1        0       0      0
    840           1          1        1       2       2      1      1       2       2       1        0       0      1
    844           1          1        1       2       2      2      2       2       2       1        0       0      0
    850           1          1        1       2       2      1      1       1       2       1        0       1      1
    853           1          1        1       2       2      1      2       2       2       0        0       0      1
    856           1          1        1       2       2      1      1       1       3       0        0       0      0
    859           1          1        3       1       2      2      1       1       2       1        1       0      0
    862           1          1        3       2       2      1      1       1       2       0        0       0      1
    879           3          1        1       2       2      1      1       1       2       1        0       1      0
    881           1          1        1       3       2      1      1       1       2       0        0       0      0
    886           1          1        2       2       2      1      1       2       3       1        0       0      0
    888           1          1        2       2       2      1      1       3       2       0        0       0      1
    892           1          2        2       2       2      1      2       1       2       0        0       1      0
    902           1          1        3       2       2      1      1       1       2       1        0       0      0
    913           1          1        1       1       2      1      2       2       2       1        0       0      1
    914           1          1        2       2       2      1      1       1       3       0        0       0      1
    923           2          2        1       2       2      2      2       1       2       0        0       1      1
    925           1          3        1       2       2      2      2       2       3       1        0       0      1
    930           1          1        1       2       2      1      1       2       2       0        0       0      0
    935           2          2        2       2       2      2      2       2       2       1        0       0      0
    940           1          1        3       2       2      1      1       3       2       1        0       0      0
    946           1          1        1       2       2      2      1       1       2       1        0       0      0
    947           1          1        1       2       3      2      2       2       3       1        0       0      0
    948           1          2        2       2       2      1      1       2       2       0        0       0      1
    953           2          3        1       2       2      2      2       2       3       0        0       0      0
    954           1          1        2       2       2      1      1       1       2       0        0       0      1
    960           1          1        2       2       2      2      2       2       2       0        0       1      0
    962           1          1        1       2       2      1      2       2       2       1        0       0      0
    966           1          1        2       2       2      1      2       2       2       1        0       0      0
    967           1          1        2       2       2      1      1       2       3       0        0       0      0
    974           1          1        2       2       2      1      2       2       2       0        0       0      0
    977           2          2        1       2       2      1      1       2       2       0        0       0      1
    978           1          1        1       2       2      1      1       1       2       1        0       0      1
    980           1          1        1       2       2      1      1       1       3       1        0       0      1
    983           1          1        1       2       2      2      2       2       2       0        0       0      0
    984           1          3        1       2       2      1      1       1       2       0        0       0      1
    989           1          1        1       2       2      1      1       2       2       0        0       0      0
    991           1          2        1       2       2      2      2       2       2       1        1       1      0
    998           1          1        1       2       2      2      2       2       2       0        0       0      1


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 responseid     q5_5        q5_6    q5_7   q5_8    q5_9    q5_10   q5_11   q5_12   q5_13    q6
    837          1           1       1      1       1        1       1       0       0       1
    838          1           1       0      0       0        1       0       0       0       1
    840          1           1       1      1       1        1       0       0       0       1
    844          1           1       1      1       0        1       0       0       0       1
    850          1           1       1      1       1        0       0       0       0       1
    853          1           1       1      1       0        1       0       0       0       1
    856          1           1       1      1       0        1       1       0       0       1
    859          1           1       1      0       0        0       0       0       0       1
    862          1           1       1      1       0        0       1       0       0       1
    879          1           1       1      1       0        1       1       0       0       1
    881          1           1       1      0       0        0       0       0       0       1
    886          0           1       1      0       0        1       0       0       0       1
    888          1           1       1      1       0        1       0       0       0       1
    892          1           1       1      1       0        1       0       0       0       1
    902          1           1       1      0       1        0       0       0       0       1
    913          1           1       0      0       0        1       1       0       0       1
    914          1           1       1      1       0        1       1       0       0       1
    923          1           0       0      0       0        0       0       0       0       1
    925          1           1       1      1       0        0       0       0       0       1
    930          0           0       1      1       0        1       0       0       0       1
    935          1           1       1      1       0        1       1       0       0       1
    940          1           1       1      0       0        0       0       0       0       1
    946          1           1       1      1       0        1       1       0       0       1
    947          1           1       0      0       0        0       0       0       0       1
    948          1           1       1      1       1        1       0       0       0       1
    953          1           1       1      0       0        0       1       0       0       1
    954          1           0       1      0       0        0       0       0       0       1
    960          1           1       1      1       0        0       0       0       0       1
    962          1           1       1      1       0        0       1       0       0       1
    966          1           1       1      1       0        1       1       0       0       1
    967          1           1       1      1       0        0       0       0       0       1
    974          1           1       1      1       1        0       0       0       0       1
    977          1           1       0      1       0        1       0       0       0       1
    978          1           1       1      1       0        1       1       0       0       1
    980          1           1       1      1       1        1       0       0       0       1
    983          1           1       0      1       0        1       1       0       0       1
    984          1           1       1      0       0        0       0       0       0       1
    989          1           1       1      1       0        1       0       0       0       1
    991          1           1       1      1       0        1       1       0       0       1
    998          1           1       1      1       0        1       1       0       0       1


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 responseid    interview_end        qa   hidqregion   qb   qc    qd_1    qd_2    qd_3    qd_4       qd_5    qd_6   qd_7
    1000      10/21/2017 12:58      CT       1         2   2      0       1       1       0          0       0      0
    1005      10/21/2017 13:03      SC       3         2   3      0       0       1       0          0       0      0
    1009      10/21/2017 13:06      CA       4         2   3      0       0       1       0          0       0      0
    1011      10/21/2017 13:10      TX       3         2   3      0       0       1       0          0       0      0
    1014      10/21/2017 13:11      LA       3         2   3      0       0       1       0          0       0      0
    1018      10/21/2017 13:19      CT       1         2   3      0       0       1       0          0       0      0
    1028      10/21/2017 13:20      NC       3         2   3      0       0       1       0          0       0      0
    1037      10/21/2017 13:28      GA       3         2   4      0       0       1       0          0       0      0
    1039      10/21/2017 13:25      SC       3         2   3      0       0       1       0          0       0      0
    1047      10/21/2017 13:33      WA       4         2   3      0       0       1       1          0       0      0
    1048      10/21/2017 14:18      AR       3         2   3      0       0       1       0          0       0      0
    1050      10/21/2017 13:36      IL       2         2   2      0       0       1       0          0       0      0
    1055      10/21/2017 13:39      FL       3         2   4      0       0       1       0          0       0      0
    1057      10/21/2017 13:39      DE       3         2   2      0       0       1       0          0       0      0
    1063      10/21/2017 13:46      TX       3         2   4      0       0       1       0          0       0      0
    1071      10/21/2017 13:54      MD       3         2   4      0       0       1       0          0       0      0
    1073      10/21/2017 13:56      FL       3         2   3      0       0       1       0          0       0      0
    1074      10/21/2017 13:54      LA       3         2   4      0       0       1       0          0       0      0
    1076      10/21/2017 13:58      VA       3         2   3      0       0       1       0          0       0      0
    1077      10/21/2017 14:16      OH       2         2   3      0       0       1       0          0       0      0
    1078      10/21/2017 14:09      NY       1         2   2      0       0       1       0          0       0      0
    1092      10/21/2017 14:23      CA       4         2   3      0       0       1       0          0       0      0
    1093      10/21/2017 14:27      NY       1         2   3      0       0       1       0          0       0      0
    1094      10/21/2017 14:26      CA       4         2   3      0       0       1       0          0       0      0
    1095      10/21/2017 14:27      MD       3         2   4      0       0       1       0          0       0      0
    1102      10/21/2017 14:30      NC       3         2   3      0       0       1       0          0       0      0
    1108      10/21/2017 14:34      TX       3         2   3      0       0       1       0          0       0      0
    1110      10/21/2017 14:39      PA       1         2   3      0       0       1       0          0       0      0
    1111      10/21/2017 14:42      SC       3         2   3      0       0       1       0          0       0      0
    1118      10/21/2017 14:44      IL       2         2   3      0       0       1       0          0       0      0
    1122      10/21/2017 14:53      MA       1         2   3      0       0       1       0          0       0      0
    1136      10/21/2017 15:06      FL       3         2   4      0       0       1       0          0       0      0
    1137      10/21/2017 15:13      GA       3         2   4      0       0       1       0          0       0      0
    1140      10/21/2017 15:11      LA       3         2   3      0       0       1       0          0       0      0
    1141      10/21/2017 15:18      SC       3         2   3      0       0       1       0          0       0      0
    1143      10/21/2017 15:15      SC       3         2   2      0       0       1       0          0       0      0
    1148      10/21/2017 15:16      NY       1         2   4      0       0       1       0          0       0      0
    1149      10/21/2017 15:17      PA       1         2   4      0       0       1       0          0       0      0
    1154      10/21/2017 15:21      WI       2         2   3      0       0       1       0          0       0      0
    1174      10/21/2017 15:33      CA       4         2   2      0       0       1       0          0       0      0


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 responseid     qd_8        qe_1    qe_2   qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1     qf_2    qf_3   qf_4
    1000         0           1       1      1       1       1       1       0       0       1        1       1      1
    1005         0           1       1      1       1       0       1       0       0       1        1       1      1
    1009         0           1       1      1       1       0       1       0       0       1        1       1      1
    1011         0           1       1      1       1       1       1       0       0       0        0       1      1
    1014         0           1       1      0       0       1       0       0       0       1        0       1      1
    1018         0           1       1      0       1       0       1       0       0       1        1       1      1
    1028         0           1       1      1       1       0       1       0       0       1        0       1      1
    1037         0           1       1      0       1       1       1       0       0       1        1       1      1
    1039         0           1       1      1       1       0       1       0       0       1        0       1      1
    1047         0           1       1      1       1       1       1       0       0       1        0       1      1
    1048         0           1       1      0       1       0       0       0       0       1        1       1      1
    1050         0           0       1      0       1       0       1       0       0       1        1       1      1
    1055         0           1       1      1       1       0       0       0       0       0        0       1      0
    1057         0           1       1      0       1       1       1       0       0       0        0       1      1
    1063         0           0       1      0       1       0       1       0       0       1        0       1      0
    1071         0           1       1      1       1       0       1       0       0       0        0       1      1
    1073         0           1       1      1       1       1       1       0       0       1        1       1      1
    1074         0           0       1      1       1       0       1       0       0       0        0       1      1
    1076         0           1       1      0       1       1       1       0       0       0        0       1      1
    1077         0           0       1      0       1       0       1       0       0       0        1       1      1
    1078         0           1       1      0       1       0       0       0       0       0        1       1      1
    1092         0           1       1      1       1       1       1       0       0       0        0       1      1
    1093         0           1       1      1       1       0       1       0       0       1        1       1      1
    1094         0           1       1      1       1       0       0       0       0       0        1       1      1
    1095         0           1       1      0       1       0       1       0       0       0        0       1      1
    1102         0           1       1      0       0       0       1       0       0       0        0       1      1
    1108         0           0       1      0       1       0       0       0       0       0        1       1      1
    1110         0           0       1      0       1       1       0       0       0       1        1       1      1
    1111         0           1       1      0       1       0       1       0       0       0        1       1      1
    1118         0           1       1      1       1       1       1       0       0       1        1       1      1
    1122         0           1       1      1       1       0       0       0       0       1        1       1      1
    1136         0           1       1      0       1       0       0       0       0       1        0       1      1
    1137         0           1       1      1       1       1       1       0       0       0        1       1      1
    1140         0           1       1      1       1       0       1       0       0       0        0       1      1
    1141         0           1       1      1       1       0       0       0       0       1        1       1      1
    1143         0           1       1      1       1       1       1       0       0       0        0       1      1
    1148         0           0       1      1       1       0       1       0       0       0        0       1      1
    1149         0           0       1      0       1       0       0       0       0       1        0       1      1
    1154         0           1       1      1       1       1       1       0       0       1        1       1      1
    1174         0           0       1      0       1       0       0       0       0       0        0       1      1


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 responseid     qf_5        qf_6    qg_1    qg_2    qg_3    qg_4    qg_5    qh_1    qh_2   qh_3       qh_4      qi   qj
    1000         0           0       1       1       1       0       0       2       2      2          2        1    2
    1005         0           0       1       0       1       0       0       2       2      2          2        1    2
    1009         0           0       1       0       0       0       0       2       2      2          2        1    2
    1011         0           0       1       0       0       0       0       2       2      2          2        1    1
    1014         0           0       1       0       0       0       0       2       2      2          2        1    1
    1018         0           0       1       0       1       0       0       2       2      2          2        1    2
    1028         0           0       1       1       0       0       0       2       2      2          2        1    2
    1037         0           0       1       1       0       0       0       2       2      2          2        1    1
    1039         0           0       1       1       0       0       0       2       2      2          2        1    2
    1047         0           0       1       0       0       0       0       2       2      2          2        1    1
    1048         0           0       1       0       0       0       0       2       2      2          2        1    1
    1050         0           0       1       1       0       0       0       2       2      2          2        1    1
    1055         0           0       1       0       0       0       0       2       2      2          2        1    2
    1057         0           0       1       1       1       0       0       2       2      2          2        1    1
    1063         0           0       1       0       0       0       0       2       2      2          2        1    2
    1071         0           0       1       1       0       0       0       2       2      2          2        1    2
    1073         0           0       1       1       0       0       0       2       2      2          2        1    2
    1074         0           0       1       0       0       0       0       2       2      2          2        1    2
    1076         0           0       1       0       0       0       0       2       2      2          2        1    1
    1077         0           0       1       0       0       0       0       2       2      2          2        1    1
    1078         0           0       1       0       1       0       0       2       2      2          2        1    2
    1092         0           0       1       0       0       0       0       2       2      2          2        1    2
    1093         0           0       1       0       0       0       0       2       2      2          2        1    1
    1094         0           0       1       0       0       0       0       2       2      2          2        1    2
    1095         0           0       1       1       1       0       0       2       2      2          2        1    2
    1102         0           0       1       1       0       0       0       2       2      2          2        1    2
    1108         0           0       1       1       0       0       0       2       2      2          2        1    1
    1110         0           0       1       0       0       0       0       2       2      2          2        1    1
    1111         0           0       1       0       0       0       0       2       2      2          2        1    1
    1118         0           0       1       1       1       0       0       2       2      2          2        1    1
    1122         0           0       1       0       0       0       0       2       2      2          2        1    1
    1136         0           0       1       1       0       0       0       2       2      2          2        1    1
    1137         0           0       1       1       1       0       0       2       2      2          2        1    1
    1140         0           0       1       0       0       0       0       2       2      2          2        1    1
    1141         0           0       1       0       0       0       0       2       2      2          2        1    1
    1143         0           0       1       1       0       0       0       2       2      2          2        1    2
    1148         0           0       1       0       0       0       0       2       2      2          2        1    1
    1149         0           0       1       1       0       0       0       2       2      2          2        1    1
    1154         0           0       1       1       1       0       0       2       2      2          2        1    2
    1174         0           0       1       0       0       0       0       2       2      2          2        1    1


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 responseid      qk           ql     q1     q2      q3_1    q3_2    q3_3    q3_4    q3_5    q3_6      q3_7      q3_8   q3_9
    1000                              4      3       1       1       1       1       1       1         1         1      1
    1005                              5      4       1       1       1       1       1       1         1         1      1
    1009                              5      3       1       2       1       1       1       1         1         1      1
    1011          2           1       5      4       2       2       1       2       1       1         1         1      1
    1014          1                   5      4       1       1       1       2       1       1         1         1      1
    1018                              5      1       3       1       1       1       1       1         1         1      1
    1028                              5      5       1       1       1       1       1       1         1         1      1
    1037          1                   2      2       1       1       1       3       1       1         1         1      1
    1039                              5      5       1       1       1       1       1       1         1         1      1
    1047          1                   5      2       1       1       1       1       1       1         1         1      1
    1048          1                   6      4       1       3       1       1       1       1         1         1      1
    1050          1                   5      2       3       2       1       1       1       1         1         1      1
    1055                              3      3       2       2       2       1       1       1         1         1      1
    1057          1                   5      5       1       1       1       1       1       1         1         1      1
    1063                              4      7       1       1       1       1       1       1         1         1      1
    1071                              5      3       2       2       1       1       1       1         1         1      1
    1073                              5      4       1       1       1       1       1       1         2         1      1
    1074                              4      4       1       3       1       1       1       1         1         3      1
    1076          1                   5      1       1       1       1       1       1       1         1         1      1
    1077          1                   5      4       1       1       1       1       1       1         1         1      1
    1078                              5      3       1       1       1       1       1       1         1         1      1
    1092                              5      4       1       1       1       1       1       1         1         1      1
    1093          1                   5      5       1       2       1       1       1       1         1         1      1
    1094                              5      4       1       2       1       1       1       1         1         2      1
    1095                              5      4       2       1       1       1       1       2         1         1      1
    1102                              5      3       1       1       1       1       1       1         1         1      1
    1108          1                   5      3       1       1       1       1       1       1         1         1      1
    1110          1                   5      3       1       1       1       1       1       2         1         1      1
    1111          1                   5      4       1       1       1       1       1       1         1         1      1
    1118          1                   5      5       1       2       1       2       1       1         1         1      1
    1122          2           1       5      3       1       1       1       1       1       1         1         1      1
    1136          1                   3      4       2       2       1       1       1       1         1         1      1
    1137          1                   5      5       1       2       1       2       1       1         1         1      1
    1140          1                   5      4       1       1       1       1       1       1         1         1      1
    1141          1                   5      4       1       1       1       1       1       1         1         1      1
    1143                              4      5       2       2       2       2       1       1         1         1      1
    1148          1                   5      3       2       2       1       1       1       1         1         1      1
    1149          1                   3      5       1       1       1       1       1       1         1         1      1
    1154                              5      5       1       1       1       1       1       1         1         1      1
    1174          1                   5      3       1       1       1       1       1       1         1         1      1


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 responseid     q3_10      q3_11    q3_12   q3_13   q3_14   q4_1    q4_2    q4_3    q4_4    q5_1      q5_2      q5_3   q5_4
    1000          1          1        3       2       2      1       1       2       2       1         0         0      0
    1005          1          1        3       2       2      1       2       2       2       0         0         0      1
    1009          1          1        1       2       2      1       1       1       2       0         0         0      1
    1011          1          1        1       2       2      2       2       2       2       0         0         0      0
    1014          1          1        3       2       2      1       2       2       2       1         1         0      0
    1018          1          2        2       2       2      1       3       3       2       1         0         0      1
    1028          1          3        1       2       2      1       1       1       2       1         0         0      0
    1037          1          2        2       2       2      1       3       2       2       0         0         0      0
    1039          1          1        1       2       2      1       1       1       2       0         0         0      0
    1047          1          1        2       2       2      2       1       1       2       0         0         0      0
    1048          1          1        1       2       2      1       2       2       2       1         0         0      0
    1050          1          1        3       2       2      1       3       2       2       0         0         0      1
    1055          1          2        1       2       2      2       2       1       2       0         0         0      0
    1057          1          1        1       2       2      1       2       2       2       0         0         0      0
    1063          1          3        3       2       2      2       3       3       2       0         0         0      0
    1071          1          1        1       2       2      2       2       2       2       0         0         0      0
    1073          1          1        1       2       2      2       1       1       2       0         0         0      0
    1074          1          1        3       2       2      1       2       2       2       0         0         0      0
    1076          1          1        3       2       2      1       2       2       2       0         0         0      0
    1077          1          1        3       2       2      1       1       1       2       0         0         0      1
    1078          1          1        1       2       2      1       1       2       2       0         0         0      0
    1092          1          1        2       2       2      1       2       2       2       0         0         0      0
    1093          2          2        1       2       2      1       1       2       2       1         0         0      1
    1094          1          1        1       2       2      1       2       2       2       1         1         0      0
    1095          1          1        1       2       2      1       1       2       3       0         0         0      0
    1102          1          1        1       1       1      2       2       2       2       1         0         0      0
    1108          1          1        1       2       2      1       2       2       2       0         0         0      1
    1110          1          1        1       2       2      1       1       1       2       1         0         0      1
    1111          1          1        3       2       2      1       1       2       2       0         0         0      0
    1118          1          1        1       2       2      2       2       2       2       1         0         1      1
    1122          1          1        1       2       2      1       1       1       2       0         0         0      1
    1136          1          2        1       2       2      2       2       2       2       1         0         0      0
    1137          1          1        1       2       2      2       2       2       3       0         0         0      0
    1140          1          1        1       2       2      1       1       1       3       0         0         0      0
    1141          1          2        3       2       2      1       1       1       2       0         0         0      1
    1143          1          1        1       2       2      1       2       2       2       0         0         0      0
    1148          1          1        2       2       2      2       2       2       2       1         0         0      0
    1149          1          1        1       2       2      1       1       2       2       1         0         0      1
    1154          1          1        1       2       2      1       2       2       2       1         1         1      1
    1174          1          1        3       2       2      1       1       2       2       0         0         0      1


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 responseid     q5_5        q5_6    q5_7    q5_8    q5_9   q5_10   q5_11   q5_12   q5_13    q6
    1000         1           1       1       1       0       1       1       0       0       1
    1005         1           1       1       1       0       1       1       0       0       1
    1009         1           1       1       1       1       1       1       0       0       1
    1011         1           1       1       0       0       1       1       0       0       1
    1014         1           1       1       1       0       1       1       0       0       1
    1018         1           1       1       1       0       1       1       0       0       1
    1028         1           1       1       0       1       0       1       0       0       1
    1037         1           1       0       0       0       0       0       0       0       1
    1039         1           1       0       0       0       0       1       0       0       1
    1047         1           1       1       1       1       1       1       0       0       1
    1048         1           1       1       1       0       1       1       0       0       1
    1050         1           1       1       1       0       0       0       0       0       1
    1055         1           1       1       0       0       0       0       0       0       1
    1057         1           1       1       1       0       1       0       0       0       1
    1063         0           0       1       0       0       0       0       0       0       1
    1071         1           1       1       1       0       1       1       0       0       1
    1073         1           1       1       0       0       1       0       0       0       1
    1074         1           0       1       0       0       0       0       0       0       1
    1076         1           1       1       0       0       0       0       0       0       1
    1077         1           1       1       0       0       1       0       0       0       1
    1078         1           1       1       0       0       1       0       0       0       1
    1092         1           1       1       1       0       0       0       0       0       1
    1093         1           1       1       1       0       1       1       0       0       1
    1094         1           1       0       1       1       1       1       0       0       1
    1095         1           1       1       1       1       0       1       0       0       1
    1102         1           1       1       1       0       1       0       0       0       1
    1108         1           1       1       1       0       1       1       0       0       1
    1110         1           1       1       0       0       1       0       0       0       1
    1111         1           1       1       1       0       1       0       0       0       1
    1118         1           1       1       1       1       1       1       0       0       1
    1122         1           1       1       1       1       0       0       0       0       1
    1136         1           1       1       1       0       0       1       0       0       1
    1137         1           1       1       0       0       0       0       0       0       1
    1140         1           1       1       1       0       1       0       0       0       1
    1141         1           1       0       0       0       0       0       0       0       1
    1143         1           1       1       1       0       1       1       0       0       1
    1148         1           1       0       0       0       0       0       0       0       1
    1149         1           1       1       1       0       1       1       0       0       1
    1154         1           1       1       1       1       1       1       0       0       1
    1174         1           1       1       1       0       1       0       0       0       1


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 responseid     interview_end       qa   hidqregion   qb   qc    qd_1    qd_2    qd_3    qd_4    qd_5      qd_6   qd_7
    1187      10/21/2017 15:54      GA       3         2   3      0       0       1       0       0         0      0
    1192      10/21/2017 15:44      AL       3         2   3      0       0       1       0       0         0      0
    1198      10/21/2017 15:46      IL       2         2   3      0       0       1       0       0         0      0
    1199      10/21/2017 15:45      VA       3         2   4      0       0       1       0       0         0      0
    1202      10/21/2017 15:51      MA       1         2   3      0       0       1       0       0         0      0
    1204      10/21/2017 15:51      LA       3         2   3      0       0       1       0       0         0      0
    1206       10/22/2017 2:07      CA       4         2   2      0       0       1       0       0         0      0
    1207       10/22/2017 2:13      SC       3         2   2      0       0       1       0       0         0      0
    1209       10/22/2017 2:15      NV       4         2   3      0       0       1       0       0         0      0
    1210       10/22/2017 2:15      TX       3         2   2      0       0       1       0       0         0      0
    1214       10/22/2017 2:33      RI       1         2   2      1       0       1       0       0         0      0
    1231       10/22/2017 4:59      NC       3         2   3      0       0       1       0       0         0      0
    1234       10/22/2017 5:17      AR       3         2   3      0       0       1       0       0         0      0
    1235       10/22/2017 5:18      FL       3         2   3      0       0       1       0       0         0      0
    1239       10/22/2017 5:41      PA       1         2   3      0       0       1       0       0         0      0
    1262       10/22/2017 7:10      VA       3         2   3      0       0       1       0       0         0      0
    1272       10/22/2017 7:37      NV       4         2   4      0       0       1       0       0         0      0
    1281       10/22/2017 7:41      SC       3         2   3      0       0       1       0       0         0      0
    1284       10/22/2017 7:45      LA       3         2   3      0       0       1       0       0         0      0
    1285       10/22/2017 7:41      GA       3         2   3      0       0       1       0       0         0      0
    1286       10/22/2017 7:44      IL       2         2   4      0       0       1       0       0         0      0
    1289       10/22/2017 7:45      CA       4         2   3      0       0       1       0       0         0      0
    1298       10/22/2017 7:54      NJ       1         2   3      0       0       1       0       0         0      0
    1302       10/22/2017 8:01      GA       3         2   2      0       0       1       0       0         0      0
    1303       10/22/2017 7:54      OH       2         2   3      0       0       1       0       0         0      0
    1304       10/22/2017 7:56      NY       1         2   2      0       0       1       0       0         0      0
    1305       10/22/2017 7:59      VA       3         2   2      0       0       1       0       0         0      0
    1311       10/22/2017 8:16      KY       3         2   4      0       0       1       0       0         0      0
    1314       10/22/2017 8:13      SC       3         2   2      0       0       1       0       0         0      0
    1323       10/22/2017 8:22      WV       3         2   3      0       0       1       0       0         0      0
    1328       10/22/2017 8:28      IN       2         2   3      0       0       1       0       0         0      0
    1336       10/22/2017 8:43      MI       2         2   3      0       0       1       0       0         0      0
    1342       10/22/2017 8:39      DE       3         2   4      0       0       1       0       0         0      0
    1343       10/22/2017 8:38      MS       3         2   2      0       0       1       0       0         0      0
    1347       10/22/2017 8:39      CA       4         2   3      0       0       1       0       0         0      0
    1358       10/22/2017 8:50      PA       1         2   2      0       0       1       0       0         0      0
    1364       10/22/2017 9:03      OH       2         2   3      0       0       1       0       0         0      0
    1365       10/22/2017 9:01      AR       3         2   2      0       0       1       0       0         0      0
    1366       10/22/2017 9:02      MI       2         2   2      0       0       1       0       0         0      0
    1368       10/22/2017 9:02      FL       3         2   3      0       0       1       0       0         0      0


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 responseid     qd_8        qe_1    qe_2    qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1      qf_2      qf_3   qf_4
    1187         0           1       1       0       1       0       1       0       0       1         1         1      1
    1192         0           1       1       0       1       0       0       0       0       0         0         1      1
    1198         0           1       1       0       1       0       1       0       0       0         1         1      1
    1199         0           1       1       1       1       1       1       0       0       1         0         1      1
    1202         0           1       1       0       1       0       1       0       0       0         0         1      1
    1204         0           1       1       1       1       0       1       0       0       0         0         1      0
    1206         0           1       1       0       1       0       0       0       0       0         0         1      1
    1207         0           1       1       0       1       0       1       0       0       1         1         1      0
    1209         0           1       1       1       1       1       1       0       0       1         1         1      1
    1210         0           1       1       1       1       1       0       0       0       0         1         1      1
    1214         0           1       1       0       1       0       1       0       0       0         0         1      1
    1231         0           0       1       0       1       0       0       0       0       0         0         1      1
    1234         0           1       1       1       1       1       1       0       0       0         1         1      1
    1235         0           0       1       1       0       1       0       0       0       0         1         1      1
    1239         0           1       1       1       0       0       0       0       0       1         0         1      1
    1262         0           0       1       0       1       0       1       0       0       1         0         1      1
    1272         0           1       1       1       1       1       1       0       0       1         0         1      1
    1281         0           1       1       0       1       1       1       0       0       1         1         1      1
    1284         0           1       1       1       1       0       1       0       0       1         0         1      1
    1285         0           1       1       0       1       0       1       0       0       1         1         1      1
    1286         0           1       1       0       1       0       1       0       0       1         1         1      1
    1289         0           1       1       0       1       0       1       0       0       1         1         1      1
    1298         0           1       1       0       1       0       1       0       0       1         0         1      1
    1302         0           1       1       0       1       1       1       0       0       0         1         1      1
    1303         0           1       1       0       1       1       0       0       0       1         0         1      1
    1304         0           1       1       1       1       1       1       0       0       1         1         1      1
    1305         0           1       1       1       1       0       1       0       0       1         0         1      1
    1311         0           0       1       1       1       0       0       0       0       0         0         1      1
    1314         0           1       1       1       1       1       0       0       0       1         1         1      1
    1323         0           1       1       1       1       0       1       0       0       1         0         1      1
    1328         0           1       1       0       1       1       1       0       0       0         1         1      1
    1336         0           1       1       1       1       1       1       0       0       1         1         1      1
    1342         0           1       1       1       1       1       1       0       0       1         0         1      1
    1343         0           0       1       1       1       0       1       0       0       1         0         1      1
    1347         0           1       1       0       1       0       0       0       0       1         1         1      1
    1358         0           1       1       0       1       0       1       0       0       1         1         1      1
    1364         0           1       1       1       1       0       1       0       0       0         0         1      1
    1365         0           1       1       0       1       0       0       0       0       0         1         1      1
    1366         0           1       1       1       1       1       1       0       0       0         1         1      1
    1368         0           1       1       1       1       1       1       0       0       1         1         1      1


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 responseid     qf_5        qf_6    qg_1    qg_2    qg_3    qg_4    qg_5    qh_1    qh_2   qh_3       qh_4      qi   qj
    1187         0           0       1       1       1       0       0       2       2      2          2        1    2
    1192         0           0       1       0       0       0       0       2       2      2          2        1    1
    1198         0           0       1       0       0       0       0       2       2      2          2        1    1
    1199         0           0       1       0       0       0       0       2       2      2          2        1    2
    1202         0           0       1       1       0       0       0       2       2      2          2        1    1
    1204         0           0       1       0       0       0       0       2       2      2          2        1    1
    1206         0           0       1       1       0       0       0       2       2      2          2        1    2
    1207         0           0       1       0       0       0       0       2       2      2          2        1    1
    1209         0           0       1       1       1       0       0       2       2      2          2        1    2
    1210         0           0       1       0       0       0       0       2       2      2          2        1    2
    1214         0           0       1       0       0       0       0       2       2      2          2        1    2
    1231         0           0       1       1       0       0       0       2       2      2          2        1    2
    1234         0           0       1       1       1       0       0       2       2      2          2        1    1
    1235         0           0       1       0       0       0       0       2       2      2          2        1    1
    1239         0           0       1       0       0       0       0       2       2      2          2        1    1
    1262         0           0       1       0       0       0       0       2       2      2          2        1    2
    1272         0           0       1       0       0       0       0       2       2      2          2        1    1
    1281         0           0       1       1       0       0       0       2       2      2          2        1    2
    1284         0           0       1       0       0       0       0       2       2      2          2        1    2
    1285         0           0       1       0       0       0       0       2       2      2          2        1    1
    1286         0           0       1       0       0       0       0       2       2      2          2        1    2
    1289         0           0       1       1       0       0       0       2       2      2          2        1    1
    1298         0           0       1       0       0       0       0       2       2      2          2        1    1
    1302         0           0       1       1       1       0       0       2       2      2          2        1    1
    1303         0           0       1       1       0       0       0       2       2      2          2        1    2
    1304         0           0       1       0       0       0       0       2       2      2          2        1    2
    1305         0           0       1       1       0       0       0       2       2      2          2        1    2
    1311         0           0       1       1       0       0       0       2       2      2          2        1    1
    1314         0           0       1       0       0       0       0       2       2      2          2        1    1
    1323         0           0       1       0       1       0       0       2       2      2          2        1    2
    1328         0           0       1       0       1       0       0       2       2      2          2        1    2
    1336         0           0       1       1       1       0       0       2       2      2          2        1    2
    1342         0           0       1       0       0       0       0       2       2      2          2        1    1
    1343         0           0       1       0       0       0       0       2       2      2          2        1    2
    1347         0           0       1       0       0       0       0       2       2      2          2        1    1
    1358         0           0       1       0       0       0       0       2       2      2          2        1    2
    1364         0           0       1       0       0       0       0       2       2      2          2        1    1
    1365         0           0       1       1       0       0       0       2       2      2          2        1    1
    1366         0           0       1       1       0       0       0       2       2      2          2        1    1
    1368         0           0       1       1       0       0       0       2       2      2          2        1    2


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 responseid      qk           ql     q1     q2      q3_1    q3_2    q3_3    q3_4    q3_5    q3_6      q3_7      q3_8   q3_9
    1187                              5      5       1       1       1       1       1       1         1         1      1
    1192          2           1       5      3       1       1       1       1       1       1         1         1      1
    1198          2           1       5      1       1       1       1       1       1       1         1         1      1
    1199                              5      4       1       2       2       2       1       1         1         1      1
    1202          1                   5      4       1       1       1       1       1       3         1         1      1
    1204          1                   5      5       1       2       1       1       3       1         1         1      1
    1206                              5      1       1       1       1       1       1       1         1         2      1
    1207          1                   4      3       1       1       1       2       3       3         1         1      1
    1209                              5      4       1       3       1       1       1       2         1         1      1
    1210                              3      3       1       1       2       1       1       1         1         1      1
    1214                              5      3       1       1       1       1       1       1         1         1      1
    1231                              5      4       2       2       1       2       1       1         1         1      1
    1234          1                   5      5       1       1       1       1       1       1         1         1      1
    1235          1                   5      4       1       2       1       1       1       1         1         1      1
    1239          2           1       5      5       1       1       1       1       1       1         1         1      1
    1262                              5      2       2       2       2       1       1       2         1         2      2
    1272          1                   5      5       3       1       1       1       1       2         1         1      1
    1281                              5      3       1       1       1       1       1       1         1         1      1
    1284                              5      4       1       1       1       1       1       1         1         1      1
    1285          1                   5      4       1       1       1       1       2       1         1         1      1
    1286                              3      3       1       1       1       1       1       1         1         1      1
    1289          2           1       5      4       2       2       2       1       1       1         1         1      1
    1298          1                   5      4       2       2       1       1       1       1         1         2      1
    1302          2           1       4      3       1       1       1       1       1       2         1         1      1
    1303                              5      4       2       2       1       2       1       1         1         1      1
    1304                              2      2       2       1       1       1       1       1         1         1      1
    1305                              5      1       1       1       1       1       1       1         1         1      1
    1311          1                   5      4       1       2       2       1       1       2         1         3      1
    1314          1                   5      4       1       1       1       1       1       2         1         1      1
    1323                              5      3       1       1       1       1       1       1         1         1      1
    1328                              5      4       1       1       1       1       1       1         1         2      1
    1336                              5      3       1       1       1       1       2       2         1         2      1
    1342          1                   5      5       1       1       1       1       1       1         1         1      1
    1343                              5      1       1       1       1       1       2       1         1         1      1
    1347          2           1       5      4       1       1       1       1       1       1         1         1      1
    1358                              3      7       1       3       1       1       3       3         1         1      1
    1364          2           1       5      4       1       1       1       1       1       2         1         2      2
    1365          1                   5      4       1       3       1       3       1       1         1         3      3
    1366          1                   5      1       1       1       1       1       1       1         1         1      1
    1368                              5      5       1       1       1       1       1       1         1         1      1


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 responseid     q3_10      q3_11    q3_12   q3_13   q3_14   q4_1    q4_2    q4_3    q4_4    q5_1      q5_2      q5_3   q5_4
    1187          1          2        3       2       2      1       1       1       3       1         1         0      1
    1192          1          1        2       2       2      1       2       2       2       0         0         0      0
    1198          1          1        1       2       2      1       1       2       2       0         0         0      1
    1199          1          1        1       2       2      2       2       2       2       1         0         0      0
    1202          1          1        3       2       2      1       2       2       2       0         0         0      0
    1204          1          1        2       2       2      1       2       2       2       0         0         0      0
    1206          1          1        1       2       2      1       1       1       2       0         0         0      0
    1207          1          1        3       2       2      1       1       2       2       0         0         0      0
    1209          1          1        3       2       2      1       1       2       2       1         0         0      1
    1210          1          1        1       2       1      2       1       2       2       0         0         0      0
    1214          1          2        1       2       2      1       1       3       3       0         0         0      0
    1231          1          1        1       2       2      1       2       2       2       0         0         0      0
    1234          1          1        1       2       2      1       1       1       2       0         0         0      1
    1235          1          1        3       2       2      1       1       1       2       0         0         0      1
    1239          1          1        1       2       2      2       2       2       2       1         0         0      0
    1262          2          2        2       2       2      2       2       2       2       1         0         0      0
    1272          1          1        2       2       2      1       2       2       2       1         0         0      0
    1281          1          1        1       2       2      1       1       1       2       1         1         0      1
    1284          1          1        1       2       2      1       1       2       2       1         0         1      0
    1285          1          2        1       2       2      1       1       2       2       1         0         0      0
    1286          1          1        1       2       2      1       1       1       2       0         0         0      0
    1289          1          1        1       2       2      2       2       2       3       1         0         0      1
    1298          1          1        1       2       2      2       2       2       2       1         0         0      0
    1302          1          2        2       2       2      1       1       1       3       0         0         0      1
    1303          1          1        1       2       2      1       2       2       2       1         0         0      0
    1304          2          1        1       3       2      3       3       3       3       0         0         0      1
    1305          1          2        2       2       2      1       1       2       2       0         0         0      0
    1311          1          1        1       2       2      1       2       2       2       0         0         0      0
    1314          1          1        2       2       2      1       1       1       3       1         0         0      1
    1323          1          1        1       2       2      1       1       1       2       0         0         0      0
    1328          1          1        2       2       2      1       1       2       2       0         0         0      1
    1336          1          2        1       2       1      1       1       2       2       1         1         1      1
    1342          1          1        1       2       2      2       2       2       2       1         0         1      0
    1343          3          3        3       2       2      1       1       1       3       0         0         1      0
    1347          1          1        1       2       2      2       2       2       2       0         0         1      1
    1358          1          1        1       2       2      1       1       1       2       1         0         1      1
    1364          1          2        2       2       2      1       2       2       2       0         0         0      0
    1365          3          3        1       2       2      1       1       2       3       0         0         0      1
    1366          1          1        2       2       2      1       1       1       3       0         0         0      1
    1368          1          1        1       2       2      1       1       1       2       0         0         0      1


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 responseid     q5_5        q5_6    q5_7    q5_8    q5_9   q5_10   q5_11   q5_12   q5_13    q6
    1187         1           1       0       1       0       0       0       0       0       1
    1192         1           1       1       1       0       1       1       0       0       1
    1198         1           1       1       1       0       1       0       0       0       1
    1199         1           1       1       1       0       0       1       0       0       1
    1202         1           1       1       1       0       1       1       0       0       1
    1204         1           1       1       1       0       1       0       0       0       1
    1206         1           1       0       1       0       0       0       0       0       1
    1207         1           0       0       0       0       0       0       0       0       1
    1209         1           1       1       1       0       1       0       0       0       1
    1210         1           1       1       1       1       1       0       0       0       1
    1214         1           1       1       0       0       0       0       0       0       1
    1231         1           1       1       0       0       0       1       0       0       1
    1234         1           1       1       1       0       1       1       0       0       1
    1235         1           1       1       1       0       1       1       0       0       1
    1239         1           1       1       0       0       0       0       0       0       1
    1262         1           1       1       1       0       1       1       0       0       1
    1272         1           1       1       0       0       1       1       0       0       1
    1281         1           1       1       1       0       1       1       0       0       1
    1284         1           1       1       1       0       0       1       0       0       1
    1285         1           1       1       1       0       1       0       0       0       1
    1286         1           1       1       0       0       0       0       0       0       1
    1289         1           1       1       0       0       1       0       0       0       1
    1298         1           1       1       1       0       1       0       0       0       1
    1302         1           1       1       0       0       0       1       0       0       1
    1303         1           1       1       1       0       1       0       0       0       1
    1304         1           1       1       0       0       1       0       0       0       1
    1305         1           1       1       0       0       0       0       0       0       1
    1311         1           1       1       1       0       0       1       0       0       1
    1314         1           1       1       1       0       1       1       0       0       1
    1323         1           1       1       0       1       0       1       0       0       1
    1328         1           1       1       0       0       1       0       0       0       1
    1336         1           1       1       1       1       1       1       0       0       1
    1342         1           1       1       1       0       1       0       0       0       1
    1343         1           1       1       1       0       0       0       0       0       1
    1347         1           1       1       1       1       1       1       0       0       1
    1358         1           1       1       1       1       1       1       0       0       1
    1364         1           1       1       0       0       0       1       0       0       1
    1365         1           1       1       1       0       1       0       0       0       1
    1366         1           1       1       1       1       1       1       0       0       1
    1368         1           1       1       1       0       0       0       0       0       1


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 responseid     interview_end       qa   hidqregion   qb   qc    qd_1    qd_2    qd_3    qd_4    qd_5      qd_6   qd_7
    1377       10/22/2017 9:09      GA       3         2   2      0       0       1       0       0         0      0
    1379       10/22/2017 9:12      FL       3         2   4      0       0       1       0       0         0      0
    1380       10/22/2017 9:14      MN       2         2   4      0       0       1       0       0         0      0
    1394       10/22/2017 9:23      VA       3         2   2      0       0       1       0       0         0      0
    1395       10/22/2017 9:25      IL       2         2   3      0       0       1       0       0         0      0
    1400       10/22/2017 9:29      MD       3         2   2      0       0       1       0       0         0      0
    1411       10/22/2017 9:37      OH       2         2   3      0       0       1       0       0         0      0
    1426       10/22/2017 9:52      CA       4         2   4      0       0       1       0       0         0      0
    1434       10/22/2017 9:58      TX       3         2   3      0       0       1       0       0         0      0
    1435      10/22/2017 10:07      NV       4         2   4      0       0       1       0       0         0      0
    1437      10/22/2017 10:00      TX       3         2   2      0       0       1       0       0         0      0
    1439       10/22/2017 9:59      WA       4         2   2      0       0       1       0       0         0      0
    1441      10/22/2017 10:01      OH       2         2   3      0       0       1       0       0         0      0
    1450      10/22/2017 10:10      GA       3         2   3      0       0       1       0       0         0      0
    1453      10/22/2017 10:16      FL       3         2   2      0       0       1       0       0         0      0
    1461      10/22/2017 10:19      NY       1         2   3      0       0       1       1       0         0      0
    1468      10/22/2017 10:22      AZ       4         2   2      0       0       1       0       0         0      0
    1472      10/22/2017 10:25      MS       3         2   2      0       0       1       0       0         0      0
    1477      10/22/2017 10:27      GA       3         2   3      0       0       1       0       0         0      0
    1494      10/22/2017 10:39      MI       2         2   2      0       0       1       0       0         0      0
    1499      10/22/2017 10:43      VA       3         2   3      0       0       1       0       0         0      0
    1500      10/22/2017 10:43      MO       2         2   3      0       0       1       1       0         0      0
    1510      10/22/2017 10:58      GA       3         2   4      0       0       1       0       0         0      0
    1514      10/22/2017 11:00      FL       3         2   2      0       0       1       0       0         0      0
    1516      10/22/2017 11:06      FL       3         2   2      0       0       1       0       0         0      0
    1517      10/22/2017 11:03      LA       3         2   2      0       0       1       0       0         0      0
    1522      10/22/2017 11:09      GA       3         2   2      0       0       1       0       0         0      0
    1527      10/22/2017 11:12      OK       3         2   3      1       0       1       1       0         0      0
    1529      10/22/2017 11:15      OH       2         2   3      0       0       1       0       0         0      0
    1535      10/22/2017 11:21      TN       3         2   3      0       0       1       0       0         0      0
    1538      10/22/2017 11:31      NJ       1         2   3      0       0       1       0       0         0      0
    1543      10/22/2017 11:25      FL       3         2   2      0       1       1       0       0         0      0
    1544      10/22/2017 11:28      IL       2         2   4      0       0       1       0       0         0      0
    1545      10/22/2017 11:27      MO       2         2   2      0       0       1       0       0         0      0
    1548      10/22/2017 11:28      IL       2         2   2      0       0       1       0       0         0      0
    1564      10/22/2017 11:41      CA       4         2   4      0       0       1       0       0         0      0
    1566      10/22/2017 11:43      CA       4         2   2      0       0       1       0       0         0      0
    1571      10/22/2017 11:43      WI       2         2   3      0       0       1       0       0         0      0
    1572      10/22/2017 11:41      NC       3         2   4      0       0       1       0       0         0      0
    1574      10/22/2017 11:58      MD       3         2   4      0       0       1       0       0         0      0


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 responseid     qd_8        qe_1    qe_2    qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1      qf_2      qf_3   qf_4
    1377         0           1       1       0       1       1       0       0       0       1         1         1      1
    1379         0           1       1       1       1       1       1       0       0       1         0         1      1
    1380         0           1       1       1       1       0       0       0       0       1         0         1      0
    1394         0           1       1       0       1       0       1       0       0       1         1         1      1
    1395         0           1       1       1       1       1       1       0       0       1         0         1      1
    1400         0           1       1       1       1       1       1       0       0       0         1         1      1
    1411         0           1       1       0       1       0       1       0       0       0         0         1      1
    1426         0           1       1       0       1       1       1       0       0       1         1         1      1
    1434         0           1       1       1       1       1       1       0       0       1         0         1      1
    1435         0           1       1       1       1       0       1       0       0       0         0         1      1
    1437         0           0       1       0       1       1       1       0       0       1         0         1      1
    1439         0           0       1       0       0       1       0       0       0       0         0         1      1
    1441         0           1       1       0       1       1       1       0       0       1         1         1      1
    1450         0           1       1       0       1       0       1       0       0       1         1         1      1
    1453         0           1       1       0       1       0       1       0       0       1         1         1      1
    1461         0           1       1       0       1       1       1       0       0       1         0         1      1
    1468         0           1       1       0       1       0       1       0       0       0         1         1      1
    1472         0           1       1       0       1       0       0       0       0       1         1         1      1
    1477         0           1       1       1       1       1       1       0       0       1         1         1      1
    1494         0           1       1       1       1       0       0       0       0       1         1         1      1
    1499         0           1       1       1       1       0       1       0       0       1         1         1      1
    1500         0           1       1       0       1       0       1       0       0       0         0         1      1
    1510         0           1       1       0       1       1       1       0       0       1         0         1      1
    1514         0           1       1       1       1       1       1       0       0       1         1         1      1
    1516         0           1       1       1       1       1       1       0       0       1         1         1      1
    1517         0           1       1       1       1       0       1       0       0       1         1         1      1
    1522         0           1       1       0       1       1       1       0       0       1         1         1      1
    1527         0           1       1       1       1       1       1       0       0       1         1         1      1
    1529         0           1       1       0       1       0       1       0       0       1         0         1      1
    1535         0           0       1       0       1       0       1       0       0       0         1         1      1
    1538         0           0       1       0       1       0       1       0       0       0         0         1      1
    1543         0           1       1       1       1       1       1       0       0       1         1         1      1
    1544         0           1       1       0       1       0       1       0       0       1         1         1      1
    1545         0           1       1       0       1       0       1       0       0       0         1         1      1
    1548         0           1       1       1       1       1       1       0       0       1         1         1      1
    1564         0           1       1       0       1       0       1       0       0       1         1         1      1
    1566         0           1       1       1       1       1       1       0       0       1         1         1      1
    1571         0           1       1       1       1       0       1       0       0       1         0         1      1
    1572         0           1       1       1       1       0       1       0       0       0         1         1      1
    1574         0           1       1       0       1       0       1       0       0       1         0         1      1


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 responseid     qf_5        qf_6    qg_1    qg_2    qg_3    qg_4    qg_5    qh_1    qh_2   qh_3       qh_4      qi   qj
    1377         0           0       1       0       0       0       0       2       2      2          2        1    1
    1379         0           0       1       1       0       0       0       2       2      2          2        1    1
    1380         0           0       1       0       0       0       0       2       2      2          2        1    1
    1394         0           0       1       0       0       0       0       2       2      2          2        1    2
    1395         0           0       1       1       0       0       0       2       2      2          2        1    1
    1400         0           0       1       1       0       0       0       2       2      2          2        1    1
    1411         0           0       1       1       0       0       0       2       2      2          2        1    2
    1426         0           0       1       0       0       0       0       2       2      2          2        1    1
    1434         0           0       1       1       0       0       0       2       2      2          2        1    1
    1435         0           0       1       1       0       0       0       2       2      2          2        1    1
    1437         0           0       1       0       0       0       0       2       2      2          2        1    1
    1439         0           0       1       0       1       0       0       2       2      2          2        1    2
    1441         0           0       1       1       0       0       0       2       2      2          2        1    2
    1450         0           0       1       0       0       0       0       2       2      2          2        1    1
    1453         0           0       1       1       1       0       0       2       2      2          2        1    2
    1461         0           0       1       1       0       0       0       2       2      2          2        1    2
    1468         0           0       1       0       0       0       0       2       2      2          2        1    1
    1472         0           0       1       1       0       0       0       2       2      2          2        1    1
    1477         0           0       1       1       1       0       0       2       2      2          2        1    1
    1494         0           0       1       1       0       0       0       2       2      2          2        1    2
    1499         0           0       1       0       0       0       0       2       2      2          2        1    1
    1500         0           0       1       1       0       0       0       2       2      2          2        1    2
    1510         0           0       1       0       1       0       0       2       2      2          2        1    1
    1514         0           0       1       1       0       0       0       2       2      2          2        1    1
    1516         0           0       1       1       0       0       0       2       2      2          2        1    2
    1517         0           0       1       1       1       0       0       2       2      2          2        1    2
    1522         0           0       1       1       0       0       0       2       2      2          2        1    2
    1527         0           0       1       1       0       0       0       2       2      2          2        1    2
    1529         0           0       1       0       0       0       0       2       2      2          2        1    1
    1535         0           0       1       0       0       0       0       2       2      2          2        1    2
    1538         0           0       1       0       0       0       0       2       2      2          2        1    1
    1543         0           0       1       1       0       0       0       2       2      2          2        1    1
    1544         0           0       1       0       0       0       0       2       2      2          2        1    1
    1545         0           0       1       0       0       0       0       2       2      2          2        1    2
    1548         0           0       1       0       1       0       0       2       2      2          2        1    2
    1564         0           0       1       0       1       0       0       2       2      2          2        1    1
    1566         0           0       1       1       0       0       0       2       2      2          2        1    2
    1571         0           0       1       1       1       0       0       2       2      2          2        1    1
    1572         0           0       1       0       0       0       0       2       2      2          2        1    1
    1574         0           0       1       0       0       0       0       2       2      2          2        1    1


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 responseid      qk           ql     q1     q2      q3_1    q3_2    q3_3    q3_4    q3_5    q3_6      q3_7      q3_8   q3_9
    1377          1                   2      1       3       3       1       1       1       1         1         1      1
    1379          1                   5      4       1       1       1       1       1       1         1         1      1
    1380          1                   5      4       2       2       2       2       1       1         1         1      1
    1394                              5      3       1       1       1       1       1       1         1         1      1
    1395          1                   4      4       2       2       2       1       1       1         1         1      1
    1400          1                   5      4       1       2       1       1       1       1         1         1      1
    1411                              5      4       1       1       1       1       1       1         1         1      1
    1426          1                   5      2       1       1       1       1       1       1         1         1      1
    1434          1                   5      6       2       3       1       1       1       1         1         1      1
    1435          1                   5      5       1       1       2       2       1       1         1         1      1
    1437          1                   5      5       1       1       2       1       1       1         1         2      1
    1439                              5      5       1       3       1       1       1       1         1         1      1
    1441                              5      5       1       2       2       2       1       1         3         1      1
    1450          1                   5      4       1       1       1       1       1       1         1         1      1
    1453                              4      4       1       2       2       3       1       3         1         2      1
    1461                              5      5       1       3       1       1       3       1         1         1      1
    1468          1                   3      3       2       2       2       1       1       1         1         2      1
    1472          1                   4      5       2       2       1       1       1       1         1         1      1
    1477          1                   4      5       2       2       1       2       1       1         1         1      1
    1494                              4      2       1       1       1       1       1       1         1         1      1
    1499          1                   5      4       2       2       2       1       1       1         1         1      1
    1500                              5      3       1       1       1       1       1       1         1         1      1
    1510          1                   5      5       1       1       1       1       1       1         1         1      1
    1514          1                   4      3       1       1       1       1       1       1         1         1      1
    1516                              2      3       1       1       1       2       1       1         1         1      1
    1517                              5      3       2       2       1       2       1       1         1         1      1
    1522                              4      4       2       1       2       2       1       1         1         1      1
    1527                              5      3       1       1       1       1       1       1         1         1      1
    1529          1                   4      5       1       2       1       3       1       3         1         3      1
    1535                              4      1       1       2       1       1       1       1         1         2      1
    1538          1                   5      5       1       2       1       1       1       2         1         1      1
    1543          1                   5      5       1       2       1       2       1       1         1         1      1
    1544          1                   5      5       1       1       1       1       1       1         1         1      2
    1545                              3      1       1       1       1       1       1       1         1         1      1
    1548                              5      4       1       2       2       1       1       1         1         1      1
    1564          1                   3      1       1       2       1       2       1       1         2         1      1
    1566                              3      4       1       1       1       1       1       1         1         1      1
    1571          1                   5      5       1       1       1       1       1       1         1         1      1
    1572          1                   5      2       1       1       1       1       1       1         1         1      1
    1574          1                   4      3       1       1       1       1       2       2         1         1      2


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 responseid     q3_10      q3_11    q3_12   q3_13   q3_14   q4_1    q4_2    q4_3    q4_4    q5_1      q5_2      q5_3   q5_4
    1377          1          1        1       2       2      1       1       1       2       0         0         0      1
    1379          1          1        1       2       2      1       2       2       2       1         0         0      0
    1380          1          1        2       2       2      2       1       2       2       1         1         0      0
    1394          1          1        1       2       2      1       1       1       2       0         0         0      0
    1395          1          1        1       2       2      2       2       2       2       1         0         0      0
    1400          1          1        1       2       2      1       1       2       2       0         0         0      1
    1411          1          1        3       2       2      1       1       1       3       0         0         0      0
    1426          1          1        2       2       2      1       1       2       2       1         0         0      1
    1434          1          1        1       2       2      2       2       2       3       0         0         0      0
    1435          1          1        1       2       2      1       1       1       2       0         0         0      0
    1437          1          2        3       2       2      1       2       2       2       0         0         0      1
    1439          1          2        1       2       2      1       1       2       2       0         0         0      0
    1441          1          1        1       2       2      2       2       2       2       1         0         0      0
    1450          1          1        1       2       2      1       1       1       2       1         0         0      1
    1453          1          1        1       2       2      2       2       2       2       1         0         0      1
    1461          1          1        1       2       2      1       1       1       3       1         0         0      0
    1468          1          1        1       1       2      2       2       2       2       1         0         0      1
    1472          1          1        1       2       2      2       2       2       2       0         1         0      1
    1477          1          1        1       1       2      2       2       2       2       1         1         1      1
    1494          1          1        3       2       2      1       1       1       2       0         0         0      0
    1499          1          1        1       2       2      1       2       2       3       1         0         1      1
    1500          1          1        3       2       2      1       2       2       2       0         0         0      0
    1510          1          1        1       2       2      1       2       2       2       1         0         0      0
    1514          1          1        1       2       2      1       2       2       2       1         0         0      1
    1516          1          1        1       2       2      1       2       2       2       0         0         0      1
    1517          1          2        1       2       2      1       2       1       2       0         0         0      0
    1522          2          2        1       2       2      2       1       1       2       1         0         0      0
    1527          1          1        1       2       2      1       2       2       2       1         0         0      0
    1529          1          1        1       2       2      2       2       2       2       1         0         1      0
    1535          1          1        1       2       2      1       2       2       2       0         0         0      0
    1538          1          2        1       2       2      1       2       2       2       0         0         1      0
    1543          1          1        1       2       2      2       2       2       2       0         0         1      1
    1544          1          1        1       2       2      1       1       1       2       1         0         0      0
    1545          3          1        2       2       2      1       2       2       2       0         0         0      0
    1548          1          1        1       2       2      1       2       2       2       0         0         0      1
    1564          1          1        1       2       2      1       1       1       2       0         0         0      1
    1566          1          1        1       2       2      1       2       2       2       0         0         0      0
    1571          1          1        1       2       2      2       2       2       2       0         0         1      0
    1572          1          1        1       2       2      1       1       1       2       1         0         0      0
    1574          2          1        2       2       2      2       1       2       2       1         0         1      0


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 responseid     q5_5        q5_6    q5_7    q5_8    q5_9   q5_10   q5_11   q5_12   q5_13    q6
    1377         1           1       1       1       0       1       1       0       0       1
    1379         1           1       1       1       0       0       1       0       0       1
    1380         0           1       1       0       0       1       1       0       0       1
    1394         1           1       1       0       1       0       0       0       0       1
    1395         1           1       1       1       0       1       1       0       0       1
    1400         1           1       1       1       0       1       0       0       0       1
    1411         1           1       1       1       0       0       1       0       0       1
    1426         1           1       1       1       0       1       0       0       0       1
    1434         1           1       1       1       0       1       1       0       0       1
    1435         1           1       1       0       0       0       0       0       0       1
    1437         1           1       1       1       0       1       0       0       0       1
    1439         1           1       1       0       0       0       0       0       0       1
    1441         1           1       1       1       0       1       0       0       0       1
    1450         1           1       1       1       0       0       0       0       0       1
    1453         1           1       1       1       0       1       1       0       0       1
    1461         1           1       1       1       0       1       1       0       0       1
    1468         1           1       1       1       1       1       1       0       0       1
    1472         1           1       1       1       0       1       1       0       0       1
    1477         1           1       1       1       1       1       1       0       0       1
    1494         1           1       1       1       0       0       0       0       0       1
    1499         1           1       1       1       0       1       1       0       0       1
    1500         1           1       1       0       0       0       0       0       0       1
    1510         0           1       1       0       0       1       0       0       0       1
    1514         1           1       1       1       0       1       1       0       0       1
    1516         1           1       1       1       1       1       1       0       0       1
    1517         1           1       1       1       0       1       0       0       0       1
    1522         1           1       1       1       1       1       1       0       0       1
    1527         1           1       1       1       0       1       1       0       0       1
    1529         1           1       1       0       0       1       1       0       0       1
    1535         1           1       1       1       1       1       0       0       0       1
    1538         1           1       1       1       1       1       0       0       0       1
    1543         1           1       1       1       0       1       1       0       0       1
    1544         1           1       1       1       0       1       1       0       0       1
    1545         1           1       1       1       0       1       0       0       0       1
    1548         1           1       1       1       0       1       1       0       0       1
    1564         1           1       1       1       1       1       1       0       0       1
    1566         0           0       1       1       0       1       0       0       0       1
    1571         1           1       1       1       1       1       1       0       0       1
    1572         1           1       1       0       0       0       0       0       0       1
    1574         1           1       1       1       0       0       1       0       0       1


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 responseid    interview_end        qa   hidqregion   qb   qc    qd_1    qd_2    qd_3    qd_4    qd_5      qd_6   qd_7
    1592      10/22/2017 11:58      IL       2         2   3      0       0       1       0       0         0      0
    1598      10/22/2017 12:07      NJ       1         2   2      0       0       1       0       0         0      0
    1613      10/22/2017 12:28      AZ       4         2   4      0       0       1       0       0         0      0
    1615      10/22/2017 12:27      MA       1         2   4      0       0       1       0       0         0      0
    1616      10/22/2017 12:28      IL       2         2   2      0       0       1       0       0         0      0
    1618      10/22/2017 12:29      NC       3         2   2      0       0       1       0       0         0      0
    1619      10/22/2017 12:32      TX       3         2   2      0       0       1       0       0         0      0
    1623      10/22/2017 12:39      IL       2         2   2      0       0       1       0       0         0      0
    1629      10/22/2017 12:39      AR       3         2   4      0       0       1       0       0         0      0
    1631      10/22/2017 12:46      FL       3         2   2      0       0       1       0       0         0      0
    1637      10/22/2017 12:46      CA       4         2   2      0       0       1       0       0         0      0
    1649      10/22/2017 12:56      TX       3         2   4      0       0       1       0       0         0      0
    1650      10/22/2017 12:57      TN       3         2   2      0       0       1       0       0         0      0
    1652      10/22/2017 13:03      IL       2         2   4      0       0       1       0       0         0      0
    1654      10/22/2017 13:05      TN       3         2   2      0       0       1       0       0         0      0
    1656      10/22/2017 13:09      DC       3         2   4      0       0       1       0       0         0      0
    1672      10/22/2017 13:20      GA       3         2   4      0       0       1       0       0         0      0
    1678      10/22/2017 13:36      DC       3         2   4      0       0       1       0       0         0      0
    1679      10/22/2017 13:26      MD       3         2   2      0       0       1       0       0         0      0
    1686      10/22/2017 13:35      PA       1         2   4      0       0       1       0       0         0      0
    1688      10/22/2017 13:47      VA       3         2   4      0       0       1       0       0         0      0
    1689      10/22/2017 13:39      GA       3         2   2      0       0       1       0       0         0      0
    1693      10/22/2017 13:42      NC       3         2   4      0       0       1       0       0         0      0
    1695      10/22/2017 13:42      IL       2         2   2      0       0       1       0       0         0      0
    1700      10/22/2017 13:48      KS       2         2   4      0       0       1       0       0         0      0
    1706      10/22/2017 13:55      NY       1         2   2      0       0       1       0       0         0      0
    1716      10/22/2017 14:05      TX       3         2   2      0       0       1       0       0         0      0
    1729      10/22/2017 14:16      TN       3         2   4      0       0       1       0       0         0      0
    1731      10/22/2017 14:20      GA       3         2   2      0       0       1       0       0         0      0
    1736      10/22/2017 14:25      FL       3         2   2      0       0       1       0       0         0      0
    1740      10/22/2017 14:29      NY       1         2   2      0       0       1       0       0         0      0
    1743      10/22/2017 14:30      MD       3         2   2      0       0       1       0       0         0      0
    1755      10/22/2017 14:55      MD       3         2   2      0       0       1       0       0         0      0
    1756      10/22/2017 14:58      VA       3         2   4      0       0       1       0       0         0      0
    1763      10/22/2017 15:08      GA       3         2   2      0       0       1       0       0         0      0
    1765      10/22/2017 15:17      OH       2         2   2      0       0       1       0       0         0      0
    1767      10/22/2017 15:20      NC       3         2   2      0       0       1       0       0         0      0
    1779      10/22/2017 15:37      OH       2         2   4      0       0       1       0       0         0      0
    1784      10/22/2017 16:00      DE       3         2   4      0       0       1       0       0         0      0
    1788      10/22/2017 16:00      PA       1         2   4      0       0       1       0       0         0      0


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 responseid     qd_8        qe_1    qe_2    qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1      qf_2      qf_3   qf_4
    1592         0           1       1       1       1       0       1       0       0       1         1         1      1
    1598         0           1       1       0       1       1       1       0       0       1         1         1      1
    1613         0           0       1       1       1       0       1       0       0       1         0         1      1
    1615         0           1       1       0       1       1       1       0       0       1         0         1      1
    1616         0           0       1       0       1       0       0       0       0       0         1         1      1
    1618         0           1       1       0       1       0       0       0       0       1         0         1      1
    1619         0           1       1       0       1       0       1       0       0       1         0         1      1
    1623         0           1       1       0       1       0       1       0       0       1         1         1      1
    1629         0           1       1       1       1       0       1       0       0       1         1         1      1
    1631         0           1       1       1       1       1       1       0       0       1         1         1      1
    1637         0           1       1       0       1       0       1       0       0       0         1         1      1
    1649         0           0       1       0       0       0       1       0       0       1         0         1      1
    1650         0           1       1       1       1       1       1       0       0       1         1         1      1
    1652         0           0       1       0       1       0       0       0       0       0         0         1      1
    1654         0           1       1       0       1       0       1       0       0       0         0         1      1
    1656         0           1       1       0       1       1       1       0       0       1         0         1      1
    1672         0           1       1       0       1       0       0       0       0       1         1         1      1
    1678         0           1       1       0       0       1       1       0       0       0         0         1      1
    1679         0           1       1       1       1       1       1       0       0       1         1         1      1
    1686         0           1       1       1       1       0       0       0       0       0         0         1      1
    1688         0           0       1       0       1       1       0       0       0       0         0         1      1
    1689         0           0       1       1       1       1       1       0       0       0         0         1      1
    1693         0           1       1       1       1       0       1       0       0       1         0         1      1
    1695         0           1       1       1       1       1       1       0       0       1         1         1      1
    1700         0           1       1       1       1       1       0       0       0       0         0         1      1
    1706         0           1       1       0       1       1       1       0       0       1         0         1      0
    1716         0           0       1       0       0       0       0       0       0       0         0         1      1
    1729         0           1       1       1       1       1       1       0       0       1         0         1      1
    1731         0           1       1       1       1       0       0       0       0       1         1         1      1
    1736         0           1       1       1       1       1       1       0       0       1         0         1      1
    1740         0           1       1       0       1       0       0       0       0       0         1         1      1
    1743         0           1       1       0       1       0       1       0       0       1         1         1      1
    1755         0           0       1       1       1       0       0       0       0       1         1         1      1
    1756         0           1       1       0       1       0       1       0       0       1         0         1      1
    1763         0           0       1       0       0       0       0       0       0       0         0         1      1
    1765         0           1       1       0       1       1       1       0       0       1         1         1      1
    1767         0           1       1       0       1       0       1       0       0       1         0         1      1
    1779         0           0       1       0       1       0       0       0       0       0         0         1      1
    1784         0           1       1       1       1       0       1       0       0       0         0         1      1
    1788         0           1       1       1       1       1       1       0       0       1         0         1      1


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 responseid     qf_5        qf_6    qg_1    qg_2    qg_3    qg_4    qg_5    qh_1    qh_2   qh_3       qh_4      qi   qj
    1592         0           0       1       1       0       0       0       2       2      2          2        1    2
    1598         0           0       1       0       0       0       0       2       2      2          2        1    1
    1613         0           0       1       1       0       0       0       2       2      2          2        1    1
    1615         0           0       1       1       0       0       0       2       2      2          2        1    2
    1616         0           0       1       0       0       0       0       2       2      2          2        1    2
    1618         0           0       1       1       0       0       0       2       2      2          2        1    1
    1619         0           0       1       0       0       0       0       2       2      2          2        1    1
    1623         0           0       1       1       0       0       0       2       2      2          2        1    1
    1629         0           0       1       1       1       0       0       2       2      2          2        1    1
    1631         0           0       1       1       0       0       0       2       2      2          2        1    1
    1637         0           0       1       1       0       0       0       2       2      2          2        1    2
    1649         0           0       1       1       0       0       0       2       2      2          2        1    2
    1650         0           0       1       0       1       0       0       2       2      2          2        1    2
    1652         0           0       1       1       0       0       0       2       2      2          2        1    1
    1654         0           0       1       1       0       0       0       2       2      2          2        1    1
    1656         0           0       1       1       0       0       0       2       2      2          2        1    2
    1672         0           0       1       1       0       0       0       2       2      2          2        1    2
    1678         0           0       1       0       0       0       0       2       2      2          2        1    2
    1679         0           0       1       1       0       0       0       2       2      2          2        1    1
    1686         0           0       1       0       0       0       0       2       2      2          2        1    1
    1688         0           0       1       0       0       0       0       2       2      2          2        1    1
    1689         0           0       1       0       0       0       0       2       2      2          2        1    2
    1693         0           0       1       0       0       0       0       2       2      2          2        1    1
    1695         0           0       1       0       0       0       0       2       2      2          2        1    2
    1700         0           0       1       0       0       0       0       2       2      2          2        1    1
    1706         0           0       1       0       0       0       0       2       2      2          2        1    1
    1716         0           0       1       0       0       0       0       2       2      2          2        1    2
    1729         0           0       1       1       1       0       0       2       2      2          2        1    1
    1731         0           0       1       1       0       0       0       2       2      2          2        1    1
    1736         0           0       1       1       0       0       0       2       2      2          2        1    2
    1740         0           0       1       1       0       0       0       2       2      2          2        1    2
    1743         0           0       1       1       0       0       0       2       2      2          2        1    1
    1755         0           0       1       0       0       0       0       2       2      2          2        1    1
    1756         0           0       1       0       0       0       0       2       2      2          2        1    1
    1763         0           0       1       0       0       0       0       2       2      2          2        1    1
    1765         0           0       1       1       0       0       0       2       2      2          2        1    1
    1767         0           0       1       1       0       0       0       2       2      2          2        1    1
    1779         0           0       1       0       0       0       0       2       2      2          2        1    1
    1784         0           0       1       0       0       0       0       2       2      2          2        1    1
    1788         0           0       1       0       0       0       0       2       2      2          2        1    1


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 responseid      qk           ql     q1     q2      q3_1    q3_2    q3_3    q3_4    q3_5    q3_6      q3_7      q3_8   q3_9
    1592                              5      5       1       1       1       1       2       1         1         1      1
    1598          1                   5      3       1       1       1       1       1       1         1         2      1
    1613          1                   5      4       2       1       1       1       1       1         1         1      1
    1615                              5      3       2       2       1       1       1       2         1         2      1
    1616                              5      3       3       3       2       2       1       1         1         2      3
    1618          1                   5      3       1       1       1       1       1       1         1         3      1
    1619          2           1       3      1       1       3       1       1       1       1         1         1      1
    1623          1                   4      3       1       1       1       1       1       1         1         3      1
    1629          2           1       4      5       2       2       2       2       1       1         1         1      1
    1631          1                   4      5       2       1       1       1       3       2         1         1      1
    1637                              5      4       1       1       1       2       1       1         1         1      1
    1649                              2      3       2       2       2       1       1       1         1         1      3
    1650                              5      3       1       1       1       1       1       1         1         1      1
    1652          1                   3      4       2       2       1       1       1       1         1         1      1
    1654          1                   5      4       1       1       1       1       1       2         1         1      1
    1656                              2      3       2       1       1       1       1       1         1         1      1
    1672                              5      4       1       1       1       1       1       1         1         1      1
    1678                              2      4       2       1       2       1       1       1         1         1      1
    1679          1                   4      3       1       2       1       1       3       1         1         1      1
    1686          1                   5      3       2       1       1       1       1       1         1         1      1
    1688          1                   5      3       2       1       1       1       1       1         1         1      1
    1689                              5      4       1       3       1       1       1       3         1         3      1
    1693          1                   5      3       1       1       1       1       1       1         1         1      1
    1695                              5      4       1       1       1       1       1       1         1         1      1
    1700          1                   5      1       1       2       1       1       1       1         1         1      1
    1706          1                   4      4       2       2       2       1       1       1         1         2      1
    1716                              5      2       1       1       1       1       1       1         1         1      1
    1729          1                   5      4       2       1       1       1       1       1         1         1      1
    1731          1                   3      4       1       1       1       2       1       2         2         1      1
    1736                              5      3       1       1       1       1       1       1         1         1      1
    1740                              5      4       1       1       1       1       1       1         1         1      1
    1743          1                   5      4       1       1       1       1       1       1         1         2      1
    1755          2           1       2      3       1       1       1       1       1       1         1         1      1
    1756          1                   3      1       2       2       2       1       1       1         1         1      1
    1763          1                   5      4       2       2       1       1       1       1         1         2      1
    1765          1                   5      4       1       1       1       1       1       1         1         1      1
    1767          1                   5      5       1       1       2       1       1       1         1         2      1
    1779          1                   5      5       1       1       1       1       1       1         1         1      1
    1784          1                   4      3       3       2       3       1       1       1         1         1      1
    1788          1                   5      3       1       1       1       1       1       1         2         1      1


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 responseid     q3_10      q3_11    q3_12   q3_13   q3_14   q4_1    q4_2    q4_3    q4_4    q5_1      q5_2      q5_3   q5_4
    1592          1          1        2       2       2      1       1       1       2       0         0         0      0
    1598          1          2        1       2       2      1       1       2       2       1         0         0      1
    1613          1          1        1       2       2      1       2       2       2       1         0         0      0
    1615          1          1        2       2       2      2       2       2       2       1         0         1      0
    1616          3          3        1       2       2      1       2       2       2       0         0         0      1
    1618          1          1        1       2       2      1       1       1       3       0         0         0      1
    1619          1          2        3       2       2      1       1       2       2       0         0         0      1
    1623          1          3        1       2       2      1       1       2       3       1         0         0      1
    1629          1          1        2       2       2      2       2       2       2       1         0         0      0
    1631          1          1        1       2       2      1       1       1       2       1         0         0      0
    1637          1          1        2       2       2      1       1       1       2       0         0         0      1
    1649          1          1        1       2       2      2       2       2       2       1         0         0      0
    1650          1          1        2       2       2      1       1       1       2       0         0         0      0
    1652          1          1        1       2       2      2       2       2       2       0         0         0      0
    1654          1          2        2       2       2      1       1       2       3       0         0         0      0
    1656          1          1        1       3       2      1       1       1       2       1         0         0      0
    1672          2          2        1       2       2      1       1       1       2       1         0         0      1
    1678          1          1        1       2       2      1       2       2       2       0         0         0      0
    1679          1          1        1       2       2      1       2       2       2       0         0         0      1
    1686          1          2        1       2       2      1       1       1       2       0         0         0      0
    1688          1          1        1       2       2      1       2       2       2       0         0         0      0
    1689          1          1        1       2       2      1       2       2       2       0         0         0      0
    1693          1          1        1       2       2      1       1       1       2       1         0         0      0
    1695          1          1        3       2       2      1       2       2       2       1         1         0      1
    1700          1          1        1       2       2      1       1       2       2       0         0         0      0
    1706          1          1        1       2       2      1       2       2       3       1         0         0      0
    1716          1          1        2       2       2      1       1       2       2       0         0         0      0
    1729          1          1        1       2       2      2       2       2       2       0         0         0      0
    1731          1          1        1       2       1      1       1       1       2       1         0         1      1
    1736          1          1        1       2       2      1       1       2       2       1         0         0      0
    1740          1          1        2       2       2      1       1       1       2       0         0         0      1
    1743          1          1        1       2       2      1       1       1       2       1         0         0      1
    1755          1          1        1       2       2      1       2       2       2       0         0         0      0
    1756          1          1        1       2       2      1       2       2       2       1         0         0      0
    1763          1          1        1       2       2      1       2       2       2       0         0         0      1
    1765          1          1        1       1       2      1       2       2       2       0         0         0      1
    1767          1          1        1       2       2      1       1       2       2       1         0         0      0
    1779          1          1        2       2       2      2       2       2       2       0         0         0      0
    1784          1          1        3       2       2      2       2       2       3       0         0         0      0
    1788          1          1        1       2       2      1       1       2       2       1         1         0      0


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 responseid     q5_5        q5_6    q5_7    q5_8    q5_9   q5_10   q5_11   q5_12   q5_13    q6
    1592         1           1       1       1       0       0       0       0       0       1
    1598         1           1       1       1       0       1       1       0       0       1
    1613         1           1       0       0       0       0       0       0       0       1
    1615         1           1       1       0       0       1       1       0       0       1
    1616         1           1       1       1       0       0       0       0       0       1
    1618         1           1       1       0       0       1       1       0       0       1
    1619         1           1       1       0       0       0       0       0       0       1
    1623         1           1       1       1       1       1       1       0       0       1
    1629         1           1       0       0       1       1       1       0       0       1
    1631         1           1       0       1       0       0       0       0       0       1
    1637         1           1       1       0       1       1       1       0       0       1
    1649         1           1       1       1       1       1       0       0       0       1
    1650         1           1       1       1       0       1       1       0       0       1
    1652         1           1       1       0       0       1       1       0       0       1
    1654         1           1       0       0       0       1       0       0       0       1
    1656         1           0       1       0       1       0       0       0       0       1
    1672         1           1       1       1       0       0       1       0       0       1
    1678         1           1       1       1       0       0       1       0       0       1
    1679         1           1       1       1       1       1       0       0       0       1
    1686         1           1       1       1       0       0       1       0       0       1
    1688         1           1       1       1       0       0       1       0       0       1
    1689         1           1       1       1       0       1       1       0       0       1
    1693         1           1       1       1       0       1       0       0       0       1
    1695         1           1       1       1       1       1       1       0       0       1
    1700         1           1       1       0       0       0       0       0       0       1
    1706         1           1       0       1       0       1       0       0       0       1
    1716         1           1       1       1       0       0       0       0       0       1
    1729         1           1       0       1       0       1       0       0       0       1
    1731         1           1       1       1       0       1       0       0       0       1
    1736         1           1       1       1       1       1       1       0       0       1
    1740         1           1       1       1       1       1       1       0       0       1
    1743         1           1       0       1       0       1       0       0       0       1
    1755         0           0       1       0       0       0       1       0       0       1
    1756         1           1       0       0       0       0       0       0       0       1
    1763         1           1       1       1       0       1       1       0       0       1
    1765         1           1       1       1       0       1       1       0       0       1
    1767         1           1       1       1       0       1       1       0       0       1
    1779         1           1       1       0       0       0       0       0       0       1
    1784         1           1       1       1       0       1       0       0       0       1
    1788         1           1       1       0       0       0       0       0       0       1


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 responseid     interview_end       qa   hidqregion   qb   qc    qd_1    qd_2    qd_3    qd_4    qd_5      qd_6   qd_7
    1794      10/22/2017 15:59      NY       1         2   2      0       0       1       0       0         0      0
    1798      10/22/2017 16:21      TX       3         2   4      0       0       1       0       0         0      0
    1802       10/23/2017 9:36      FL       3         2   4      0       0       1       0       0         0      0
    1808       10/23/2017 9:51      GA       3         2   2      0       0       1       0       0         0      0
    1809       10/23/2017 9:52      NC       3         2   4      0       0       1       0       0         0      0
    1810       10/23/2017 9:53      IL       2         2   4      0       0       1       0       0         0      0
    1819      10/23/2017 10:05      GA       3         2   4      0       0       1       0       0         0      0
    1828      10/23/2017 10:24      MD       3         2   2      0       0       1       0       0         0      0
    1837      10/23/2017 10:44      MS       3         2   4      0       0       1       0       0         0      0
    1843      10/23/2017 10:53      VA       3         2   4      0       0       1       0       0         0      0
    1850      10/23/2017 11:09      TX       3         2   2      0       0       1       0       0         0      0
    1854      10/23/2017 11:11      VA       3         2   2      0       0       1       0       0         0      0
    1864      10/23/2017 11:28      GA       3         2   2      0       0       1       0       0         0      0
    1872      10/23/2017 12:11      OH       2         2   4      0       0       1       0       0         0      0
    1884      10/23/2017 13:12      IL       2         2   4      0       0       1       0       0         0      0
    1888      10/23/2017 13:25      NC       3         2   4      0       0       1       0       0         0      0
    1889      10/23/2017 13:32      SC       3         2   4      0       0       1       0       0         0      0
    1898      10/23/2017 14:17      TX       3         2   3      0       0       1       0       0         0      0
    1905      10/23/2017 14:43      FL       3         2   4      0       0       1       0       0         0      0




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 responseid     qd_8        qe_1    qe_2    qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1      qf_2      qf_3   qf_4
    1794         0           0       1       0       1       0       1       0       0       0         1         1      1
    1798         0           1       1       0       1       0       1       0       0       0         0         1      1
    1802         0           1       1       0       1       0       1       0       0       1         0         1      1
    1808         0           1       1       1       1       1       1       0       0       1         1         1      1
    1809         0           1       1       1       1       1       1       0       0       0         0         1      1
    1810         0           1       1       1       1       0       1       0       0       1         1         1      1
    1819         0           0       1       1       1       0       0       0       0       1         0         1      1
    1828         0           0       1       1       1       0       0       0       0       0         1         1      1
    1837         0           1       1       1       1       0       0       0       0       1         0         1      1
    1843         0           0       1       0       1       0       0       0       0       0         0         1      1
    1850         0           1       1       1       1       1       1       0       0       0         1         1      1
    1854         0           1       1       1       1       0       0       0       0       0         1         1      1
    1864         0           1       1       1       1       1       1       0       0       1         1         1      1
    1872         0           0       1       0       1       0       1       0       0       1         0         1      1
    1884         0           1       1       0       1       0       0       0       0       0         1         1      1
    1888         0           0       1       0       1       0       1       0       0       1         0         1      1
    1889         0           1       1       1       1       0       1       0       0       0         0         1      1
    1898         0           1       1       0       0       0       1       0       0       1         0         1      0
    1905         0           1       1       0       1       1       0       0       0       1         0         1      1




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 responseid     qf_5        qf_6    qg_1    qg_2    qg_3    qg_4    qg_5    qh_1    qh_2   qh_3       qh_4      qi   qj
    1794         0           0       1       1       0       0       0       2       2      2          2        1    2
    1798         0           0       1       0       0       0       0       2       2      2          2        1    1
    1802         0           0       1       0       1       0       0       2       2      2          2        1    2
    1808         0           0       1       1       0       0       0       2       2      2          2        1    2
    1809         0           0       1       0       0       0       0       2       2      2          2        1    1
    1810         0           0       1       0       1       0       0       2       2      2          2        1    2
    1819         0           0       1       0       0       0       0       2       2      2          2        1    1
    1828         0           0       1       0       0       0       0       2       2      2          2        1    2
    1837         0           0       1       1       0       0       0       2       2      2          2        1    1
    1843         0           0       1       0       0       0       0       2       2      2          2        1    2
    1850         0           0       1       1       0       0       0       2       2      2          2        1    2
    1854         0           0       1       1       0       0       0       2       2      2          2        1    1
    1864         0           0       1       0       1       0       0       2       2      2          2        1    2
    1872         0           0       1       0       0       0       0       2       2      2          2        1    2
    1884         0           0       1       1       0       0       0       2       2      2          2        1    1
    1888         0           0       1       0       0       0       0       2       2      2          2        1    1
    1889         0           0       1       0       0       0       0       2       2      2          2        1    1
    1898         0           0       1       0       0       0       0       2       2      2          2        1    2
    1905         0           0       1       0       0       0       0       2       2      2          2        1    1




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                                                               #: 4305
                                                           Survey Data File

 responseid      qk           ql     q1     q2      q3_1    q3_2    q3_3    q3_4    q3_5    q3_6      q3_7      q3_8   q3_9
    1794                              5      3       1       1       2       1       1       1         1         1      1
    1798          1                   3      3       3       1       1       1       1       1         1         1      1
    1802                              5      2       2       2       2       2       1       1         1         1      1
    1808                              5      4       1       1       1       3       1       1         1         1      1
    1809          1                   5      4       1       1       1       1       1       1         1         1      1
    1810                              5      1       2       1       2       1       1       1         1         1      1
    1819          1                   5      4       1       2       1       1       1       1         1         1      1
    1828                              5      2       1       1       1       1       1       1         1         1      1
    1837          1                   4      4       2       1       1       1       1       1         1         1      1
    1843                              4      2       3       1       1       1       1       1         1         1      1
    1850                              3      1       1       2       2       1       1       1         1         1      1
    1854          1                   4      3       1       2       1       1       1       1         1         1      1
    1864                              5      3       1       1       1       1       1       1         1         1      1
    1872                              5      2       2       1       1       2       1       2         1         1      1
    1884          1                   4      4       1       1       1       1       1       1         1         1      1
    1888          1                   5      4       2       1       1       1       1       1         1         1      1
    1889          1                   5      4       1       1       1       1       1       1         1         1      1
    1898                              5      2       1       2       1       1       1       1         1         1      1
    1905          1                   5      2       1       3       1       1       1       1         1         1      3




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 responseid     q3_10      q3_11    q3_12   q3_13   q3_14   q4_1    q4_2    q4_3    q4_4    q5_1      q5_2      q5_3   q5_4
    1794          3          3        1       2       2      1       1       1       2       0         0         0      1
    1798          1          1        1       2       2      1       2       2       2       0         1         0      0
    1802          1          1        1       2       2      1       1       2       2       1         0         0      0
    1808          1          1        1       2       2      1       2       2       2       1         0         0      1
    1809          1          1        3       2       2      1       1       2       2       0         0         0      0
    1810          1          1        1       2       2      2       3       3       2       0         0         0      0
    1819          1          1        1       2       2      1       2       2       2       1         0         0      0
    1828          1          1        2       2       2      1       1       1       2       0         0         0      1
    1837          1          1        1       2       2      1       1       1       2       1         0         0      0
    1843          1          1        1       2       2      1       1       2       2       0         0         0      0
    1850          1          1        1       2       2      1       2       2       2       0         0         0      1
    1854          1          1        1       2       2      1       2       2       2       0         0         0      1
    1864          1          1        1       2       2      1       1       2       2       0         0         0      1
    1872          1          1        3       2       2      1       1       1       3       1         0         0      0
    1884          1          1        1       2       2      2       2       2       2       0         0         0      0
    1888          1          1        1       2       2      1       2       2       2       1         0         0      0
    1889          1          1        1       2       2      1       2       2       2       0         0         0      0
    1898          1          1        3       2       2      1       1       2       3       1         0         0      0
    1905          3          1        3       2       2      2       2       2       2       1         0         0      0




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 responseid     q5_5        q5_6    q5_7    q5_8    q5_9   q5_10   q5_11   q5_12   q5_13    q6
    1794         1           1       1       1       0       1       0       0       0       1
    1798         1           1       1       1       0       0       1       0       0       1
    1802         1           1       1       1       0       1       1       0       0       1
    1808         1           1       1       1       1       1       1       0       0       1
    1809         1           1       1       1       0       1       1       0       0       1
    1810         0           0       0       0       0       0       0       1       0       1
    1819         1           1       1       1       0       0       1       0       0       1
    1828         1           1       1       0       0       1       1       0       0       1
    1837         0           0       0       0       0       0       0       0       0       1
    1843         1           1       1       0       0       0       1       0       0       1
    1850         1           1       1       1       0       0       0       0       0       1
    1854         1           1       1       1       0       1       0       0       0       1
    1864         1           1       1       1       0       1       0       0       0       1
    1872         1           1       1       0       0       0       1       0       0       1
    1884         1           1       1       1       0       0       0       0       0       1
    1888         1           1       1       1       1       0       1       0       0       1
    1889         1           1       1       1       0       0       1       0       0       1
    1898         1           1       1       1       0       1       0       0       0       1
    1905         0           0       0       0       0       0       0       0       0       1




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                                                               #: Data
                                                          Survey  4308 Map

                                                                                Variable Information
Variable                                                                                         Label
responseid           ResponseID
interview_end        Interview End
qa                   In what state do you live?
hidqregion           Region
qb                   What is your gender?
qc                   What is your age?
qd_1                 Please specify your race or ethnicity. - White or Caucasian
qd_2                 Please specify your race or ethnicity. - Hispanic or Latino
qd_3                 Please specify your race or ethnicity. - Black or African American
qd_4                 Please specify your race or ethnicity. - Native American or American Indian
qd_5                 Please specify your race or ethnicity. - Asian or Pacific Islander
qd_6                 Please specify your race or ethnicity. - Other
qd_7                 Please specify your race or ethnicity. - I don’t know
qd_8                 Please specify your race or ethnicity. - Prefer not to answer
qe_1                 Which, if any, of the following items have you purchased in the past 5 years? - Nail care products (like hardener and polish)
qe_2                 Which, if any, of the following items have you purchased in the past 5 years? - Hair care products (like shampoo, hair care kits, and conditioner)
qe_3                 Which, if any, of the following items have you purchased in the past 5 years? - Foot care products (like creams and orthotics)
qe_4                 Which, if any, of the following items have you purchased in the past 5 years? - Skin care products (like lotions and cleansers)
qe_5                 Which, if any, of the following items have you purchased in the past 5 years? - First aid kit
qe_6                 Which, if any, of the following items have you purchased in the past 5 years? - Vitamins (like multi-vitamins, Vitamin A, or Vitamin C)
qe_7                 Which, if any, of the following items have you purchased in the past 5 years? - None of these
qe_8                 Which, if any, of the following items have you purchased in the past 5 years? - I don’t know
qf_1                 Which, if any, of the following hair care products have you purchased in the past 5 years? - Hair color kit
qf_2                 Which, if any, of the following hair care products have you purchased in the past 5 years? - Hair extensions
qf_3                 Which, if any, of the following hair care products have you purchased in the past 5 years? - Hair relaxer kit
qf_4                 Which, if any, of the following hair care products have you purchased in the past 5 years? - Shampoo
qf_5                 Which, if any, of the following hair care products have you purchased in the past 5 years? - None of these
qf_6                 Which, if any, of the following hair care products have you purchased in the past 5 years? - I don’t know
qg_1                 A hair relaxer kit contains lotions or creams that relax or straighten naturally curly or kinky hair. Which, if any, of the following types of hair...? - No-lye hair
                     relaxer kit (described on the package as “no-lye”)
qg_2                 A hair relaxer kit contains lotions or creams that relax or straighten naturally curly or kinky hair. Which, if any, of the following types of hair...? -
                     Conditioning hair relaxer kit (described on the package as “conditioning”)
qg_3                 A hair relaxer kit contains lotions or creams that relax or straighten naturally curly or kinky hair. Which, if any, of the following types of hair...? - Children’s
                     hair relaxer kit (described on the package as for children)
qg_4                 A hair relaxer kit contains lotions or creams that relax or straighten naturally curly or kinky hair. Which, if any, of the following types of hair...? - None of
                     these
qg_5                 A hair relaxer kit contains lotions or creams that relax or straighten naturally curly or kinky hair. Which, if any, of the following types of hair...? - I don’t
                     know



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                                                               #: Data
                                                          Survey  4309 Map

                                                                              Variable Information
Variable                                                                                       Label
qh_1                 Do you, or does anyone in your household, work in any of the following types of businesses? - Marketing research
qh_2                 Do you, or does anyone in your household, work in any of the following types of businesses? - Advertising or public relations
qh_3                 Do you, or does anyone in your household, work in any of the following types of businesses? - Manufacturer, distributor, or retailer of hair care products
qh_4                 Do you, or does anyone in your household, work in any of the following types of businesses? - Hair salon or hair stylist
qi                   In the past 30 days, how many surveys have you participated in regarding hair care products?
qj                   Do you usually wear eyeglasses or contact lenses when you use an electronic device like the one you are using now?
qk                   Are you wearing your eyeglasses or contact lenses right now?
ql                   Please put on your eyeglasses or contact lenses to complete the remainder of the survey. After you have put on your eyeglasses or contact lenses, please select
                     the appropriate option below.
q1                   How many times have you ever purchased a no-lye hair relaxer kit? As a reminder, a no-lye hair relaxer kit contains lotions or creams that relax or straighten
                     naturally curly or kinky hair.
q2                   How often do you typically purchase no-lye hair relaxer kits?
q3_1                 Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers use strong chemicals to straighten hair.
q3_2                 Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers may cause hair to fall out.
q3_3                 Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers may irritate the scalp.
q3_4                 Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers may damage hair or skin.
q3_5                 Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers come in a package that has safety warnings.
q3_6                 Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers should be put on hair after applying scalp protector.
q3_7                 Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers should be applied to hair while wearing gloves.
q3_8                 Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers should be applied to hair after conducting a strand test.
q3_9                 Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers provide results that vary depending on hair type.
q3_10                Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers come with conditioner.
q3_11                Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers come with moisturizer.
q3_12                Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers are recommended by people I trust.
q3_13                Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers come with silver earrings.


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                                                          Survey  4310 Map

                                                                               Variable Information
Variable                                                                                        Label
q3_14                Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers should be applied only while driving.
q4_1                 Which, if any, of the following have you ever experienced as a result of using a no-lye hair relaxer? - Scalp burning
q4_2                 Which, if any, of the following have you ever experienced as a result of using a no-lye hair relaxer? - Hair breakage
q4_3                 Which, if any, of the following have you ever experienced as a result of using a no-lye hair relaxer? - Hair loss
q4_4                 Which, if any, of the following have you ever experienced as a result of using a no-lye hair relaxer? - Darcy disease
q5_1                 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Hair coloring or hair dye
q5_2                 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Hair bleach or lightener
q5_3                 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Hair highlights
q5_4                 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Hair braids or extensions
q5_5                 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Shampoo
q5_6                 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Conditioner
q5_7                 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Hair brush or comb
q5_8                 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Hair dryer
q5_9                 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Hot comb
q5_10                Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Flat iron
q5_11                Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Curling iron
q5_12                Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     None of these
q5_13                Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. - I
                     don’t know
q6                   Please read the statement that follows and click either 'I agree' or 'I disagree.' If any portion of the statement is not true, please click 'I disagree.'...




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                                                          Survey  4311 Map

                                                              Variable Values
Value                                                                       Label
qa              98   Other or I don’t know
                AK   Alaska
                AL   Alabama
                AR   Arkansas
                AZ   Arizona
                CA   California
                CO   Colorado
                CT   Connecticut
                DC   Washington D.C.
                DE   Delaware
                FL   Florida
                GA   Georgia
                HI   Hawaii
                IA   Iowa
                ID   Idaho
                IL   Illinois
                IN   Indiana
                KS   Kansas
                KY   Kentucky
                LA   Louisiana
                MA   Massachusetts
                MD   Maryland
                ME   Maine
                MI   Michigan
                MN   Minnesota
                MO   Missouri
                MS   Mississippi
                MT   Montana
                NC   North Carolina
                ND   North Dakota
                NE   Nebraska
                NH   New Hampshire
                NJ   New Jersey
                NM   New Mexico
                NV   Nevada
                NY   New York
                OH   Ohio
                OK   Oklahoma



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                                                               #: Data
                                                          Survey  4312 Map

                                                              Variable Values
Value                                                                       Label
                OR   Oregon
                PA   Pennsylvania
                RI   Rhode Island
                SC   South Carolina
                SD   South Dakota
                TN   Tennessee
                TX   Texas
                UT   Utah
                VA   Virginia
                VT   Vermont
                WA   Washington
                WI   Wisconsin
                WV   West Virginia
                WY   Wyoming
hidqregion       1   Northeast
                 2   Midwest
                 3   South
                 4   West
qb               1   Male
                 2   Female
                 3   Prefer not to answer
qc               1   17 years old or younger
                 2   18 to 34 years old
                 3   35 to 54 years old
                 4   55 years old or older
                 5   Prefer not to answer
qd_1             0   No
                 1   Yes
qd_2             0   No
                 1   Yes
qd_3             0   No
                 1   Yes
qd_4             0   No
                 1   Yes
qd_5             0   No
                 1   Yes
qd_6             0   No
                 1   Yes



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                                                          Survey  4313 Map

                                                              Variable Values
Value                                                                       Label
qd_7             0   No
                 1   Yes
qd_8             0   No
                 1   Yes
qe_1             0   No
                 1   Yes
qe_2             0   No
                 1   Yes
qe_3             0   No
                 1   Yes
qe_4             0   No
                 1   Yes
qe_5             0   No
                 1   Yes
qe_6             0   No
                 1   Yes
qe_7             0   No
                 1   Yes
qe_8             0   No
                 1   Yes
qf_1             0   No
                 1   Yes
qf_2             0   No
                 1   Yes
qf_3             0   No
                 1   Yes
qf_4             0   No
                 1   Yes
qf_5             0   No
                 1   Yes
qf_6             0   No
                 1   Yes
qg_1             0   No
                 1   Yes
qg_2             0   No
                 1   Yes
qg_3             0   No
                 1   Yes



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                                                               #: Data
                                                          Survey  4314 Map

                                                                                 Variable Values
Value                                                                                          Label
qg_4             0   No
                 1   Yes
qg_5             0   No
                 1   Yes
qh_1             1   Yes
                 2   No
                 3   I don’t know
qh_2             1   Yes
                 2   No
                 3   I don’t know
qh_3             1   Yes
                 2   No
                 3   I don’t know
qh_4             1   Yes
                 2   No
                 3   I don’t know
qi               1   None
                 2   1 or 2
                 3   3 or more
                 4   I don’t know
qj               1   Yes, I do usually wear eyeglasses or contact lenses when I use this type of device
                 2   No, I do not usually wear eyeglasses or contact lenses when I use this type of device
qk               1   Yes, I am wearing my eyeglasses or contact lenses right now
                 2   No, I am not wearing my eyeglasses or contact lenses right now
ql               1   Yes, I am wearing my eyeglasses or contact lenses
                 2   No, I am not wearing my eyeglasses or contact lenses
q1               1   Never
                 2   1 to 2 times
                 3   3 to 5 times
                 4   6 to 10 times
                 5   More than 10 times
                 6   I don’t know




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                                                               #: Data
                                                          Survey  4315 Map

                                                                                 Variable Values
Value                                                                                          Label
q2               1   Less often than once per year
                 2   Once per year
                 3   2 to 3 times per year
                 4   Once every 2 to 3 months
                 5   About once per month
                 6   More often than once per month
                 7   I don’t know
q3_1             1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_2             1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_3             1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_4             1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_5             1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_6             1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_7             1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_8             1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_9             1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_10            1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know




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                                                               #: Data
                                                          Survey  4316 Map

                                                                                   Variable Values
Value                                                                                            Label
q3_11            1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_12            1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_13            1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_14            1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q4_1             1   Yes, I have experienced this as a result of using a no-lye hair relaxer
                 2   No, I have not experienced this as a result of using a no-lye hair relaxer
                 3   I don’t know
q4_2             1   Yes, I have experienced this as a result of using a no-lye hair relaxer
                 2   No, I have not experienced this as a result of using a no-lye hair relaxer
                 3   I don’t know
q4_3             1   Yes, I have experienced this as a result of using a no-lye hair relaxer
                 2   No, I have not experienced this as a result of using a no-lye hair relaxer
                 3   I don’t know
q4_4             1   Yes, I have experienced this as a result of using a no-lye hair relaxer
                 2   No, I have not experienced this as a result of using a no-lye hair relaxer
                 3   I don’t know
q5_1             0   No
                 1   Yes
q5_2             0   No
                 1   Yes
q5_3             0   No
                 1   Yes
q5_4             0   No
                 1   Yes
q5_5             0   No
                 1   Yes
q5_6             0   No
                 1   Yes
q5_7             0   No
                 1   Yes



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                                                          Survey  4317 Map

                                                              Variable Values
Value                                                                       Label
q5_8             0   No
                 1   Yes
q5_9             0   No
                 1   Yes
q5_10            0   No
                 1   Yes
q5_11            0   No
                 1   Yes
q5_12            0   No
                 1   Yes
q5_13            0   No
                 1   Yes
q6               1   I agree
                 2   I disagree




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